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  Teenage transgender row splits Sweden as dysphoria
  diagnoses soar by 1,500%
      theguardian.com/society/2020/feb/22/ssweden-teenage-transgender-row-dysphoria-diagnoses-soar

   Richard Orange                                                                                    February 22, 2020




     Stockholm’s Pride march in 2017. Photograph: Daniel Söderberg, Greenpix
     Stockholm’s Pride march in 2017. Photograph: Daniel Söderberg, Greenpix

    This article is more than 4 years old
  This article is more than 4 years old

  For several days this week the veteran Swedish journalist Malou von Sivers will cover the
  same topic in every episode of her nightly TV chat show: the extraordinary rise in diagnoses
  of gender dysphoria among teenage girls.

  Lukas Romson, an equality consultant and one of the country’s leading trans activists, is
  prepared for the worst. “There will be no serious trans activists in the show, because none of
  us trusts Malou at all,” he says. “I’m afraid she’ll just use us.”

  But the fact that a mainstream programme is devoting so much time to the issue
  demonstrates just how much the debate has shifted in Sweden over the past year. “It’s been
  a very big change and very sudden,” Romson adds. “Everyone – but especially young
  people – feels worse because of what they perceive as the media’s hatred of them.”

  The immediate trigger for Von Sivers’s themed week is a report from Sweden’s Board of
  Health and Welfare which confirmed a 1,500% rise between 2008 and 2018 in gender
  dysphoria diagnoses among 13- to 17-year-olds born as girls.

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But it also reflects a rapid change in public opinion. Just a year ago, there seemed few
official obstacles left in the way of young people who wanted gender reassignment
treatment.

In the autumn of 2018, the Social Democrat-led government, under pressure from the gay,
lesbian and transgender group RFSL, proposed a new law which would reduce the minimum
age for sex reassignment medical care from 18 to 15, remove all need for parental consent,
and allow children as young as 12 to change their legal gender.

Then in March last year, the backlash started. Christopher Gillberg, a psychiatrist at
Gothenburg’s Sahlgrenska Academy, wrote an article in the Svenska Dagbladet newspaper
warning that hormone treatment and surgery on children was “a big experiment” which risked
becoming one of the country’s worst medical scandals.

In April, Uppdrag Granskning, an investigative TV programme, followed up with a
documentary profiling a former trans man, Sametti, who regretted her irreversible treatment.

In October, the programme turned its fire on the team at Stockholm’s Karolinska University
hospital, which specialises in treating minors with gender dysphoria. The unit has been
criticised for carrying out double mastectomies on children as young as 14, and accused of
rushing through treatment and failing to consider adequately whether patients’ other
psychiatric or developmental issues might better explain their unhappiness with their bodies.
The Karolinska disputed the claim, saying it carefully assessed each case.

At the same time, Filter magazine profiled the case of Jennifer Ring, a 32-year-old trans
woman who hanged herself four years after her surgery. An expert on psychosis who was
shown her medical journal by her father, Avi Ring, was quoted as saying that she had shown
clear signs of psychosis at the time she first sought treatment for gender dysphoria.

Indeed, the first clinic she approached refused to treat her, citing signs of schizotypal
symptoms and lack of a history of gender dysphoria. But the team at Karolinska went ahead.
“Karolinska don’t stop anyone; virtually 100% get sex reassignment,” says Ring.

Sweden’s authorities are starting to respond. Shortly before the bill that would have lowered
the sex reassignment minimum age was due to be debated in parliament in September, it
was shelved, and the Board of Health and Welfare was ordered to reassess the evidence. Its
report is due on 31 March.




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                           Sametti, a former trans man who now identifies as
                         a woman, regretted the treatment. Photograph: SVT

After being interviewed on Uppdrag Granskning, Sweden’s health minister, Lena Hallengren,
asked the programme to include a text addendum to remind viewers that it had been her
predecessor, and not her, who had drafted the controversial law.

On 20 December, the Swedish Agency for Health Technology Assessment, which the
government had asked to review the scientific research into the recent surge in teenagers
reporting gender dysphoria, reported that there was very little research either into the reason
for the increase or the risks or benefits of hormone treatment and surgery.

For Romson this is a worrying turn of events. He blames Gender Identity Challenge
Scandinavia (Genid), a parents’ group set up by Ring, a retired professor of neurophysiology,
the Swedish toxicologist Karin Svens and the Norwegian teacher Marit Rønstad, for the
change in the debate, contrasting these “so-called concerned parents”, some of whom he
points out have adult transgender children who should be allowed to speak and decide for
themselves, with “real parents” who affirm their children’s chosen identities. Svens was the
only Swedish parent to speak openly on Uppdrag Granskning about how her trans son
announced he was a boy when he was 17, started going to Karolinska’s adult clinic when he
turned 18, and now identifies as male. When asked about Jennifer Ring, he says that friends
of hers have told him she found it difficult that her family were unwilling to accept her as a
trans woman.

“When I started questioning this some years ago, I thought I was alone,” says Svens. “They
tried to scare me by repeatedly implying that there is a high risk of suicide, especially if the
parents don’t agree. Now more and more parents have found the courage to question what
the doctors say.”

The recent report from the Board of Health and Welfare also found that 32.4 percent of 13 to
17-year-olds with gender dysphoria registered at birth as women also had diagnoses for
anxiety disorder, 28.9 percent had depression, 19.4 percent had ADHD, and 15.2 percent
had autism.



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Trans people often explain the higher levels of depression and anxiety by pointing to the
difficult experience living in a body that clashes with their gender identity, particularly when
many in society, often including parents and friends, do not accept their identity.

One of the most surprising changes has been the growing divisions between trans activists.
While Romson warns that children will have even more anxiety because of the change in the
debate, Aleksa Lundberg, a trans woman and longstanding activist, is backing the call for
more research.

Last October she apologised for not having been sufficiently open about the depression she
had felt after her operation. “I would probably not undergo corrective surgery if I had the
same choice today,” she wrote. “And I want to apologise to those who perhaps needed to
hear that story earlier.”




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must undergo social and medical gender transition to resolve      scientific studies (Bauer et al., 2022; but see Littman, 2022).
their issues. A sharp increase in such false beliefs among        Careful empirical study is sorely needed.
adolescents and young adults has led to the recent “epidemic”         Parents who disagree with the concept of ROGD and who
in ROGD.                                                          believe that their children are gender dysphoric in the con-
    ROGD is believed to be a culture-bound syndrome, which        ventional sense (i.e., having a strong feeling of incongruence
did not exist until recently, when transgender issues began to    between their physical body and the gender they identify
attract considerable cultural attention (Allen, 2015). Further-   with) have also played an important role in the controversy.
more, ROGD has been hypothesized to be socially contagious        Until recently it was rare for parents to a uiesce to their




                                                                                                            E
(Littman, 2018). Adolescents who know others with ROGD            children’s wish to transition, but this has been c nging. Par-
are more likely to acquire ROGD themselves.                       ents have become much more likely to allow their gender
    Advocates of the ROGD theory view the dramatic increase       dysphoric children to socially and/or edically transition




                                                                                            CL
in referrals to gender clinics with alarm. They are concerned     (see, e.g., de Graaf & Carmichael, 2019; O son et al., 2016).
that adolescents with ROGD are at risk of unnecessary, harm-      For example, minor children may be given puberty-delaying
ful, and irreversible psychological and medical interventions     hormones with parents’ ermi ion In some cases, youth
(e.g., Marchiano, 2017; Shrier, 2020).                            years away from legal adul ood may even receive gender-




                                                                    TI
    The surge in referrals for adolescent-onset gender dyspho-    confirming surgery such as mastectomy in natal females
ria is so recent that neither hypothesis has much support in      (Olson-Kennedy et al., 018). Thus, parents supporting gen-
the mainstream academic literature. This is understandable        der transition h ve dramatically altered acceptable social,
in the early stages of research on any human clinical phenom-     psychologi l, and medical practice.




                                                                  AR
enon, especially one as controversial as gender dysphoria.            One relevan issue concerns the potentially differing moti-
                                                                  vation of parents who believe, and those who disbelieve, the
                                                                  idea that thei gender dysphoric adolescent children have
Parents of Gender Dysphoric Youth as Influential                  ROGD. The former have been accused of being prejudiced
Stakeholders                                                      against transgender persons and other sexual minorities
                                                                  ( estar, 2020; “Why are so,” 2018). However, Littman’s
                                                ED
A new development in the history of gender dysphoria has          (2018) study found that most such parents held tolerant views
been the formation of Internet communities of concerned           regarding the rights of sexual minorities. An alternative
parents. These communities appear to be centered round            explanation of these parents’ endorsement of ROGD is that
the two opposing viewpoints we have described. Som of             it describes the trajectory of their children’s gender dysphoria
these communities comprise parents concern d that their           better than conventional explanations of gender dysphoria do.
                    CT


AYA children have ROGD and are pursuing gender ansition               ROGD has been studied primarily in adolescents and
unnecessarily. Examples include the Gender Critical Support       young adults (Littman, 2018). By definition, these youth were
Board, ParentsofROGDKids.com, an Genspect.org. Other              not gender dysphoric prior to puberty. In contrast, early-onset
communities are more supportive of g d r transition for           gender dysphoria begins prior to puberty, often during early
gender dysphoric youth. These in de the Facebook group,           childhood (Bailey & Blanchard, 2018; Zucker & Bradley,
                  RA




Parents of Transgender Children, among others. Some of            1995). It is possible that parents of children with early-onset
these groups are quite larg with Gender Critical Support          gender dysphoria and parents of youth with ROGD have dif-
Board exceeding 3500 gis        d members, and Parents of         ferent preferences for their children. The current study focuses
Transgender Children exce ding 8000 members (both num-            on AYA children believed by their parents to have ROGD.
bers taken from th respective websites on April 12, 2022).
   T




   Parents of gender d phoric youth have had an especially        Parents of Gender Dysphoric Children as Sources
importan role in the controversies regarding adolescent-          of Information
onset gen r dysphoria. For example, the blogger who
RE




writes s 4thw venow became interested in the issue when           Research on children’s development in many domains has
h dau ht r “suddenly announced she was a trans man after          long depended on parent reports. Google Scholar reports
a few weeks of total immersion in YouTube transition vlogs        78,800 citations for the search term “parent reports,” as
and other trans-oriented social media” (4thwavenow.com,           of April 12, 2022. Research on gender dysphoria has also
n.d.). (Her daughter’s gender dysphoria has subsequently          often included parent reports (e.g., Arnoldussen et al., 2020;
subsided.) Littman (2018), who originated the theory of           Olson, 2016; Wallien & Cohen-Kettenis, 2008; Zucker &
ROGD, was strongly influenced by accounts of parents              Bradley, 1995). Researchers have also long acknowledged
like this (Kay, 2019). ROGD is a controversial idea and has       the imperfections—including both incomplete information
been challenged by both activists (e.g., Ashley, 2020) and        and biases—associated with parent reports (Achenbach et al.,



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1987). Parent reports are especially controversial when par-      deception. Those whose information was sufficiently detailed
ent and child reports differ dramatically, as they often do in    and credible received the following survey solicitation:
cases considered to be ROGD (Littman, 2018).
                                                                    Rapid Onset Gender Dysphoria (ROGD) is a new
   We expect that parents’ and children’s reports are more
                                                                    phenomenon that is only now beginning to be rec-
similar for families in which parents support their children’s
                                                                    ognized.
transition, although this has not been studied directly. How-
                                                                    The so-called gender clinics are not forthcoming with
ever, this does not mean that parents who support transi-
                                                                    information about demographics or mental health
tion are correct. These parents and their gender dysphoric
                                                                    issues of clients who seek out their serv es. Nor do




                                                                                                         E
children could both be mistaken, especially if there is social
                                                                    they publish information on patient outcom
pressure to accept children’s claims of transgender status.
                                                                    The task is left up to us, the pare ts, to seek out this
The increasing number of people who have reidentified with




                                                                                           CL
                                                                    information on our own.
their natal gender (detransitioners) raises questions about the
                                                                    Please help us gain a bet er understanding of this
desirability of transition (Littman, 2021; Marchiano, 2020).
                                                                    emotionally devastating an physically traumatizing,
   Given the recent surge of cases of gender dysphoria in
                                                                    yet increasingly comm n phe omenon.
adolescents and young adults whose demographic profile is
                                                                    Who Should Complete thi Survey
unlike those from previous generations, it is important to seek




                                                                    TI
                                                                    If your child:
data from all sources and premature to reject any of them.
As we learn more, we may come to prefer some sources of
                                                                    • Had a rela vely normal childhood without showing
information over others, but there is not yet any guide to this
                                                                        any sig s of di comfort with their gender, and



                                                                  AR
preference. In the meantime, it is desirable—even urgent—to
                                                                    • Suddenly, eemingly out of the blue, decided they
collect data from all available sources.
                                                                        id tified as the opposite gender, or some other
                                                                        “gender”

The Current Study                                                   Please take the time to fill out this survey. It takes
                                                                    about 10–15 min to complete, a bit longer if you write
                                                  ED
We analyzed data from a survey of parents who contacted a           comments (which are very helpful!).
website for parents concerned that their AYA child en have          *Don’t worry if the survey skips over some questions.
ROGD. Parents provided data regarding their AYA ch dren’s           It is designed to skip over questions that do not apply
adjustment before gender dysphoria onset, children’s gender         to you.
dysphoria, and children’s social and medical tran ition steps.      All responses will be kept strictly confidential.
                      CT


We discuss potential biases in the data due to subj ct self-
selection and survey framing.                                        The authors acknowledge that the framing of the survey
                                                                  is biased toward belief in, and concern about, ROGD. This
                                                                  may have influenced responses, although it is likely that a
                                                                  more important bias was self-selection due to the website’s
                    RA




                                                                  name and purpose. The initial purpose of the survey was
Method                                                            not for scientific publication, but information gathering
                                                                  for a community of parents with shared concerns. In the
Participants
                                                                  Discussion, we consider which results are more or less
                                                                  likely to be biased.
Participants were pa nts or other caretakers of gender dys-
   T




phoric children who contacted the website ParentsofROG-
DKids.co This website provides information and support            Measures
RE




to parents w believe their children may have ROGD and
who are skeptical about “affirmative” therapeutic approaches      Parent informants provided information about their gender
(i.e those encouraging gender transition). ParentsofROG-          dysphoric children. The data analyzed herein include parents’
DKids om did not actively recruit parents. Rather, parents        reports on the following variables: timing and early signs of
discovered the website via Internet searches or mentions on       children’s gender dysphoria; children’s mental health (includ-
Internet forums. After contacting the website, parents were       ing formal diagnoses) and social adjustment prior to the onset
asked to provide more information about their gender dys-         of gender dysphoria; and children’s steps taken toward both
phoric children, via email. This was done to ensure that those    social and medical transition. The survey can be viewed in
engaging with the website were not attempting mischievous         the supplementary materials.



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Results                                                           simply rejection of your own gender.” It then listed several
                                                                  “signs of gender dysphoria,” focusing on displaying cross-sex
Survey Respondents                                                behavior (e.g., “changing your posture or way of moving”).
                                                                  Respondents were asked to estimate when their child “began
Participants of the current study completed surveys from          to exhibit signs of gender dysphoria.” On average, the youths
December 1, 2017 (the beginning of the survey), through           were reported to be 14.8 years (SD = 3.1) when they became
October 22, 2021, a total of 46 months. In total 1774             gender dysphoric. Onset ages ranged from 3 to “greater than
responses were received. (The number of potential partici-        25 years,” with a median of 14 years.




                                                                                                           E
pants who contacted the website was not recorded.)                    Because ROGD is hypothesized to begin d ing puberty
    The large majority of survey respondents (N = 1496;           through early adulthood (Littman, 2018), we limited subse-
84.3%) were mothers reporting on their own children. Fathers      quent analyses to parent reports on you s whose gender dys-




                                                                                            CL
(N = 223) comprised 12.6% of the respondents, and persons         phoria was reported to begin between age 11 and 21, inclu-
with some other relationship to the gender dysphoric youth,       sive. This left 93.3% (N = 1,655) of the original sample, of
such as stepparent, grandparent, or adoptive parent (N = 55;      whom 75% (N = 1249) were na females and 25% (N = 406)
3.1%), were the remaining respondents. For ease of presenta-      natal males. Mean current ge of gender dysphoric youths
                                                                  was 15.7 (SD = 2.7) years for females and 17.2 (SD = 2.7) for




                                                                    TI
tion, we refer to respondents as “parents.”
    To illuminate the general political/ideological orientation   males, t(1653) = 9.9, p < 0.001, d = 0.56.
among the parents who responded, the first author examined            Figure 1 sho the distribution of age of gender dysphoria
a subset of email correspondence in which some parents            onset, sepa tely or natal females and males. Reported onset




                                                                  AR
provided details about their gender dysphoric children and        was significan y later for natal males (M = 16.0, SD = 2.2)
family situation. Emails were chosen systematically, by tak-      than f r natal females (M = 14.1, SD = 2.2), t(1653) = 15.5,
ing the first ten of every consecutive fifty. (Parents were not   p < 0.001, d .84. Duration of gender dysphoria, from onset
queried to provide this information until after the project had   to the present, was briefer for the natal males (M = 1.2 years,
commenced, and so not all parents provided emails.) A total       SD = 1.6) than for the natal females (M = 1.6 years, SD = 1.6),
of 280 emails were examined for statements indicating either      t 772) = 5.3, p < 0.001, d = 0.25.
                                                ED
supportive/progressive attitudes or unsupportive/conserva
tive attitudes. Statements were coded as supportive/progres-      Demographics
sive if they indicated that parents were politically p ogres-
sive, including supportive of LGBT rights and people. his         Ethnic backgrounds of the youths were European (N = 1276;
included evidence that they were at least partially supportive    78.9% of those who answered this question), ethnically mixed
                    CT


of their child’s gender-related choices. Emails we coded          (N = 262; 16.2%), Asian (N = 45; 2.8%), Indigenous (N = 13;
as unsupportive/conservative if they ndicated that parents        0.8%), African–American (N = 10; 0.6%), Middle Eastern
were conservative or religious in way that may not be sup-        (N = 6; 0.4%), and East Indian (N = 6, 0.4%). Although the
portive of LGBT rights or people. (Sta ments indicating           survey did not ask where respondents lived, it did include
either conservative or religious b       fs were not, by them-    one question regarding where the gender clinic the youth
                  RA




selves, coded as the latter.) The number of coded statements      attended (if any) was located. The most common location was
indicating supportive/progre sive s ntiments was 70, and the      in the USA (N = 357; 74.2% of those who provided any loca-
number indicating unsup ortive/ onservative sentiments was        tion), followed by Canada (N = 49; 10.2%), Europe (N = 46;
5. Table 1 contains 7 examp s of the supportive/progressive       9.6%), and Australia (N = 25; 5.2%). Thus, it is likely that
statements (every nth statement starting at the first) and        most respondents were from North America.
   T




all 5 unsupportive/con rvative statements. All deidentified
coded statements are included as a supplement.                    Prior Social Adjustment
RE




Chara teristics of Gender Dysphoric Youths                        Table 2 provides several ratings of gender dysphoric youths’
                                                                  social adjustment prior to the onset of gender dysphoria.
Curre Age, Age of Onset, and Duration of Gender                   Ratings were similar for natal females and males, with only
Dysphoria                                                         two showing statistically significant sex differences. Parents
                                                                  reported that natal males were more likely to have been bul-
The survey included the following description of gender           lied and less likely to have had many good friends.
dysphoria: “feeling unhappy or uncomfortable with your               Informants rated the relationships between the youths and
gender. It can include wishing to be the opposite gender,         their mothers and fathers both prior to gender dysphoria onset,
or to be a different ‘gender’ altogether. It can also include     and after social transition (if any), on a 6-point scale from 1



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Table 1  .




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                                                             TE


                                                                                    (estranged) to 6 (extremely close). Pre-dysphoria relationships
                                       C



                                                                                    with mothers had a mean rating of 5.2 (with 5 representing
                                                                       Natal Sex    “fairly close” and 6 representing “very close”), and relation-
                    20%
                                                                         Female     ships with fathers a mean of 4.6 (with 4 representing “neutral”).
                                    RA




                                                                         Male       For a subsequent analysis of change after social transition, we
                                                                                    computed a composite score of parental relationship quality
                    15%                                                             by averaging mothers’ and fathers’ ratings at each time period.
Percentage by sex




                                                                                    Mental Health History
   T




                    10%
                                                                                    Asked whether the gender dysphoric youth have a history
RE




                                                                                    of “mental health issues,” 57% (N = 944) of informants
                    5%                                                              responded affirmatively, 42.5% (N = 703) negatively, and
                                                                                    0.4% (N = 8) did not respond. The percentage of affirma-
                                                                                    tive responses was slightly higher for natal females (59.4%)
                    0%                                                              than for natal males (51%), χ2(1, N = 1647) = 8.7, p = 0.003.
                          11   12   13   14   15   16   17   18   19   20   21
                                                                                    Figure 2 presents the distribution of the onset of children’s
                                    Age of onset: gender dysphoria                  mental health issues relative to the onset of their gender
                                                                                    dysphoria. On average, mental health problems began at
Fig. 1  Distribution of parent reports of children’s age of onset of gen-           10.5 years (SD = 3.6; Mdn = 11) and preceded gender dys-
der dysphoria (in years), separately for natal females and males                    phoria by 3.8 years, paired t(940) = 32.0, p < 0.0001, d = 1.31.



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Table 3  Parent reports of gender dysphoric children’s earliest mental health symptoms
Symptom                                                       Natal female      Natal male (%)          Test of sex differ-     Probability for test
                                                              (%)                                       ence (χ2)               of sex difference

Depression                                                    33.2              25.1                     9.4                        0.002
Anxiety                                                       47.3              35.2                    18.2                      < 0.0001
Self-harm                                                     19.9               6.9                    37.4                      < 0 0001
Defiant behavior (acting out)                                 10.3               8.1                     1.7                        0 20
Suicidal ideation                                             13.1               9.9                     3.0                        0 08




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Attempted suicide                                              4.1               3.2                     0.6                        0.
Difficulty socializing with peers                             26.5              28.1                     0.4                        0.53




                                                                                                        CL
Difficulty concentrating and completing tasks                 17.1              18.7                     0.53                       0.47
Obsessive behavior                                            11.8              14.3                     1.8                        0.18
Socially withdrawn                                            18.7              18.0                     0.1                        0.76
Difficulty dealing with a specific stressful event (e.g.,     10.3               5.2                     9                          0.002
  divorce, sexual assault)




                                                                               TI
Difficulty coping with stressful situations in general        23.2              19.2                     2.8                        0.09
Addiction to video Games                                       4.2              15.8                     33                       < 0.0001
Addiction to the Internet                                     17.1              13.8                     2.5                        0.11
Substance abuse                                                0.4               1.7                     7.5                        0.006




                                                                             AR
In an abusive relationship                                     1.2               0.5                     1.5                        0.22
Difficulty with dealing with homosexual feelings               4.8               1.5                     8.9                        0.003
                                                            ED
Table 4  Parent reports of              Diagnosis                              Natal       Natal males (%)      Test of sex     Probability for test
gender dysphoric children’s                                                    females                          difference (χ2) of sex difference
formal diagnoses                                                               (%)

                                        Anxiety                                32.5        27.3                  3.8                0.051
                                        Depression                             29.1        22.7                  6.3                0.012
                        CT


                                        ADHD                                   13.0        19.5                 10.4                0.001
                                        Autism                                  6.5        13.3                 19.0              < 0.0001
                                        Obsess compulsive disorder              3.0         4.9                  3.2                0.073
                                        Borderline personality disorder         3.0         0.7                  6.4                0.011
                                        Bipo disorder                           1.9         0.5                  4.0                0.044
                      RA




                                        PTSD                                    2.8         0.5                  7.5                0.006
                                        Body dysmorphia, anorexia, bulimia      2.1         1.0                  2.1                0.150
                                        Antisocial personality disorder         0.2         0.3                  0.0                0.983
                                        Schizophrenia                           0.2         0.3                  0.1                0.722
   T
RE




(N = 1 458) of hose who answered responded affirmatively.                    common for natal females (N = 273, 21.9%) than for natal
O thes ases, 81.6% of the youths came out as the opposite                    males (N = 48, 11.8%), χ2(1, N = 1655) = 19.7, p < 0.0001.
gend but in 18.4% another gender was specified, such as                          The survey included questions about social transition,
“gender fluid,” “non-binary,” and “trans” or “transgender.”                  which was explained as follows:
Coming out as a different, rather than opposite, gender was                      Social transition means taking formal steps to live as the oppo-
more common among natal females (N = 235; 20.9%) than                        site gender (or some other gender) officially. This can include:
among natal males (N = 31; 9.8%), χ2(1, N = 1442) = 20.3,
                                                                                legally changing their name, gender, and pronouns on
p < 0.0001. Of youths who had “come out,” 22% (N = 321)
                                                                                government ID, expecting everyone to refer to them
were out “everywhere.” Being out everywhere was more



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   with their new name and pronouns, constantly trying                   surgically transitioned?” Surgical transition was especially
   to “pass” as the opposite gender in manner of dress,                  rare, reported for 1% of males and 0.7% of females (the test
   posture, tone of voice, mannerisms, and interests                     of the sex difference was not significant, p = 0.604).
                                                                             Parents were also asked to rate the separate effects of social
   Social transition formalizes "coming out" as transgender,
                                                                         transition on their AYA child’s gender dysphoria, anxiety,
and the two often occur together.
                                                                         and depression. These ratings were substantially correlated
   Of 1436 youths for whom informants provided relevant
                                                                         and were averaged to provide an overall rating from 1 = much
information, 65.3% (N = 937) had socially transitioned, 33.8%
                                                                         worse to 5 = much better, with 3 indicating n change. Coeffi-
(N = 485) had not socially transitioned, and 1% (N = 14) no




                                                                                                                        E
                                                                         cient alpha for this 3-item scale was 0.73. Figu 3 shows the
longer wished to transition (i.e., had desisted). Mean age at
                                                                         distribution of this variable for the 556 parents who answered
social transition was reported as 15.4 years (SD = 2.6). Cur-
                                                                         all three questions. Parents were mu more likely to say




                                                                                                      CL
rent social transition was much more common among natal
                                                                         that the youth had worsened than improve The one-sample
females, 65.7% (N = 821) of whom were rated as socially
                                                                         t-test comparing the sample mean 2.1 with 3, the score sig-
transitioned, compared with 28.6% (N = 116) of the natal
                                                                         nifying no change, was h ghly ignificant, t(566) = − 24.6,
males, χ2(1, N = 1655) = 172.3, p < 0.0001. Furthermore,
                                                                         p < 0.0001, d = − 1.0.
natal females tended to socially transition earlier (15.1 years)
                                                                            The change in th quality of parental relationships (from




                                                                          TI
than natal males (17.4 years), t(932) = 9.1, p < 0.0001. Of
                                                                         prior to gender dyspho ia to after social transition) was also
those who had desisted, 13 of 14 were natal females, out of
                                                                         strongly negati , declin ng from an average of 4.8 (indi-
1120 females and 316 males for whom parents provided this
                                                                         cating “fai y close”) to 3.6 (between “neutral” and “don’t
information.



                                                                        AR
                                                                         get along very well”), paired t(891) = − 32.0, p < 0.0001,
   Table 5 presents rates of several aspects of social transi-
                                                                         d = − 1 2 This decline was especially severe for mothers, a
tion, separately for natal males and females. Natal females
were substantially more likely than natal males to have taken
most of the social transition steps. Table 6 presents rates of
                                                                         Table 6  Parent reports of their children’s medical transition steps
several aspects of medical transition, separately by natal sex.
In general, steps toward medical transition were unusual. F              M dical transition steps                 Natal       Natal males (%)
                                                      ED
                                                                                                                  females (%)
example, hormone blockers were reported for only 0 8% of
natal females and 2.0% of natal males (test of the s x differ-           Hormone blockers                         0.8            2.0
ence, χ2(1, N = 1655) = 3.9, p = 0.048). The most freq ently             Any testosterone treatment               6.5            N/A
reported medical intervention was cross-s x hormones,                    Current testosterone treatment           5.0            N/A
received by 6.5% of females and 8.4% of males he test of                 Αny female hormone treatment             N/A            8.4
                       CT


the sex difference was not significant p = 0.193). Surgical              Current female hormone treatment         N/A            7.6
intervention was assessed using the question “Has your child             Any Surgical transition                  0.7            1.0
                     RA




Table 5  Parent reports of their     Social transition steps                  Natal       Natal males (%)     Test of sex      Probability for
children’s social transition steps                                            females                         difference       test of sex differ-
                                                                              (%)                             (χ2)             ence

                                     Began wearing clothing of opposite sex   60.6        16.8                235.8            < 0.0001
                                     Changed hairstyle                        58.5        20.2                180.1            < 0.0001
   T




                                     Changed pronouns, opposite sex           49.2        22.7                88.5             < 0.0001
                                     Changed posture                          30.7        12.8                50.4             < 0.0001
RE




                                     Changed voice tone                       25.7        13.6                25.8             < 0.0001
                                     Transgender friends of same natal sex    22.4        4.7                 65.1             < 0.0001
                                     Changed pronouns, non-binary             18.0        5.9                 35.1             < 0.0001
                                     Changed sex-typed activities             7.9         5.7                 2.3              0.143
                                     Opposite sex friends                     6.7         5.4                 0.9              0.350
                                     Legal name change                        3.2         4.9                 2.6              0.107
                                     Use of makeup                            0.9         12.6                115.9            < 0.0001
                                     Breast binding                           76.8        N/A                 N/A              N/A
                                     Penis tucking                            N/A         17.1                N/A              N/A
                                     Bra stuffing                             N/A         8.9                 N/A              N/A



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year had a 23.8% rate of hormonal treatment, compared with                    Changes in Characteristics of Gender Dysphoric Youths
a 3.0% rate for those with a shorter duration; for females these
figures were 13.6% and 1.3%, respectively. Males with both                    We examined whether any of the following variables have
indicators of mental health issues (see above) had a hormonal                 changed in a consistent manner across the 3 years and
treatment rate of 8.8%, compared with 7.6% for those with                     10 months of data collection for this article: natal sex, age
neither indicator; for females these figures were 8.7% and                    of gender dysphoric youths, years with gender dysphoria,
3.7%. Finally, males who had contact with gender special-                     mental health issues, and social or medical transition status.
ists had a hormonal treatment rate of 12.2%, compared with                    This was done by regressing each variabl on he continu-




                                                                                                                           E
6.6% for those without such contact; for females these rates                  ous measure of survey completion date. Tabl 9 shows that
were 10.1% and 4.8%.                                                          most of these variables have shown statistically significant
                                                                              changes. To clarify these changes we p ovide separate num-




                                                                                                          CL
Possible Social Influences on Gender Dysphoria                                bers for youths reported on prior to 2020 first cohort) with
and Transition                                                                those reported on in 2020 and 2021 (second cohort). The
                                                                              former was 20.2% male, nd th latter 28.3% male. Ages of
Asked whether the youths were friends with others who                         gender dysphoric youths at e time of the survey decreased
“came out as transgender around the same time,” 55.4% of                      from 16.3 to 15.9 y ars. Estim ted age of gender dysphoria




                                                                                TI
parents (N = 917) said “yes.” That response was significantly                 onset decreased from 4.7 to 14.5 years. Years with gen-
higher regarding natal females (60.9%, N = 760) than natal                    der dysphoria the time of survey decreased from 1.6 to
males (38.7%, N = 157), χ2(1, N = 1655) = 61.0, p < 0.0001.                   1.4 years. The likelihood of referral to a gender specialist




                                                                              AR
Among those who answered “yes,” the mean number of                            decreased from 35.3 to 28.9%.
transgender friends was 2.4 (Mdn = 2). Having friends come
out as transgender contemporaneously was significantly
related to the likelihood of social transition, statistically                 Discussion
adjusting for natal sex, χ2(1, N = 1655) = 63.5, p < 0.0001.
Among females, 73.3% with contemporaneous transgender                         R sults of our study are generally consistent with other recent
                                                       ED
friends had taken steps toward social transition, compared                    re earch about the current surge of gender dysphoria among
with 54% without such friends; for males, respective figures                  youth with onset during adolescence or young adulthood.
were 39.5% and 21.7%.                                                         Natal females were affected more often than natal males.
   Informants estimated that before developing gender ys-                     Preexisting mental health issues were common, but so was
phoria, their children spent an average of 4.5 h er day “on                   high intelligence. Most youths had changed their pronouns,
                       CT


the Internet and social media” (Mdn = 5) The es mate for                      and most of these changes were cross-sex rather than gender-
natal males (M = 5.6) was significantly higher than for natal                 neutral. Social transition was far more prevalent than medical
females (M = 4.1), t(1455) = 8.6, p < 0.0001, d = 0.6. This                   transition. There was evidence of immersion both in social
variable (hours per day using the Intern           d social media)            media and in peer groups with other transgender-identifying
was not significantly related to the k lihood of social transi-               youths.
                     RA




tion, statistically adjusting for natal sex, χ2(1, N = 1457) = 1.0,              Two sex differences are potentially important. These
p = 0.30.                                                                     included the findings that natal males’ gender dysphoria
                                                                              was reported to be 1.9 years later than females’ and that
                                                                              natal males were much less likely than females to have taken
                                                                              steps toward social transition. This difference contrasts with
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Table 8  S eral potential correlates of hormonal treatment
RE




Correl tes of h monal treatment       Univariate    Probability,      Multivariate Probability,      Direction (more likely to receive treatment)
                                      test (χ2)     univariate test   test (χ2)    multivariate test

Natal x                                 1.6         0.202               1.3              0.250          Natal males
Current age                           252.4         < .0001           139.2            < 0.0001         Older youths
Years with gender dysphoria           120.3         < .0001             2.9              0.090          Longer duration of gender dysphoria
Mental health issues                    8.4         0.004               6.0              0.014          History of mental health issues
Referral to gender specialist          15.2         < .0001            13.5              0.0002         Referral to gender specialist

Each row presents the χ2 and associated probability values for two tests: the univariate test in which social transition (yes or no) is predicted by
the correlate in the leftmost column, and the multivariate test in which social transition is predicted by the same correlate, statistically adjusting
for the other correlates in the table


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Table 9  Changes in reported         Characteristic                        Univariate prob-   Direction (more characteristic of recent youth)
characteristics of gender                                                  ability
dysphoric youth: December
2017–October 2021                    Natal sex                               < 0.0001         Increased likelihood of being male
                                     Current age                               0.0007         Younger
                                     Age of onset of gender dysphoria          0.025          Younger onset
                                     Years with gender dysphoria               0.011          Fewer years
                                     Mental health issues                      0.988          No significant change
                                     Referral to gender professional           0.005          Decreased likelihood of refer l




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findings from a study of clinic-referred gender dysphoric               dysphoric adolescents. However, it is uncl ar how one might
adolescents in Toronto and Amsterdam, which did not show                recruit a representative sampl of parents reporting on their
a sex difference in referral age (Aitken et al., 2015). That            gender dysphoric adolescents. National gender clinics such
study included adolescents regardless of when their gender              as those found in Canada, th Netherlands, the UK, Sweden,
dysphoria began, whereas youths reported on in the present              and Finland may hav especially large caseloads. But without




                                                                          TI
study were believed to have adolescent or young adult onset.            large community epid miological studies, we cannot know
The current study’s results are consistent with the existence           whether the pa nts seen at the clinics are representative of
of different causes for gender dysphoria in natal females and           the populat n of gender dysphoric youth. More than twice




                                                                        AR
males, at least in some cases. Specifically, one kind of gender         as many paren s in our sample reported that they had not
dysphoria, stemming from autogynephilia—a natal male’s                  receiv d a referral for a gender specialist for their children
sexual arousal at the idea of being female—occurs only in               as parents w had received a referral. Thus, it is uncertain
adolescent and post-adolescent natal males and does not                 what proportion of gender dysphoric adolescents like those
appear to have an analogue among natal females (Bailey &                reported on in our study are seen at national clinics. The
Blanchard, 2017). Unfortunately, the survey did not assess              ROGD phenomenon (or more cautiously, the ROGD con-
                                                      ED
youths’ sexuality. An alternative potential explanation is tha          cept) is so new that nothing is known with much confidence
females begin puberty earlier than males. To the extent that             egarding this population.
pubertal changes contribute to the onset of gender dy horia,               Second, because parents in our sample were self-selected
earlier onset would be predicted for females (Aitken e al ,             for concern that their children have ROGD, parent reports
2015).                                                                  could be biased and inaccurate. Why would parents be biased
                      CT


   One statistically robust finding was b th distu ing and              to believe in ROGD, and to oppose their children’s gender
seemingly important. Youths with a history of mental health             transition? One hypothesis is that parents with these attitudes
issues were especially likely to have ken steps to socially             are socially conservative and thus “transphobic.” However,
and medically transition. This relations ip held even after             the limited research on such parents has shown the opposite
statistically adjusting for likely c f unders (e.g., age). The          that such parents tend to be politically progressive and to hold
                    RA




finding is concerning because youth with mental health                  tolerant attitudes toward sexual and gender minorities (Litt-
issues may be especially lik ly to lack judgment necessary              man, 2018; Shrier, 2020). Our results also support the view
to make these importan and i e case of medical transition               that parents concerned that their AYA children have ROGD
permanent, decisions. Th finding supports the worries of                are not motivated by intolerance or conservative ideology
parents whose pref ences differ from their gender dysphoric             (Table 1). The possibility remains that it is parents who reject
   T




children. It is consist t with another finding of this study            the ROGD explanation who are incorrect and thus, biased. At
that parents believed gender clinicians and clinics pressured           present, it is uncertain why some parents believe their chil-
the famili toward transition. The finding is particularly               dren have ROGD and oppose their gender transition, while
RE




conce ing gi n that parents tended to rate their children as            other parents reject the ROGD concept and facilitate their
w se off fter transition.                                               children’s gender transition. It is possible, of course, that the
                                                                        ROGD hypothesis and the alternative hypothesis are both
Limitations                                                             correct in certain cases, leading their parents to form different
                                                                        beliefs and attitudes.
At least two related issues potentially limit this research. First,        Assuming for now that parents in our study were apt to
parents were recruited via a website for parents who believe            provide responses biased in favor of ROGD explanations
their children have ROGD, rather than a more conventional               and opposed to transition, which findings are most suspect,
and less problematic form of gender dysphoria. Such parents             and which are least so? Simple ratings averaged over all par-
are unlikely to be representative of all parents with gender            ents are especially likely to be due to bias. For example, the


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finding that parents tended to view their children’s mental                     manuscript, I concluded that its publication is ethically appropriate,
health and parental relationships as worsening after transi-                    consistent with Springer policy.
tion could reflect a biased tendency to associate negative
outcomes with transition. In contrast, findings that depend                     Open Access This article is licensed under a Creative Commons Attri-
                                                                                bution 4.0 International License, which permits use, sharing, adapta-
on comparisons between parents in this study are less likely                    tion, distribution and reproduction in any medium or format, as long
to be due to bias. For example, it is unclear how bias could                    as you give appropriate credit to the original author(s) and the source,
cause parents of natal males to report a later age of onset for                 provide a link to the Creative Commons licence, and indicate if changes
their children’s gender dysphoria compared with parents of                      were made. The images or other third party materi l in this article are
                                                                                included in the article's Creative Commons licence nless indicated




                                                                                                                                   E
natal females. Nor is it clear how bias could cause parents                     otherwise in a credit line to the material. If material is       included in
to report a higher rate of transition steps among youth with                    the article's Creative Commons licence a d your intended use is not
mental health issues compared with other youth.                                 permitted by statutory regulation or exceeds t permit ed use, you will




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                                                                                need to obtain permission directly from the copy ht holder. To view a
                                                                                copy of this licence, visit http://​cre ​iveco​mmons.​org/​licen​ses/​by/4.​0/.
Future Directions

Our study relies on information provided by parents who
believe their children have ROGD and are thus unlikely to be                    References




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supportive about their children’s transgender status and inten-
tions to transition. Obviously, it would be highly desirable for                4thwavenow. (n.d ) https://4​ t a​venow.​com/​about/ Retrieved Septem-
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future studies also to include parents with differing beliefs                   Achenbach, T M , M            aughy, S. H., & Howell, C. T. (1987). Child/




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and attitudes. Furthermore, responses from gender dys-                               adolescent b havioral and emotional problems: Implications of
phoric adolescents and young adults, themselves, would be                            cr ss-informan correlations for situational specificity. Psychologi-
extremely important. None of these informants is guaranteed                          cal Bu i 101(2), 213–232.
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Longitudinal data will be especially valuable, because all                           gender-​trium​ph/.
stakeholders in this controversy ultimately have t same                         Arnoldussen, M., Steensma, T. D., Popma, A., van der Miesen, A. I.,
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                        CT


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able request. A copy of the urve       ument is available to those who               cents support the phenomenon of “rapid onset gender dysphoria?
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Conflict of Inter t None to declare.                                                 2019/​03/​19/​an-​inter​view-​with-​lisa-​littm​an-​who-​coined-​the-​term-​
                                                                                     rapid-​onset-​gender-​dysph​oria/ Retrieved September 9, 2021.
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from an IRB. After seeing a presentation of preliminary survey results               e0202330. https://​doi.​org/​10.​1371/​journ​al.​pone.​02023​30
by the first author, the second author suggested the data to be analyzed        Littman, L. (2021). Individuals treated for gender dysphoria with medi-
and submitted as an academic article (he was not involved in collect-                cal and/or surgical transition who subsequently detransitioned: A
ing the data). The second author consulted with his university’s IRB,                survey of 100 detransitioners. Archives of Sexual Behavior, 50(8),
who declined to certify the study because data were already collected.               3353–3369.
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  The New, Highly Touted Study On Hormones For
  Transgender Teens Doesn’t Really Tell Us Much Of
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  If you haven’t read Part 1 yet, you should do that before you read this.

  As I noted in that post, earlier this month The New England Journal of Medicine published a
  highly anticipated study called “Psychosocial Functioning in Transgender Youth after 2 Years
  of Hormones.” The research team has spent years following a cohort of kids who have been
  administered puberty blockers or hormones at four participating clinics. In this study, they
  reported on how the kids who went on hormones did over the two-year span following the
  start of that process. The participants filled out surveys every six months on issues pertaining
  to their mental health, gender dysphoria, and so on. According to the authors, the kids
  showed key improvements two years later. “Our results provide a strong scientific basis that
  gender-affirming care is crucial for the psychological well-being of our patients,” said Robert




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Garofalo,one of the principal investigators for the study, as well as co-director of the youth
gender clinic at Lurie Children’s Hospital in a Chicago, in a press release accompanying the
study. A number of media outlets echoed this narrative.

But that’s a questionable interpretation of the results for a number of reasons. In my last
post, I pointed out something arguably suspicious about the study: In their study protocol,
including a version that they submitted into a preregistration database, the researchers
hypothesized that members of this cohort would experience improvement on eight
measures, including ones that are just about universally recognized by youth gender
researchers as important outcomes, such as gender dysphoria, suicidality, and self-harm.
Then, in the published NEJM paper, the researchers changed their hypothesis and six of
those variables were nowhere to be found. The two remaining — anxiety and depression —
moved in a positive direction for trans boys (natal females) but not trans girls (natal males).
The researchers reported on three other variables, too, without explaining how they picked
them (two improved for trans girls and boys, and one just for trans boys).

I won’t rehash the whole post here, but in my view this missing variables issue does call the
entire effort into question, simply because if many of the variables the researchers tracked
didn’t improve, or even worsened, the fact that they were able to cherry-pick five that did
show some improvement might not mean anything at all. We may well be looking at nothing
but statistical noise — we just can’t say for sure since the researchers are obscuring so
many of their results.

For this post, though, let’s temporarily set aside this potentially crippling issue. Let’s imagine,
instead, that the authors had preregistered an interest in the five variables they did report all
along, and let’s proceed accordingly in our evaluation of their study. For the sake of this post,
I’m also not going to quibble with, or even deeply evaluate, the specific statistical techniques
the authored employed: As I’ll show, even if we grant that they made the correct decisions
here (which may or may not be the case) and take their findings at face value, the results are
still ambiguous at best.

A tiny bit of political throat-clearing before we start: If you write critically about youth gender
medicine, you will hear from a lot of people who are aghast that you could do so given the
threats trans people in the United States (adults and children alike) face. And as Dave
Weigel noted in a Friday article in Semafor, Donald Trump just publicized a very crazy new
proposal to severely curtail both transgender rights for adults and access to youth gender
medicine for kids and teens.

At the risk of repeating myself, I am opposed to the sorts of policies Trump is proposing —
both outright restrictions on youth gender medicine and his even more radical proposal to
codify into federal policy a ban on even adults changing their legal sex. That latter part, in
particular, is downright cruel and pointless, other than being red meat for the evangelical
voters he is hoping to court in 2024. (Trump’s stances on these issues shift, sometimes


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jarringly, with the political winds. Weigel writes that “he was best known in 2016 for publicly
moderating the party’s faith-infused stance on LGBT issues, including opposing North
Carolina’s ‘bathroom bill’ and inviting Caitlyn Jenner to use whichever facilities she preferred
when on Trump properties.”)

But as Weigel noted in his write-up, there’s a pretty noteworthy difference between what
Trump is proposing and the more substantive, mainstream debates currently raging over
youth medical transition. At the end of the day, given the rapidly increasing popularity of
these treatments and the sometimes overconfidentproclamations made about them by their
advocates, the questions surrounding youth gender medicine are in urgent need of answers
regardless of who the president is or what threats the LGBT community faces. Now is not the
time to discuss this is not an argument — it’s a derailing tactic. And it’s one I encountered
long before Republicans latched on to this issue, to be honest. If we wait until there are no
longer reactionaries trying to profit off of fear of transgender people before we figure out
exactly whether and to what extent youth gender medicine works — issues which remain, by
all preexisting and widely agreed-upon standards of medical evidence, unresolved — we’ll
continue flying blind.

And that’s all I’m going to say about that — I am a science writer more than a pundit, and if I
pepper every paragraph with parentheticals reiterating that I have the “right” beliefs about
Trumpist policies, this will quickly become unreadable. Plus, it doesn’t really matter: What
follows is correct or incorrect on its own merits, regardless of the beliefs of the author.

***

To be clear, this New England Journal of Medicine study is a significant improvement over
what passes for research in the area of youth gender medicine (though that’s a low bar to
clear). It’s excellent that researchers are closely following cohorts of kids going on blockers
and hormones, and collecting rich data on their mental and physical health trajectories. It’s
also useful that this team preregistered its protocol. But the fact is that this particular study
really does not provide substantive evidence that hormones improve the mental health of
trans kids.

This post will be organized around the following main points:

1) The kids in this study had an alarmingly high suicide rate.

2) Most of the improvements the cohort experienced were small.

3) It’s impossible to attribute the improvements observed in this study to hormones rather
than other forms of treatment that took place at these clinics.

4) The one bigger improvement was in a variable that might not mean all that much.



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5) The researchers don’t even consider the possibility these treatments don’t work — their
only answer is “more hormones.”

The Kids In This Study Had An Alarmingly High Suicide Rate

While the authors had other issues with transparency in their study, they do note, right in the
abstract, that two participants died by suicide. In the body, they write that “one [suicide
occurred] after 6 months of follow-up and the other after 12 months of follow-up.” So within
about a year of starting hormones, two of this study’s 315 kids were dead. They also note
that there were 11 instances of “suicidal ideation during study visit.”




Let’s set aside the ideation issue, because the researchers have not provided us with the
information we need to evaluate it. “Suicidal ideation” can mean very different things, ranging
from occasional, fleeting thoughts of suicide to, much more seriously, the presence of a plan
and the possession of whatever tools are required to carry it out. “I do think it’s fair to say that
their use of ‘suicidal ideation’ is ambiguous,” said a suicide researcher whose brain I have
sometimes picked on this issue, but to whom I always offer anonymity because they are
totally uninvolved in the youth gender medicine fight. The NEJM researchers did administer a
suicidal ideation scale to capture this in richer detail, but as we know from the last post, they
simply didn’t report that data. So there’s just no way to know whether the 11 incidents of
suicidal ideation being reported during visits with the researchers is high or low or
somewhere in the middle.

As for the rate of completed suicides, a common way to measure and compare suicide rates
and other such outcomes is per 100,000 individuals, per year. In the US that figure is 13.9-
ish, though of course it can be recalculated every year and varies significantly by subgroup.
The closest we can get for an annual estimate for the general population within the age
range of the study (12–20) is 14.2 suicides per 100,000 members of the 15–24 age band.


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As Michael Biggs, a sociology professor at Oxford University and a frequent critic of youth
gender research, pointed out to me, this figure was about 317 suicide deaths per 100,000
patient-years in the NEJM study. That’s quite high. We should be cautious here, because
per-100,000 rates are weird when the raw number of events is this low: One fewer suicide
would have halved the rate, and one more would have increased it by 50%. For what it’s
worth, when I asked the suicide researcher, they responded: “I’d say yes. I agree two suicide
deaths in that age group for that sample size is high compared to the general population for
sure.”

But it would be unfair to say “Aha, the kids in your group had a high rate of suicide — your
treatment doesn’t work.” These were kids who already had some mental health concerns;
gender dysphoria itself can be quite distressing and the LGBT population is known, more
broadly, to have elevated rates of mental health issues. So we probably shouldn’t expect kids
in this study to have the same suicide rate as age-matched peers from the general
population. When I raised this point in an email with the suicide researcher, they said that
they agreed that “a comparison to suicide rates in another group with mental health struggles
would probably be more appropriate than a general population rate.”

Unfortunately, we don’t have much data here. In a letter published in Archives of Sexual
Behavior, Biggs had previously calculated that the rate of completed suicide at the Tavistock
clinic in England was 13 per 100,000 patient-years, much lower than what was observed in
the NEJM study. The only other decently apples-to-apples comparison we have at hand here
is also mentioned in his letter:

    Only one published study has reported suicide fatalities among transgender
    adolescents. Belgium’s pediatric gender clinic provided counseling to 177 youth aged
    from 12 to 18 years, who had been referred between 2007 and 2016: five of them
    (2.8%) committed suicide (Van Cauwenberg et al., 2021). The mean age of referral
    was 15, implying a mean duration of 3 years before transition to an adult clinic, which
    translates to an annual suicide rate of 942 per 100,000. This is the highest suicide
    mortality recorded for any transgender population.

So the NEJM sample didn’t have the sky-high suicide rate of that Belgian cohort, but it’s
undeniably high.

That doesn’t mean the suicides in the NEJM cohort were caused by the hormones. “Of
course we can’t attribute those suicides to cross-sex hormones, because we lack a control
group,” said Biggs in an email. “Likewise, we can’t attribute the improvement to the cross-sex
hormones!” We’ll return to that latter point, but one needn’t make a causal argument here to
be concerned. One of the most common justifications for why youth gender medicine is
worth it, despite the myriad remaining unknowns, is that kids will kill themselves if they don’t
go on it. Well, here was a sample of kids who had access to it in supposedly high-quality



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settings, with a lot of support and monitoring, and they still had a very high rate of suicide.
How does that not raise questions? The researchers have nothing to say about it, other than
noting the number of completed suicides and instances of “ideation.”

The issue becomes only more worrisome when you look at the study protocol we spent so
much time poring over in the last post and see that kids who had severe psychiatric
problems, including suicidality, were excluded from the study at the outset: “Presence of
serious psychiatric symptoms (e.g., active hallucinations, thought disorder) that would impair
the individual’s ability to provide true informed consent or participate in the baseline ACASI
[audio computer-assisted self-interviewing]” was an exclusion criterion, as was being “Visibly
distraught (e.g., suicidal, homicidal, exhibiting violent behavior) at the time of consent or the
baseline ACASI[.]”

So kids could have some degree of suicidality and still participate in the study — researchers
don’t view suicidality as an on-off binary — but kids who were very suicidal, or otherwise very
unwell, were excluded, meaning we actually wouldn’t expect this to be a particularly suicidal
cohort going in. And yet, there were still two suicides. That’s not good, and should be seen
as a red flag that deserves explanation. We have none, because the researchers fail to
report on the cohort’s overall level of suicidality over time, despite it being part of their core
hypothesis. And The New England Journal of Medicine, publishing what it knew would be a
highly attention-getting study on a hotly controversial issue that is constantly paired with
suicide in the public conversation, didn’t ask them to.

Most Of The Improvements The Cohort Experienced Were Small

These were the improvements observed over time, all statistically significant, in the variables
the researchers reported, according to their statistical model. Remember that the study
covers a two-year span:

Appearance congruence: Increase of 0.96 out of 5 points

Positive affect: Increase of 1.6 out of 100 points

Life satisfaction: Increase of 4.64 out of 100 points

Depression: Decrease of 2.54 out of 63 points

Anxiety: Decrease of 2.92 out of 100 points

These numbers are the average changes for the whole group. For the bolded ones, there
were statistically significant changes for both sexes. For the non-bolded ones, trans boys but
not girls saw benefits. Appearance congruence and positive affect are the only two variables




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where the researchers were able to report salutary increases in both sexes over the two
years of the study. (Appearance congruence is going to get its own section soon, so I’m
going to ignore it here.)

Given these differences, it would have been useful for the researchers to lay out plainly what
the average changes were for the trans boys versus the trans girls, who were, after all,
administered totally different hormones. They don’t do that (nor do they offer any speculation
as to why two-thirds of their sample were natally female). If you know how to read Table 3
you can sort of reverse engineer some of this information, but it really should be clearer.

The first question you should ask in a situation like this, where you have statistically
significant improvements that look small in magnitude, is whether they matter. You can have
a statistically significant effect that isn’t clinically significant, meaning it wouldn’t represent
noticeable improvement or worsening in the condition being measured. Statisticians argue
about effect sizes all the time, but there often isn’t an easy answer as to whether a small one
is too small. I do think sometimes, for super-small effects, it’s okay to turn to common sense.
Positive affect, as measured by an instrument in the NIH Toolbox, increased by 1.6 points
over two years on a 100-point scale. If a researcher touting a treatment for your kid says
“This will improve their score on this self-reported scale 1.6% over two years,” you have
every right to be skeptical. I really don’t buy the idea that we should care about this or view it
as evidence supporting the idea that hormones help kids. (I did check to see if these
documents about the NIH Toolbox had any information about interpreting changes to scores
in positive affect or life satisfaction, but they don’t appear to.)

What about some of the other results that look small, but not quite so tiny? Should we care
about those?

All we can really do is try to look around in the literature and find other comparisons. One of
the meatier papers I found on the subject of clinical versus statistical significance was a
meta-analysis from the Cochrane Database of Systematic Reviews on “New generation
antidepressants for depression in children and adolescents” (Cochrane is considered one of
the best games in town for this sort of careful research evaluation). There, the authors sum
up studies that compared these antidepressants to a placebo, and that used something
called the Children’s Depression Rating Scale-Revised to evaluate symptoms. The CDRS-R
has a range of 17 to 113, meaning it’s a 97-point scale. The authors describe differences as
high as 3.51 as “small and unimportant.” So again, a difference that doesn’t appear tiny, per
se, might not matter clinically.

More directly applicable to the present discussion, here’s a 2015 paper by researchers
examining the concept of minimally important clinical difference, or “the smallest difference in
score considered clinically worthwhile by the patient,” as it pertains to the Beck Depression
Inventory 2 (BDI-II), which is the item the NEJM researchers used to measure depression in
their study. The 2015 authors “estimated a MCID of a 17.5% reduction in scores from


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baseline…. The corresponding estimate for individuals with longer duration depression who
had not responded to antidepressants was higher at 32%.” In the NEJM researcher’s
statistical model, the patients had a mean baseline score of 15.46 and an average reduction
of 2.54. Since 17.5% of 15.46 is about 2.51, if we trust these estimates, the average kid in
the NEJM study just ever so barely noticed an improvement in their depression symptoms in
their two years on hormones. (I couldn’t find any research on what constitutes a clinically
significant improvement on the anxiety instrument the researchers used, the Revised
Children's Manifest Anxiety Scale, where the researchers observed an average improvement
of 2.92 out of 100 points.)

Of course, the average kid had only mild depression symptoms to begin with, which makes
things more complicated to analyze. Other patients had higher BDI-II scores at baseline,
which at least arguably means they’d only view reductions as worthwhile if they were
significantly larger.

This is a useful chart from the Supplementary Appendix:




I don’t know what to make of this. The researchers tout the fact that a lot of kids moved to
lower levels of depression and anxiety over the course of the study, but also acknowledge
that a fair number of them remained in the clinical range at follow-up. That’s clearly true. This
is a genuinely complicated situation to interpret, partially because the baseline numbers are
such a mixed bag: It’s not fair to harp on the lack of improvement in a kid who wasn’t doing
that poorly to begin with. This is an issue in some youth gender medicine clinical research,
which typically involves cohorts who have been screened for serious mental health problems
beforehand: They don’t have much room to improve, so the deck is somewhat statistically



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stacked against researchers seeking to demonstrate mental health improvements. (I guess
on the other hand, it’s also useful information that the kids in this cohort didn’t seem to get
significantly worse, for the most part.)

It would have been helpful if the researchers provided more fine-grained information about,
say, the average numerical improvement among kids in the moderate or severe ranges on
the depression measure. As we’ve seen previously, reporting instead on the percentage of
participants in different clinical categories can obscure a lot of useful information: In the most
extreme cases, a one-point drop the patient doesn’t even notice can bring them from (say)
“moderate” to “mild.” It would also be useful to know if the relatively large proportion of kids
who didn’t provide data at 24 months, which is about a third of them, differed at other time
points from the rest of the group, because if the kids with missing 24-month data were on
average doing better or worse than their peers in the study, that could seriously skew the
results. (I could be missing something, but I think the researchers make this comparison only
for the very small number of true dropouts, rather than for kids who technically stayed in the
study but didn’t provide data on some items at the final observation.)

At the end of the day, it seems hard to deny that a lot of kids stayed unwell despite two years
of regular access to a gender clinic and to a medication designed to improve their mental
health outcomes. At baseline, 18.6% had moderate depression, and two full years later 10%
still did. For severe depression, there was even less improvement: 15.6% to 13.7%. Same
general story with anxiety, where 58.8% of the kids scored in the clinical range at baseline
and 47.7% did at follow-up.

On the other hand, it’s hard to ignore that clearly some kids did experience meaningful
reductions in depression and/or anxiety and/or other symptoms. Doesn’t that, at least,
constitute some evidence for the efficacy of hormones?

Unfortunately…

It’s Impossible To Attribute The Improvements Observed In This
Study To Hormones Rather Than Other Forms Of Treatment That
Took Place At These Clinics

This is a longitudinal study without a comparison group. As any graduate of an AP Statistics
course will tell you, this makes it much harder to claim that any particular influence is
responsible for any changes that are observed over time.

If you track two otherwise similar groups over two years, and you give one of them medicine
and the other a placebo, and you observe differences between the groups, you might then
be able to begin to make some reasonably confident causal inferences about the effects of
the medicine, though how confident depends on a host of factors. But with only one group,
this is a notorious statistical problem, even in relatively simple situations. If I give you flu

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medication, and your flu symptoms have improved significantly five days later, does that
mean the meds worked? Maybe. But people also tend to get better over time. Scores on
certain scales tend to revert to the mean if the first observation is quite high or very low. And
so on. Again, these are really basic statistical principles — this isn’t nitpicking.

This NEJM study is far more complicated than a two-week flu study, though. And we actually
have some pretty good reasons to suspect other factors may have contributed to the (mostly
small) improvements observed by the researchers.

As they note early in their paper, “All participating clinics employ a multidisciplinary team that
includes medical and mental health providers and that collaboratively determines whether
gender dysphoria is present and whether gender-affirming medical care is appropriate. For
minors, parental consent is required to initiate medical treatment. Publications by individual
study teams provide details on site-specific approaches to care.”

That last sentence cites four papers, and if you read those papers, you’ll see some mentions
of therapy and medication for patients experiencing mental health duress above and beyond
their gender issues. To take one example, the team at the Gender Identity & Sex
Development Program at Lurie Children’s Hospital in Chicago writes that “In cases when
both evidence-based therapy and psychopharmacotherapy are indicated, a psychologist and
the psychiatrist may comprise a patient’s treatment team — the psychologist serving as a
primary therapist and the psychiatrist offering psychotropic medication management.”

Every kid in this study was seen at one of these multidisciplinary clinics. So it stands to
reason that the ones with serious anxiety and depression issues were likely provided with
access to psychotherapy, medication, or both. It also stands to reason that the worse a kid’s
mental health symptoms were at baseline, the more likely they were to have been provided
with one of these interventions, and the more room they had to improve. This means that
even when it comes to the subset of kids whose improvements were sizable, we have to ask:
Did their symptoms abate because of the hormones, the medication, or the therapy? Or was
it some combination of all three?

There’s no way to know. This makes it effectively impossible to interpret these results fully.
And it’s unfortunate, because I believe the researchers could have potentially accounted for
this in their statistical models since surely they had access to patient records. One of the
questions I sent them was on this very subject, but as I mentioned in my last post, they aren’t
doing any interviews or responding to queries.

Despite all this, the researchers confidently proclaim in their abstract that “[Gender-affirming
hormones] improved appearance congruence and psychosocial functioning.” This is
straightforwardly causal language, but their methodology doesn’t come close to warranting it.
Moreover, they don’t even mention this potential confound, which, again, really is the sort of
thing you would learn during the first year of a college-level introductory stats course.


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Imagine encountering this question on the midterm of such a course:

    A group of kids with mental health problems gets access to psychological counseling,
    psychiatric medication, and Treatment X for two years. At the end of this period they
    are doing significantly better. Is this because of

    a) the counseling

    b) the medication

    c) Treatment X

    d) without more information, it’s impossible to know

One hundred out of one hundred stats professors would tell you the correct answer is (d).
(An accompanying NEJM commentary on the paper by Annelou de Vries and Sabine
Hannema mentions the therapy issue but not the medication issue.)

There’s one other potential problem with pinning the improvements noticed in this study on
the powers of gender-affirming hormones, per se. It was pointed out to me by a depression
researcher with whom I exchanged some emails about this paper. He initially said I could
quote him by name but changed his tune, saying the subject was too fraught. When I asked
if it would be okay to describe him as “a depression researcher,” he responded, “Sure, I’d
even be ok with ‘a depression researcher who’s too chickenshit to be named…’ .” (I
include this because I thought it was funny, not because I think he’s chickenshit! I don’t
blame him at all.)

He pointed out that the researchers “utterly ignore the obvious point that testosterone has
large mood-elevating, anti-anxiety, and antidepressant effects!” I’d heard others raise this
point in the past, and it poses another genuine challenge for youth gender medicine
researchers. There is indeed some evidence that testosterone has mood-improving effects,
and this raises the possibility that it can cause improvements in mental-health symptoms that
don’t have to do with treating gender dysphoria per se. (I should be clear that the studies I’m
referencing and linking to generally involve natal males rather than natal females, adults
rather than juveniles, and sometimes cover periods of time significantly shorter than two
years. So we can’t state definitively that T has similar effects on young natal females than it
does on older natal males, but it’s definitely a possibility, and there’s some anecdotal
evidence of this among trans boys and men.)

Let’s again be maximally generous and set aside this possibility. Summing up the rest of this
section, even if we put a thumb on the scale and zoom in only on the kids who got a lot
better in this study, ignoring the small average effect sizes, the suicides, the truly




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disappointing results for trans girls, and what appears to be a veritable carnival of variable
cherry-picking, we simply have no way of knowing — full stop — whether they improved
because of hormones, therapy, medication, or a combination of the three.

I am not good at stats, but I don’t need to be to make this point. It is not esoteric. This is a
very basic issue, well known in the social sciences. It seriously undermines our ability to
determine whether the kids in this study benefited from going on hormones, and it reflects
poorly on The New England Journal of Medicine’s decision to allow the researchers to use
such strong, straightforward causal language to describe their results.

The One Bigger Improvement Was In A Variable That Might Not Mean
All That Much

So far we’ve been arguably talking about peanuts, as far as average effect sizes are
concerned. The authors do highlight one more impressive-seeming finding, though:

     Increasing appearance congruence is a primary goal of GAH, and we observed
     appearance congruence improve over 2 years of treatment. This was a moderate
     effect, and the strongest effect observed across our outcomes, consistent with the
     effect seen in research involving other samples, which has noted large effects of GAH
     on body image and small-to-moderate effects on mental health. Appearance
     congruence was also associated with each psychosocial outcome assessed at
     baseline and during the follow-up period, such that increases in appearance
     congruence were associated with decreases in depression and anxiety symptoms and
     increases in positive affect and life satisfaction. These findings suggest that
     appearance congruence is a candidate mechanism by which [gender-affirming
     hormones]influences psychosocial functioning. [footnote omitted]

Specifically, over two years the kids in the study experienced about a one-point improvement
on the five-point appearance congruence scale of the Transgender Congruence Scale.

The TCS is a 10- or 12-item instrument with the following items, as summarized in a table
from a 2021 study in Sexuality Research and Social Policy, which was the most recent one I
could find that had been conducted on its psychometric properties:




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This past fall I wrote a piece about the problem of researchers in this field touting impressive-
seeming findings by relying on instruments that might not mean much. In that case, I
discussed adolescent top surgery research where the headline finding was that kids’ scores
“improved,” after receiving double mastectomies, on scales that seemed to consist mostly of
items asking them whether they presently had breasts. That is, if you ask someone with
gender dysphoria to rate their agreement with “I worry that people are looking at my chest”
— anactualitem from the scale in question — before and after they have surgery, it would be
shocking if their score didn’t improve. But that obviously doesn’t tell us much about whether
double mastectomies “work” in the longer-term sense we would want a major surgery to
work. The paper in question didn’t include more substantive items on the kids’ mental health.

I think there’s a version of that going on here. To be fair, the authors of the NEJM paper also
report on some more common and better-validated measures, including ones addressing
anxiety and depression, but as we’ve seen, those changes were small, of questionable
clinical importance, and didn’t apply to the male-to-female transitioners. Improvements in
appearance congruence were experienced by both sexes, and it is the only decent-sized
effect the researchers uncovered, as they themselves note.

But there’s a case to be made that the game is somewhat rigged here. Take items like “My
outward appearance represented my gender identity” and “My physical appearance
adequately expressed my gender identity.” For one thing, these items are so similar that I’m
surprised they’re both on the scale — they seem truly redundant, and it seems almost
impossible that if one goes up or down, the other isn’t going to follow right along with it,
which might artificially inflate observed changes in respondents’ scores. (In theory, when a
scale is first validated, someone checks for these sorts of issues, and I’m not going to claim

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to have looked deeply into that process here. Though it’s worth noting that in the 2021 paper,
the authors note one item on the appearance congruence subscale was removed due to its
high covariance with others.)

But more importantly, it seems almost impossible to imagine how someone’s scores on an
item like this wouldn’t “improve” as the physical changes of hormones took hold and brought
their body in line with who they felt they were on the inside. I mean, I don’t want to discount
this finding entirely — it would certainly be bad news if it didn’t improve, because it might
suggest their gender identity or transition goals had changed mid-treatment (which wouldn’t
be ideal) — but I’m just not sure how impressed we should be by this.

That’s doubly true when you notice that the appearance congruence scale doesn’t appear to
really correlate with other, more robust measures of well-being, anyway. Or at least that’s
what the authors of the 2021 paper found:




Don’t worry if you can’t interpret this. The point is that this measure only inconsistently
correlates with other, better-established ones. Without getting too into the weeds, the authors
do note that this conflicts with previous research into the TCS and its subscales that found it
did correlate, pretty strongly, with other items. But it seems like an open question whether




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changes in the TCS or its subscales matter all that much, clinically — a question worth
investigating further, but an unanswered one. If this is the biggest improvement you note in
your big NEJM study, you should be asking yourself some questions.

The researchers argue that they did some other statistical work supporting the idea that
appearance congruence might be particularly important. They include this fancy-looking
visual:




One of my go-to folks for stats stuff that is above my head is Stuart Ritchie, a research
psychologist and the author of the great book Science Fictions: How Fraud, Bias,
Negligence, and Hype Undermine the Search for Truth, as well as his own Substack

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newsletter of the same name that was recently acquired by the UK’s i newspaper.

I sent him this chart and the authors’ claims about their latent growth curve modeling and
what it showed about the importance of appearance congruence. As luck would have it,
Ritchie had published research employing similar statistical techniques. “To me it makes
sense that the appearance congruence would change alongside the other mental health
variables - but that doesn’t say anything about whether changing appearance congruence
would change mental health in a causal sense,” Ritchie wrote in an email. “The causality
could easily have just gone the other way (people who felt better, mentally speaking, tended
to worry less about their appearance).” Ritchie summed up this part of the NEJM paper as “a
fancy way of messing around with correlations, nothing causal, kind of interesting but not a
clincher of any argument.”

The anonymous depression researcher made the exact same point, independently, in an
email. “The latent growth curve models are not terribly persuasive,” he wrote. “Sure, they
suggest that changes in appearance congruence are correlated with changes in some other
psych variables, but there’s no proof of causality there, and we certainly know that self-
reported appearance measures are heavily mood-state-dependent – so an increase in
depression, say, would almost certainly cause a decrease in appearance congruence.”

Ritchie and the depression researcher also both independently noted the high number of
statistically insignificant links (the dashed lines) in the above diagram. There doesn’t appear
to be a lot there.

The Researchers Don’t Even Consider The Possibility These
Treatments Are Less Effective Than They Thought — Their Only
Answer Is “More Hormones”

There’s a subtly revealing part of this paper where the researchers attempt to grapple with
the fact that the natal males in the study hardly showed any improvements during their first
two years on hormones:




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     Given that some key estrogen-mediated phenotypic changes can take between 2 and
     5 years to reach their maximum effect (e.g., breast growth), we speculate that a longer
     follow-up period may be necessary to see an effect on depression, anxiety, and life
     satisfaction. Furthermore, changes that are associated with an endogenous
     testosterone-mediated puberty (e.g., deeper voice) may be more pronounced and
     observable than those associated with an endogenous estrogen-mediated puberty.
     Thus, we hypothesize that observed differences in depression, anxiety, and life
     satisfaction among youth designated female at birth as compared with those
     designated male at birth may be related to differential experiences of gender minority
     stress, which could arise from differences in societal acceptance of transfeminine (i.e.,
     persons designated male at birth who identity [sic] along the feminine spectrum) as
     compared with transmasculine persons. Indeed, gender minority stress is consistently
     associated with more negative mental health outcomes, and research suggests that
     transfeminine youth may experience more minority stress than transmasculine youth.
     [citations omitted]

Two things on this: First, I don’t think this really jibes with the fact that the improvements in
appearance congruence were statistically equal between natal males and females. Of course
appearance congruence is only one aspect of a successful transition, but you would think
that if all these other obstacles were getting in the way of trans girls feeling better after two
years on hormones, it would show up in the variable that most closely tracks the physical
effects of those hormones.

More importantly, scienceis supposed to be open-minded. If you’re evaluating a new
treatment, you’re supposed to attend to the possibility that it doesn’t work as intended. It
could be everything the authors are saying in this excerpt is true, but it’s impossible to ignore
the chain of events here: They put a cohort of kids on hormones, two of them died from
suicide, and the natal males appear to have experienced no measurable improvements other
than a truly tiny one on a positive affect scale and a questionably important one on a rather
tautological appearance congruence scale. Their response is to say… maybe the kids just
need to be on hormones longer. There isn’t even a moment of pause or reflection or
uncertainty. It’s full steam ahead.

The fact is that some members of this team aren’t just clinicians and researchers — they’re
also steadfast advocates for these treatments. They strongly believe that these treatments
help trans kids, and they benefit materially from administering them and from participating in
the public debate about them. This situation, in which strong advocates with clearly stated
preexisting views are producing what is supposed to be top-tier evidence (it’s The New
England Journal of Medicine, after all), shouldn’t concern us a little?

It’s probably inevitable that in some cases advocates for a treatment are also going to
research that treatment. But we should at least acknowledge the potential pitfalls here. When
Cochrane or the UK’s National Institute for Health and Care Excellence (NICE) publish

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scientific evidence, there’s the expectation that the bureaucrat-nerds responsible for
producing it are entering the process without strong priors, and are reasonably invested in
examining the evidence in a fair and evenhanded manner. In fact, part of the reason NICE’s
damning reviews of the evidence for giving puberty blockers to kids and hormones to
adolescents marked a major turning point in this discussion is because it is such a trusted
institution.

If Cochrane published an evidence review showing that one particular antidepressant
outshined others by a wide margin, and it was subsequently revealed that a coauthor on that
review had a husband who worked for the pharmaceutical company that produced the
antidepressant in question — and that this relationship hadn’t been disclosed — that would
immediately cast a dark shadow across the article. It would be considered a conflict of
interest.

Why should none of that logic apply here? A single NEJM article isn’t the same as a
comprehensive evidence review, sure, but why should we completely ignore the reality,
which is that since humans are humans, a team of researchers deeply invested in a
treatment might be less capable of carefully, dispassionately evaluating the evidence for it?

Maybe there’s a reason why none of that logic should apply here at all. But if there is, I can’t
come up with it. Especially in the continuing absence of any sorts of systematic reviews of
youth gender medicine in the US — an important point Moti Gorin made here — each study
on this subject is going to take on an outsized importance. Which is all the more reason to
demand that the researchers behind these studies adhere to the highest standards of rigor
and transparency.

I don’t think that happened here, and it isn’t the first time strong advocates for youth gender
transition have produced questionable research about it. As I noted in Part 1, in this case it
might not be fair to lay all the question marks at the feet of the researchers themselves;
some of them may be the result of the NEJM’s editorial input. But still: We’re now many
years and many hundreds of thousands of dollars into this research effort. The researchers
have published what was supposed to be one of their blockbuster studies, and it is missing
absolutely crucial evidence we need in order to evaluate these treatments. All these years
later, we don’t even know whether the cohort experienced reduced suicidality or gender
dysphoria. What we do know is not encouraging: a high suicide rate, tiny-to-small
improvements except on a questionable measure, no improvements on most measures for
the trans girls.

Again: It could be that if we properly adjusted for all the missing, unreported variables, the
researchers didn’t really find anything at all. It’s frustrating that we’re still in a position where
that’s a live possibility — more of these questions should have been answered by now.




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Questions? Comments? Unfounded claims? I’m at singalminded@gmail.com or on Twitter at
@jessesingal.


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The New, Highly Touted Study On Hormones For Transgender Teens Doesn’t Really
Tell Us Much Of Anything

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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

    BRIANNA BOE, et al.,                    )
                                            )
          Plaintiffs,                       )
                                            )
    UNITED STATES OF AMERICA,               )
                                            )
          Intervenor Plaintiff,             )
                                            )
    v.                                      )   Civil Action No. 2:22-cv-184-LCB
                                            )
    HON. STEVE MARSHALL, in his             )
    official capacity as Attorney General   )
    of the State of Alabama, et al.,        )
                                            )
          Defendants.                       )


                        SUPPLEMENTAL EXPERT REPORT OF
                              JAMES CANTOR, PH.D.




                                                                                   EXHIBIT
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     1.      I have previously submitted my report, dated May 19, 2023, as an expert witness in

this case (“Cantor Report”). Since that time, substantial additional materials have become

available pertinent to my testimony in this case. This supplemental report contains my

assessments of these additional materials as they relate to the opinions that I have previously

rendered in this case. My updated curriculum vitae is provided as Appendix C to this report.

     2.      These materials include internal documents provided by WPATH under subpoena,

which remain under a protective order of the court, and which I discuss in my separate Appendix

A. In addition to the WPATH documents, I have reviewed other recently-published materials

that are directly relevant to my previously rendered opinions including: new peer-reviewed

studies published in the research literature, systematic reviews updating the contents of the

scientific literature, and the policy changes and conclusions increasingly offered by international

authorities and recognized topic experts.


I.        New research, employing methods superior to prior investigations, reports that
          transition failed to improve mental health indicators.

     3.      In my previous report, I offered analysis and opinions on the body of research looking

at the impact of social transition on desistance (Cantor Report, Section IX.B.) and on suicide and

suicidality, particularly in the context of gender dysphoria (Cantor Report, Section X.).

Important peer-reviewed publications since the date of my prior report further confirm my

conclusions.

     A. Morandini et al. (2023): Social transition is not associated with improvement in
        mental health.

     4.      Until recently, studies of the social transition of minors used only subjective

descriptions of their mental health—either the self-reports of the socially transitioning youth or

reports from their parents. Often, these studies relied not merely on self-reports, but on self-



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reported retrospective memory—that is, subjects’ recollections of how they felt at prior times.

Those studies yielded contradictory results: Some reported social transition to be associated with

improved mental health and well-being (e.g., Kuvalanka et al. 2017; Olson et al. 2016), and

others reported a lack of improvement (e.g., Sievert et al. 2021; Wong et al. 2019).

     5.      The first study of the mental health impact of social transition based on objective and

contemporaneous assessments conducted by professionals has now been published in the peer-

reviewed literature: Morandini et al. (2023) is a study by a team of co-authors including one

from the gender dysphoria clinic at Vrije University, Amsterdam (a widely recognized source of

the most-cited literature in support of medical transition of minors). The authors examined

“whether children and adolescents diagnosed with gender dysphoria who socially transitioned

showed fewer psychological difficulties than those (also with gender dysphoria) who were still

living in their birth-assigned gender.” (Morandini et al. 2023 at 1052.)

     6.      The study improves on prior studies in multiple aspects, including the use of objective

and comprehensive mental health assessments conducted by professional clinicians instead of

only subjective self-reports; having a larger sample for analysis; conducting separate analyses

for: i) the prepubescent versus adolescent age youth, ii) the male-to-female versus female-to-

male transitioners, and iii) living status (biological sex or adopted gender) versus the names used

(birth name versus new name). Ultimately, the analyses identified no significant differences in

any of the mental health indicators (mood disorders, anxiety disorders, or suicide attempts).1

     7.      The researchers concluded that, for children and adolescents diagnosed with gender

dysphoria:


1
  The study noted a single potential exception among the 12 analyses conducted, suggesting the possibility that,
among the male-to-female transitioners, when social transition was defined as living status, the frequency of mood
disorders might have been lower. Subsequent analysis, however, suggested that to be a statistically spurious finding,
“as more sensitive analyses that treated age as a continuous rather than as a categorical variable, failed to support
that finding.” (Morandini et al. 2023 at 1053.)


                                                         2
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          Overall, there were no significant effects of social transition or name change on
          mental health status. (Abstract.)

          Living in role and birth-assigned gender were not associated with mood, anxiety,
          or suicide attempts. (at 1052.)

          The present findings, although preliminary, suggest that social gender transition is
          not associated with mental health status in children and adolescents, at least in the
          short term. These findings are consistent with the only other study that directly
          compared clinic-referred youth experiencing gender dysphoria who had socially
          transitioned with those who had not. (at 1058.)

    8.       In the report of their results, the researchers also warned against over-interpreting or

over-simplifying their findings. Although their study represents an improvement on prior studies

analyzing social transition, I agree with these researchers’ reminder that cross-sectional evidence

such as theirs can be superseded in the future by studies using still superior methods, such as

randomized, controlled trials (RCTs), as explained in my initial report. (Cantor Report, Section

III.C.)

    B. Glintborg et al. (2023) and Kaltiala (2023): Two large and relatively high quality
       studies find no mental health benefit from medicalized transition.

    9.       In my prior report, I provided analysis on the then-existing cohort studies examining

medicalized transition. (Cantor Report, Section XIII.) Since then, two new large and important

studies have been published, one out of Denmark (Glintborg et al. 2023), and the other out of

Finland (Kaltiala et al. 2023).

    10.      Each of these studies examined the medical and mental health records of all patients

within their respective countries who were diagnosed with Gender Identity Disorder (Denmark)

or referred to the centralized national gender identity clinics (Finland) across a large number of

years (3812 patients across 21 years in Denmark, in Glintborg et al., and 3665 patients across 28

years in Finland in Kaltiala et al.). This method avoided the severe limitations caused by

selection bias, as well as the small samples sizes of many studies in this field.



                                                    3
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   11.     Both studies measured mental health of subjects and controls across time based on

clinical records. Because of the centralized administration of the Danish and Finnish public

healthcare systems, the researchers had a relatively complete medical database available for

analysis. This method avoided the limitations associated with self-reports and memory that I

have detailed in my prior report (Cantor Report, Section IV.).

   12.       In both studies, before beginning medicalized transition (with cross-sex hormones)

people diagnosed with or referred for gender dysphoria exhibited extremely elevated levels of

other mental health issues, consistent with prior studies. Overall, Glintborg et al. found that

“[Metrics of poor mental health] were stable after initiation of gender-affirming hormone

treatment, without sign of decrease after date of first prescription of gender-affirming hormone.”

(at 342:2.) Kaltiala et al. similarly found that “the proportion requiring specialist-level

psychiatric treatment actually increased more among those who underwent medical GR [gender

reassignment]” as compared to otherwise comparable patients who did not, and reported that

their “findings . . . do not suggest that medical GR interventions resolve psychiatric morbidity

among people experiencing gender distress.” (at 6:1.)

   13.     In Glintborg et al., analyses of the rates of psychiatric diagnoses before versus after

medicalized transition revealed: At year one, post-transition rates of psychiatric illness greatly

increased beyond their already elevated levels, relative to the non-transsexual control groups. By

year five, psychiatric illness rates remained highly elevated, but approximating the level of

elevation from before medicalized transition, relative to the control groups. Analyses of the rates

of psychiatric medication use found that the gender dysphoric subjects exhibited greater use of

psychiatric medication before transition relative to controls, and that this higher reliance on

psychiatric medication had increased further one year after transition, and further still by year




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five.

     14.     In Glintborg et al., the people undergoing medicalized transition were age 15 and

older (1,142 people under age 18, and 2,670 people age 18 or older). The researchers noted that

they conducted their analysis both with and without people under 18, and they found the results

not to differ.

     15.     Consistent with the conclusions in my prior report, these data demonstrated that

(1) people with gender dysphoria have extremely elevated rates of other mental health issues,

(2) medicalized transition is not followed by improvement in mental health, and (3) in the year

after transition, mental health worsened. Glintborg et al. noted the possibility that undergoing

the mental health assessments required before medicalized transition is what caused the apparent

increase in rates of psychiatric illnesses recorded. They did not, however, include the alternative

possibility that the increase followed from transitioners’ realization that the interventions were

not resolving their mental health issues and that the subsequent improvements (when observed at

all) followed from the increased use of psychiatric medication they were also receiving to

address the psychiatric issues directly.2

     C. McGregor et al. (in press) compared gender dysphoric youth who did versus did not
        receive puberty-blockers, but extensive differences between the samples confounded
        the results.

     16.      McGregor et al. (in press), a currently in-press article, purports to show that

medicalized transition is associated with better mental health scores, contrary to my conclusions

in my prior report. The study identified itself, correctly, as a “retrospective cohort” study.

Retrospective cohort studies are faster and less expensive to conduct than prospective cohort



2
 I also observe a continuing drumbeat of anecdotal reports by detransitioners that medicalized transition did not
improve their preexisting mental health problems. See, e.g. the several detransitioners’ narratives reported in Pamela
Paul, As kids, they thought they were trans. They no longer do., New York Times, February 2, 2022.


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studies, but provide less conclusive and more ambiguous results. Prospective studies identify a

sample and follow them up again later to analyze what features changed among the participants,

whereas retrospective studies select the participants at the end point and then go back to examine

hospital or other records to explore what features differed at the beginning.

   17.     The McGregor study was conducted at the Gender Multispecialty Service (GeMS)

program of Boston Children’s Hospital. As noted in the study, the GeMS program assesses the

mental health of children twice: once, prior to approving them for puberty-blocking medication,

and a second time, prior to approving them for cross-sex hormone treatment. Also as noted in

the study, adolescents already too old for puberty-blocking medication (i.e., past Tanner Stage 3)

receive only the latter assessment.

   18.     Unfortunately, the analysis conducted and reported by the McGregor team was so

flawed as to be meaningless: They compared the 40 children who sought and received puberty-

blockers and are now seeking cross-sex hormone treatment (i.e., children who were assessed and

passed the mental health screening) with the roughly 400 adolescents seeking cross-sex

hormones who had not yet been screened for mental health at all. As a result, one cannot validly

conclude that the greater mental health scores of the children receiving puberty-blockers were

caused by the puberty-blockers. This retrospective study has no means of ruling out the much

more logical conclusion that the children who received puberty-blockers only seem mentally

healthier because the less healthy ones had already been screened out of that set.

   19.     Another fatal error of McGregor et al. is that they compared childhood-onset gender

dysphoria with adolescent-onset gender dysphoria. As noted in my prior report, these represent

distinct patient populations with distinct features, which McGregor neglected to discuss despite

reporting the same distinctions. (Cantor Report, Section IX.C.) As summarized by the




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McGregor authors:

         These two groups were significantly different across all assessed demographic
         domains. The blocker population was significantly younger, more likely to be
         assigned male at birth, more likely to affirm a female gender, and more likely to
         identify as white. (McGregor et al. (in press) at 3.)

A comparison across two groups that already differ in so many potentially important ways is

necessarily uninformative: As the authors correctly emphasized about their own results,

“causation [of the differences in mental health between the two groups] cannot and should not be

assumed.” (at 5.) Indeed, the authors reported that once they controlled for age, the correlation

they report between receiving puberty blockers and lower levels of suicidal thoughts disappeared

(at 6.). In sum, that the older ROGD group showed poorer mental health than the childhood-

onset group is consistent with the ROGD hypothesis presented in my prior report: for at least

many cases, ROGD represents an outcome mental health vulnerability.

   20.      I note that the McGregor et al. authors agree with a critical risk of harm detailed in

my initial report—that puberty blockers alone may permanently sterilize a child, stating that

“blockade impairs hormone-driven development of the ovaries or testes, and this may

substantially reduce or eliminate future fertility potential in the absence of experimental options”

(at 5, emphasis added.). The reference to “experimental options” is an oblique way of admitting

that reliable restoration of fertility after prolonged puberty blockade has not been demonstrated.

   D. Thompson et al. (2023): A new systematic review confirms the absence of reliable
      evidence that medical transition is a safe and beneficial treatment for gender
      dysphoric adolescents.

   21.      As indicated in my prior report, systematic review is the process employed by

Evidence-Based Medicine to prevent the cherry-picking of studies favoring one side of an issue

and helping ensure clinical decisions are based on the totality of the evidence. (Cantor Report,

Section III.) My prior report cited all the systematic reviews then available from the peer-



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reviewed literature and national health care systems that conducted them. (Cantor Report,

Section V.)

     22.       Since then, Thompson et al. (2023) published a new systematic review in the peer-

reviewed journal, PLoS Global Public Health, spanning the physical and mental health outcomes

of puberty-blocking medications, of cross-sex hormone administration, and of surgery

(primarily, double mastectomy) in adolescents between ages 12 and 18. The review employed

the widely recognized procedures for reducing bias, including: pre-registration (in the publicly

available PROSPERO database of systematic reviews) to prevent “publication bias”; explication

of its data extraction methods (employing the PRISMA guidelines), to prevent incomplete

assessments of studies; full disclosure of inclusion/exclusion criteria and a listing of all the

studies included and all the studies excluded (along with specifying which criteria excluded

studies failed to meet), to prevent cherry-picking of studies favoring any one conclusion; and a

standard criterion-based assessment of the risk of bias posed by each study it included.3

     23.       The Thompson review identified 19 relevant research reports from six countries. Of

the 19 studies, five reported on the mental health outcomes (benefits to mental health being the

goal of the physical transition). The physical health outcomes assessed were bone density, liver

enzymes, haemoglobin, glucose metabolism, lipid profile, and blood pressure—such risks to

physical health are among the harms which must be weighed against proven benefits to assess

treatment risk:benefit ratios.

     24.       This systematic review reiterated the conclusions of the prior systematic reviews:

           •   The evidence base for the outcomes of gender dysphoria treatment in adolescents is
               lacking. It is impossible from the included data to draw definitive conclusions
3
  Although the most widely used instrument for assessing risk of bias is GRADE, Thompson et al. used the Crowe
Critical Appraisal Tool (CCAT, version 1.4). The GRADE method focuses on the research methods used in
conducting a study, whereas the CCAT method includes several aspects about the article reporting those findings.
Thus, GRADE assessments emphasize the reliability of findings, whereas CCAT assessments also reflect the
introduction to and discussions of those results from that study’s authors.


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              regarding the safety of treatment. (at 2.)

          •   It is clear that we simply do not know enough about the observed phenomenon
              referred to as AOGD [adolescent-onset gender dysphoria], nor do we fully
              understand the huge increase in numbers of adolescents (and especially NF [natal
              females]) presenting for GD [gender dysphoria] intervention in recent years, nor the
              comorbidities and long-term outcomes. (at 42.)

          •   [A]s pointed out in the interim report for the Cass review…good quality evidence is
              most definitely still lacking. (at 42.)

          •   This review series has highlighted a lack of quality evidence in relation to adolescent
              GD [gender dysphoria] in general: epidemiology, comorbidity, and treatment impact
              is difficult to robustly assess. Without an improvement in the scientific field,
              clinicians, parents, and young people are left ill-equipped to make safe and
              appropriate decisions. (at 43.)

    25.       Regarding the levels of evidence of the existing research, Thompson et al. noted that

no survey studies were of sufficient quality for inclusion, that the pertinent studies are at the

“cohort study” level of evidence, and that no randomized controlled trials (RCTs) yet exist. As

quoted above, Thompson et al. called for improvement in the science of this question, and

included no indication that RCTs could not be conducted.

    E. Christensen et al. (2023): A new systematic review confirms my conclusion of
       insufficient evidence to conclude that medical transition reduces suicide or suicidality.

    26.       My prior report summarized the existing science on suicide and suicidality. (Cantor

Report, Section X.). Since then, Christensen et al. (2023) has conducted the first systematic

review of that research, which has now been published in the peer-reviewed journal, Child

Psychiatry & Human Development, and its results align with the conclusion in my prior report

that there is no evidence of sufficient quality to conclude that medicalized transition reduces

rates of suicide or suicidality.

    27.       Christensen et al. reviewed studies of preventing suicide in transgender youth ages 24

and under, including medicalized transition and other interventions (such as crisis intervention or

online media). The review followed well-established and high-quality review procedures,


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including the PRISMA guidelines for data extraction, and applying a criterion-based assessment

of the risk of bias posed by the included studies.

   28.       In total, Christensen et al. identified 17 studies, eight of which pertained specifically

to medicalized transition. These eight yielded only inconsistent results, with some, but not other

studies reporting statistically significant differences in rates of suicidality among medically

transitioned youth. That review confirmed the summary provided in my prior report and

reported that:

         •   Common flaws that created high risk of bias included self-reporting, lack of controls
             for comparability, small sample sizes, and lack of generalizability. (at 7.);

         •   Despite the pressing need for suicide prevention within this population, there has
             been a lack of high-quality evidence focusing on prevention of suicide amongst
             transgender youth. (at 7–8.);

         •   [N]o randomized controlled trials to date investigate the impact of interventions on
             rates of suicidal ideation and suicide attempt in transgender and gender diverse youth.
             . . (at 9.);

         •   [T]he overall quality of evidence is low, and the risk of bias is high. There is an
             urgent need for high-quality studies of interventions to reduce risk of suicide amongst
             transgender youth. . . (at 9.).

   29.       My own summary of the available science was that “No methodologically sound

studies have provided meaningful evidence that medical transition reduces suicidality.” (Cantor

Report, ¶ 148.) Christensen et al., after conducting a formal systematic review, reached the same

conclusion: “It is yet largely unproven what the effect of such interventions may be on rates of

suicidal ideation and attempt—let alone completion—amongst transgender and gender-diverse

youth” (Christensen et al. 2023 at 9.). The objective research evidence simply does not support

claims that medicalized transition represents a “life-saving” procedure.




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      30.      Importantly, of the 17 studies included in this review, only two existed before 2019.4

That is, both the Endocrine Society guidelines (published in 2017) and the AAP policy

(published in 2018) lack the benefit of the relevant studies nearly entirely. The published

systematic review conducted by WPATH (i.e., Baker et al. 2021) cited zero of these 17 studies.

      31.      Moreover, Christensen et al. reiterated the fact that there have been no RCT studies,

and called for high quality studies to be conducted (without any indication that it would be

unethical to conduct such RCTs). (Christensen et al. 2023 at 9.).


II.         Multiple new detransition studies confirm features consistent with the hypothesis
            that ROGD is largely a social contagion phenomenon.

      32.      As indicated in my previous report, respected national health care systems of several

countries have warned of the risk that medical transition of minors can lead to detransition and

severe regret due to irreversible physical harms. (Cantor Report, Section V.) Because

detransition (1) can occur several years after transition, (2) is not typically reported to the clinic

that provided transition (Littman (2021)), (3) thus cannot be distinguished by the clinic from

dropping out of a clinical study for other reasons, and (4) is not systematically tracked by any

centralized database in the U.S., reliable knowledge about the features and frequencies of

detransition cannot develop at the same rate as other aspects of study. The scientific study of

detransition has only just begun, with even the Version 8 of WPATH’s Standards of Care (SOC-

8) noting that basic information about detransition remains unknown (SOC-8 at S77.). In this

situation, it is unjustified and misleading to claim that the paucity of evidence suggests that rates


4
    Namely:
     Lytle, M. C., Silenzio, V., Homan, C. M., Schneider, P., & Caine, E. D. (2018). Suicidal and help-seeking
         behaviors among youth in an online lesbian, gay, bisexual, transgender, queer, and questioning social
         network. Journal of Homosexuality, 65, 1916–1933.
     Russell, S. T., Pollitt, A. M., Li, G., & Grossman, A. H. (2018) Chosen name use is linked to reduced
         depressive symptoms, suicidal ideation, and suicidal behavior among transgender youth. Journal of
         Adolescent Health, 63, 503–505.


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of detransition are low, rather than merely reflecting the difficulty of data collection and as a

result the greater the time that will be required for such research to be completed.

   33.      Scientific interest in this issue is extremely high, and evidence is only now beginning

to accumulate. In the comparatively short time since my previous report, many new studies of

detransition have appeared in the peer-reviewed literature:

         Littman, L., O’Malley, S., Kerschner, H., & Bailey, J. M. (2023). Detransition and
                desistance among previously trans-identified young adults. Archives of Sexual
                Behavior. doi: 10.1007/s10508-023-02716-1
         MacKinnon, K. R., Gould, W. A., Enxuga, G., Kia, H., Abramovich, A., Lam, J. S. H., &
              Ross, L. E. (2023). Exploring the gender care experiences and perspectives of
              individuals who discontinued their transition or detransitioned in Canada.
              PlosONE. doi: 10.1371/journal.pone.0293868
         MacKinnon, K. R., Kia, H., Gould, W. A., Ross, L. E., Abramovich, A., Enxuga, G., &
              Lam, J. S. H. (in press). A typology of pathways to detransition: Considerations
              for care practice with transgender and gender diverse people who stop or reverse
              their gender transition. Psychology of Sexual Orientation and Gender Diversity.
              doi: 10.1037/sgd0000678
         Sanders, T., du Plessis, C., Mullens, A. B., & Brömdal, A. (2023). Navigating
                detransition borders: An exploration of social media narratives. Archives of
                Sexual Behavior, 52, 1061–1072.
         Sansfaçon, A. P., Gelly, M. A., Gravel, R., Medico, D., Baril, A., Susset, F., & Paradis,
                A. (2023). A nuanced look into youth journeys of gender transition and
                detransition. Infant and Child Development, 32, e2402.
         Sansfaçon, A. P., Gravel, É., Gelly, M., Planchat, T., Paradis, A., & Medico, D. (in press)
                A retrospective analysis of the gender trajectories of youth who have discontinued
                a transition. International Journal of Transgender Health. doi:
                10.1080/26895269.2023.2279272
These empirical studies have employed a range of techniques to examine detransitioners’

characteristics, including semi-structured interviews, thematic analysis of social media sites, and

quantitative surveys using independently validated instruments.

   34.      The most scientifically rigorous of these is Littman et al. (2023). To recruit

detransitioners to participate in this peer-reviewed study, the researchers noted that “Efforts were

made to reach communities with differing perspectives about gender dysphoria, desistance,



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transition, and detransition” (at 60.). The study’s sample consisted of individuals 91% of whom

were biologically female, ranging in age from 18 to 33 years (mean of 24.9 years), and 81%

white. The majority of participants described themselves as politically liberal (68%), non-

religious (82%), and supportive of gay marriage rights (86%) and transgender rights (91%).

   35.      The results of this quantitative, peer-reviewed study confirmed the conclusions of the

qualitative studies interviewing detransitioners and prior survey studies: The majority of the

detransitioners reported that the phenomenon referred to as rapid onset gender dysphoria

(ROGD) correctly describe their experience (53%), with 23% indicating they did not know, and

24% reporting it did not. Co-morbid psychiatric diagnoses were acknowledged by the majority,

consistent with prior studies. Self-harm was extremely prevalent in the sample before and during

their period of transgender identification, 71% and 64% respectively. Interestingly (and urgently

calling for further research), self-reported self harm dropped radically to 23% among this sample

after they detransitioned and returned to a gender identity aligned with their biological sex.

   36.      The study results also supported the social contagion hypothesis of ROGD:

         Participants in the current study were asked if, at the time of transgender
         identification, they belonged to a friendship group where one or more members of
         the group became transgender-identified around the same time. The majority
         (60.3%) answered in the affirmative (with 24.4% referring to offline friendship
         groups, 14.1% referring to online friendship groups, and 21.8% referring to both).
         More than a third of participants responded that the majority of their offline and
         online friends became transgender-identified (34.6% and 38.5%, respectively) and
         participants acknowledged that their offline and online friendship groups engaged
         in mocking people who were not transgender-identified (42.3% and 41.0%,
         respectively). (Littman et al. 2023 at 68.)

It bears emphasizing this finding that more than a third of these (overwhelmingly female)

respondents reported that “the majority” of their friends at some point became transgender-

identified. In my opinion, this finding is entirely inconsistent with claims that transgender




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identity is innate and immutable, like sexual orientation, rather than influenced by social and

psychological factors.

       37.      Importantly, study participants were asked about the informed consent procedures

they received from the clinicians providing the medicalized transition services. The majority

(61.5%) reported receiving hormonal treatments from clinicians using only the informed consent,

rather than a gate-keeping model, and, although they received some information, the results

indicated that:

             66.7% felt they were inadequately informed about risks and 31.3% felt this about
             benefits. Only one participant (2.1%) reported that a clinician provided
             information about treatment alternatives to cross-sex hormones . . . 75.0% of
             participants reported that they received inadequate information about these
             alternatives, [and fewer than] one-tenth (8.3%) of participants indicated that they
             were informed by their clinician about the lack of long-term studies about natal
             females with late-onset gender dysphoria. Similarly, only 12.5% were informed
             that the risks, benefits, and outcomes for medical transition of late-onset gender
             dysphoric youth have not been well studied. (Littman et al. 2023, at 70–71.)

III.         New epidemiological evidence supports the hypothesis that ROGD is merely one
             symptom of a wide pattern of sharp declines in the mental health of especially
             female adolescents, corresponding with the increased social pressures introduced by
             social media in the smartphones era.

       38.      As noted in my previous report, the peer-reviewed evidence repeatedly differentiates

between the previous, well-established types of gender dysphoria (childhood-onset gender

dysphoria and adult-onset gender dysphoria; see Cantor Report, Sections IX.A. & IX.B.), and the

only recently observed pattern of adolescent-onset or rapid-onset gender dysphoria (ROGD; see

Cantor Report, Sections IX.C.).5 Some advocates reject the social contagion explanation of the

sudden epidemiological change, citing political, social, and therapeutic implications they claim




5
  One of the peer-reviewed sources I cited was Diaz and Bailey (year), published in Archives of Sexual Behavior.
After my report was submitted, that article was republished as:
    Diaz, S. & Bailey, J. M. (2023). Rapid-onset gender dysphoria: Parent reports on 1,655 possible cases. Journal
        of Open Inquiry in the Behavioral Sciences. doi: 10.58408/issn.2992-9253.2023.01.01.00000012


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follow from that conclusion (see Section XI.B. below); however no other interpretation has been

offered that is capable of explaining the evidence.

   39.     Since the preparation of my prior report, highly relevant new evidence has been

reported by multiple, highly reliable sources (including national surveys), that endorse the

patterns predicted by the social contagion explanation. Large quantities of mental health data

have been produced recently due to the interest in investigating the impact of COVID on public

mental health. What this research has repeatedly revealed is that, although there have been some

decreases in mental health indicators during the COVID era, the major decline began nearly a

decade before the COVID era (Villas-Boas et al. 2023) and instead corresponds with the new

ubiquity of smartphones and social media among adolescents.

   40.     As demonstrated by the following sources, each of these exponential changes has

occurred simultaneously and primarily within the same demographic group outlined in my prior

report: adolescent, biological females, with psychosocial vulnerabilities making them more

susceptible to social influence. Neither the claims of sexual minority stress nor any other

hypothesis apart from the new influence of smartphones and social media predicts or provides

any explanation for these several concurrent and ubiquitous patterns, below.

   A. Additional data show an exponential increase in gender dysphoria referrals
      coincident with the wide uptake of social media.

   41.     First, evidence from additional sources simply confirms the presence and timing of

the exponential increases in numbers of reported cases of gender dysphoria throughout the

industrialized world, as already noted in my previous report.

   42.     Australia: The Royal Children’s Hospital gender service reports the following data

on referrals to its gender service, with an exponential rise beginning in 2011–2012. (Bachelard

2023.)



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   43.     United Kingdom: In her interim report, Dr. Cass provides the following data on

referrals for gender dysphoria in the U.K., following almost exactly the same timing and curve.

(Cass 2022 at 34.)




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   44.     The Netherlands: Data from the Netherlands shows the same pattern and timing and

breaks out the fact that the phenomenon is primarily affecting biological females. (Arnoldussen

2020.)




   B. Additional data also show a sharp increase in mental health conditions broadly
      among teens occurred concurrent with the wide uptake of social media.

   45.     Brunette et al. (2023) plotted data from U.S. National Survey on Drug Use and Health

demonstrating that increases in depression began at the same time and occurred among younger

rather than older adults:




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   46.       Data from the U.S. Substance Abuse and Mental Health Services Administration

(SAMHSA 2022) likewise show the rapid rise in depressive episodes, more than doubling,

accompanying the social media age, and mostly affecting youth under 25:




   C. The post-2011 crisis in mental health, like the explosion of gender dysphoria referrals,
      has been a largely female phenomenon.

   47.       The sudden and dramatic increases in depression primarily occurred among

biologically female adolescents. The U.S. Centers for Disease Control and Prevention (CDC)

released the results of its biannual Youth Risk Behavior Survey (CDC 2023). The report

confirmed that mental health and suicidal thoughts and behaviors worsened significantly

between 2011 and 2021. It also found these problems primarily affecting biological females,

noting:

          Across almost all measures of substance use, experiences of violence, mental
          health, and suicidal thoughts and behaviors, female students are faring more
          poorly than male students. These differences, and the rates at which female
          students are reporting such negative experiences, are stark. […] In 2021, almost
          60% of female students experienced persistent feelings of sadness or hopelessness
          during the past year and nearly 25% made a suicide plan. (CDC 2023 at 2.)




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   48.      Twenge (2022) showed an exponential increase in major depression rates among U.S.

adolescents (ages 12–17) beginning in 2011, as reported by the U.S. National Study of Drug Use

and Health, illustrating again this to be primarily among females:




(Twenge 2022 at 3.)

   49.      Tragically, the same pattern extends beyond depression and mental health to actual

completed suicide. While suicide rates for most groups have fallen or remained constant since

2011, completed suicide rates for adolescent girls instead have skyrocketed:

         Suicide rates have been falling overall, but girls—who kill themselves less often than
         other groups—are an exception. Among girls aged 10–19, suicide rates rose from an
         average of 3.0 per 100,000 people in 2003 to 3.5 per 100,000 in 2020. The rate among
         boys, although higher at 6.1 per 100,000 population, has barely changed. (Economist
         2023.)




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Changes in suicide rates, by biological sex and age group. (Economist 2023.)




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   50.      Twenge (2020) compared multiple indicators of poor mental health among U.S. girls

and young women across 2001–2018, again illustrating the dramatic worsening beginning in

2011. “In most cases, the increases in indicators of poor mental health have been larger among

girls and young women than among boys and young men” (Twenge 2020 at 19.). These findings

confirm the patterns I have previously identified.




   D. The 2011 onset of increased mental health problems and increased gender dysphoria
      referrals has been recognized as co-occurring with the uptake of smartphones among
      adolescents.

   51.      New reports increasingly recognize social media and smartphone usage as the

common link behind the proliferation of mental health disorders among adolescents (Brunette et

al. 2023; Haltigan et al. 2023), including the recent health advisory by the American

Psychological Association on social media use among adolescents (APA (2023).). The APA

advisory concluded:

         Research suggests that using social media for social comparisons related to
         physical appearance, as well as excessive attention to and behaviors related to
         one’s own photos and feedback on those photos, are related to poorer body image,
         disordered eating, and depressive symptoms, particularly among girls. (APA
         2023 at 8, emphasis added.)




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These conclusions further confirm the conclusions of systematic review associating smartphone

usage and poorer mental health (Sohn et al. 2019).

   52.     The timing of the increase in gender dysphoria referrals exactly correspond with the

penetration of smartphones and social media into adolescent lives: Data published by Pew

Research illustrates that the rates of smartphone usage among teenagers also began its dramatic

rise in 2011−2012:




(Lebrow 2022.)

   53.     Twenge (2020) documents that it is precisely the heavy users of social media who are

most likely to report being depressed, feeling unhappy, or exhibiting suicidality. Again, the

association is, by far, most striking for adolescent girls:




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(Twenge 2020 at 22.)

   54.      In their peer-reviewed, nation-wide analysis of Finland’s centralized gender identity

services (GIS), Kaltiala et al. observed:

         The increase in all the younger people contacting GIS and in psychiatric needs
         among them have taken place simultaneously with the emergence of the widely
         recognized crisis in mental health among adolescents and young adults throughout
         the Western world [44, 45], largely associated with the increasing use of social
         media [44–46]. Social influences that reduce stigma and barriers to care for
         people suffering from incongruence between their sexed body and lived gender
         experience likely improve mental health in this group and social media may offer
         invaluable support and belongingness that buffers against minority stress.
         However, social media influences may also result in adolescent and emerging
         adult females – who present particularly frequently with identity confusion [47] –
         seeking for a solution to their distress through GR [11] and overshadow the need
         for psychiatric treatment. (Kaltiala et al. 2023 at 6.)

The sources cited by Kaltiala et al. in this paragraph are:

         11: Marchiano, L. (2017). Outbreak: On transgender teens and psychic epidemics.
               Psychological Perspectives, 60, 345–366.




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            44: Twenge, J. M. (2020). Increases in depression, self-harm, and suicide among U.S.
                  adolescents after 2012 and links to technology use: Possible mechanisms.
                  Psychiatric Research and Clinical Practice, 2, 19–25.
            45: Krokstad, S., Weiss, D. A., Krokstad, M. A., Rangul, V., Kvaløy, K., Ingul, J. M.,
                   Bjerkeset, O., Twenge, J., & Sund, E. R. (2022). Divergent decennial trends in
                   mental health according to age reveal poorer mental health for young people:
                   Repeated cross-sectional population-based surveys from the HUNT Study,
                   Norway. BMJ Open, 12, e057654.
            46: Abbasi, J. (2023). Surgeon general sounds the alarm on social media use and youth
                  mental health crisis. JAMA, 330, 11–12.
            47: Bogaerts, A., Claes, L., Buelens, T., Verschueren, M., Palmeroni, N., , Bastiaens T.,
                   & Luyckx, K. (2021). Identity synthesis and confusion in early to late
                   adolescents: Age trends, gender differences, and associations with depressive
                   symptoms. Journal of Adolescence, 87, 106–116.

IV.         New studies on risks of harm corroborate the dangers posed to children and
            adolescents by medicalized transition.

      55.      As I outlined in my prior report, an analysis of the safety and/or efficacy of any

particular approach requires a balancing of the probable benefits in light of probable risks.

(Cantor Report, Section V.A.) My prior report also detailed both the known and the potential,

but largely unstudied, harms associated with administration of puberty blockers and cross-sex

hormones to children and adolescents, one of which is irreversible sterilization. (Cantor Report,

Section XIV.)

      56.      Since I prepared my report, a systematic review of the research studying the desire of

transgender individuals to become biological parents has now been completed and published,

information relevant to the possibility that medical transition will later be perceived by the

patient as having inflicted severe harm. Stolk et al. (2023) reviewed of a total of 76 individual

studies. The review found that that the majority of adults undergoing medicalized transition

desired to become parents in the future; however, fertility preservation utilization rates were

nonetheless low. That disconnect obviously leaves large room for future regret and harm.

      57.      By contrast, Stolk et al. found that among transgender adolescents, only a minority


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stated a desire to become biological parents in the future. Stolk et al. did not however, find any

study that measured by how such desires change over time, once those who transition as

adolescents mature into adult life. The much greater levels of desire to become a parent reported

by transgender adults suggests the hypothesis that this desire increases as one enters and lives

adult life, although a longitudinal study would be necessary to conclude this with confidence.

Also not included in Stolk et al. was information comparing levels of asserted desire to be a

parent in the future among non-transgender adolescents with asserted desire on the part of non-

transgender adults. Such a comparison that might give critical insight into the general stability

(or lack of stability) of such desires across time and maturation.

     58.      Notably, Stolk et al. recognize that cross-sex hormone treatment beginning at Tanner

Stage 2 ends the possibility of future fertility. The review noted also that WPATH guidelines

include no procedures that would prevent this effective sterilization. Rather, WPATH guidelines

include only the recommendation that individuals undergoing medicalized transition receive

counseling about that loss of capacity for biological children. Neither the review nor WPATH

provides any indication of how effective such counseling can be with, for example, a 10-year-old

or prepubescent child making the irreversible decision never to become a biological parent. No

evidence or methodology exists for validating whether any consent or assent obtained from such

a child could be meaningfully informed.


V.         Evidence-based medicine warns against strong recommendations based on low
           quality evidence.

     59.      In his declaration, Dr. Antommaria did not contest that the evidence cited in support

of the medicalized transition of minors was of low quality; however, Dr. Antommaria asserted

that it is standard practice for clinical guidelines to issue strong recommendations on the basis of




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only low quality evidence. (Antommaria Report at 11–15.) New documentation, including peer-

reviewed publications and the now identified sources of WPATH’s procedures, indicate instead

that recommendation strength being discordant with evidence strength conflicts with evidence-

based medicine. First, Chapter 14 of WHO (2014) is titled “Strong recommendations when the

evidence is low quality,” and makes this principle explicit:

         GRADE guidance warns against discordant recommendations because when
         either the benefits or harms of an intervention are uncertain, one cannot be
         confident that an intervention does more good than harm. Strong
         recommendations are directives that are meant to be followed by all or almost all
         guideline users and under all or almost all foreseeable circumstances. […]
         Because of this, discordant recommendations may entrench practices whose
         benefit is uncertain. For instance, a discordant recommendation may lead the
         users of a WHO guideline to carry out interventions that are detrimental
         individually or collectively or to waste scarce resources on ineffective
         interventions. (WHO 2014 at 170–71, emphasis added.)

   60.      A new peer-reviewed article, published in BMC Medical Research Methodology,

compared quality of evidence with strength of recommendations for all the National Clinical

Guidelines (NCGs) of Ireland after 2019, when that country’s national health care system

adopted the GRADE approach to evidence-based medicine—Chong et al. (2023). Chong et al.

first summarized the basic principle behind evidence-based medicine:

         1) Strong recommendations confirm confidence that the desirable effects
         outweigh the undesired consequences and 2) conditional/weak recommendations
         are made when there is uncertainty regarding potential harms or disadvantages.
         […] For the development of trustworthy guidelines there should be concordance
         between the quality (certainty) of the evidence and the strength of the
         recommendations. (Chong et al. 2023 at 2.)

   61.      Moreover, when there is only low quality evidence to support a treatment that risks

harm, the primary recommendations are recommendations against that treatment, not for it, as

Dr. Antommaria misleadingly insinuates. Dr. Antommaria fails to disclose how many of the

strong recommendations based on weak evidence he cited were strong recommendations against




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the procedure because of the weak evidence, rather than for the procedure despite only weak

evidence.

   62.      As Chong et al. noted: When the evidence of benefit is of low or very low quality, but

the evidence of harm is high or moderate, then the recommendation is a strong recommendation

against the treatment, and when the evidence shows that two treatments have potentially

equivalent effectiveness but that one clearly poses less risk (such as with psychotherapy versus

medicalized transition), then the recommendation is a strong recommendation against the higher

risk treatment. (Chong et al. 2023 at 3.)

   63.      WHO (2014) provides the same instructions:

         When guideline development groups are confident that the desirable
         consequences (benefits) of an intervention outweigh its undesirable consequences
         (risks or harms), they will likely issue a strong recommendation in favour of the
         intervention; when they are confident that the opposite is true, they issue a strong
         recommendation against the intervention. In cases in which the balance between
         desirable and undesirable consequences is less certain, the guideline development
         group will issue a conditional recommendation. (WHO 2014 at 169.)

For example, when there is only low or very low quality evidence of benefit (such as with mental

health benefits from medicalized transition), but high or moderate level evidence of harm (such

as with the sterilization from cross-sex hormones administered to prepubescent reproductive

organs), the proper application of the principles of GRADE as clearly set out in these sources

yields a strong recommendation against the intervention, not for it.

   64.      Both Chong et al. (2023) and WHO (2014) do identify five situations which represent

exceptions to the concordance principle, in which strong recommendations may be appropriate

despite low quality evidence. These give situations are listed below. Notably, four of them are

recommendations against the treatment:




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minors are “immaterial.” In short, the only situation in which the principles of evidence-based

medicine permit a strong recommendation based on low quality evidence does not apply.


VI.         New studies and statements from medical associations and respected international
            experts confirm the lack of professional consensus and lack of science supporting
            the medicalized transition of minors.

      66.      In my prior report, I cited extensive evidence that claims of a “medical consensus” in

favor of medicalized transition of children (often supported by nothing more than pointing to

“guidelines” published by professional interest groups) are demonstrably false. (Cantor Report,

Section II.F.) Since then, new studies, as well as statements from a variety of medical

associations, have further endorsed that conclusion.

      A. The World Health Organization (WHO) has removed children and adolescents from
         its upcoming guidelines on transgender health, making explicit this was because of the
         lack of evidence.

      67.      WHO (2014) explicitly identifies its methods as scientific and evidence-based:

            [I]n its normative and standard-setting work, WHO is and will remain a science-
            and evidence-based organization with a focus on public health. Guidelines are the
            fundamental means through which the Organization fulfils its technical leadership
            in health […] WHO’s legitimacy and technical authority lie in its rigorous
            adherence to the systematic use of evidence as the basis for all policies. (WHO
            2014 at 1.)

WPATH explicitly names WHO as one of the sources upon which it relied for its methodology

in producing SOC-8—see Section VII. below. SOC-8 also employs the WHO diagnostic system

(ICD-11) instead of the APA system (DSM-5-TR). Despite WPATH’s consistent endorsement

of WHO standards, however, WHO itself has come to the opposite conclusion of WPATH on the

application of these standards to transgender children and adolescents.

      68.      On 18 December 2023, the World Health Organization announced the development

of a guideline on the health of transgender and gender diverse people, including the provision of

gender-affirming care. (WHO 2023.) On 15 January 2024, WHO announced that the guideline


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would pertain only to adults (WHO 2024a), stating in a published “FAQ” that the reason for

excluding minors was specifically because of the insufficient and inconsistent evidence:

         Why will the guideline only cover adults and not also children or adolescents?

         The scope will cover adults only and not address the needs of children and
         adolescents, because on review, the evidence base for children and adolescents is
         limited and variable regarding the longer-term outcomes of gender affirming care
         for children and adolescents. (WHO 2024b at 3.)

   B. The UK Council for Psychotherapy has now issued official guidance regarding (what it
      termed) gender critical views and to emphasize that exploratory therapy must not be
      conflated with conversion therapy.

   69.      The United Kingdom Council for Psychotherapy (UKCP) is the national registering

body for psychotherapists in the UK, comprising 80 member organizations. It is the primary

organization in that country for the education, training, accreditation, and regulation for

psychotherapy and psychotherapeutic counselling. After the submission of my prior report, that

body issued a statement explaining its guidance for psychotherapy with gender dysphoric

minors:

         Psychotherapists and psychotherapeutic counsellors who hold [gender critical]
         views are likely to believe that the clinically most appropriate approach to
         working therapeutically with individuals who present with gender dysphoria,
         particularly children and young people, is exploratory therapy, rather than
         medicalised interventions such as puberty blockers, cross-sex hormones or
         reassignment surgery. […] Exploratory therapy should not in any circumstances
         be confused with conversion therapy, which seeks to change or deny a person’s
         sexual orientation and/or gender identity. (UKCP 2023.)

The statement quoted the Chair of the UKCP, Dr. Christian Buckland, saying:

         The UKCP continues to recognise the fact that there are different professional
         beliefs on many differing topics within the psychotherapeutic community. […]
         Medical interventions can potentially be irreversible, and there are risks
         associated with all medical treatments. Therefore, it is imperative that all
         underlying aspects to someone’s dysphoria are given the attention and exploration
         they deserve through professional psychotherapies, in order that the overall risks
         can be appropriately assessed prior to considering medical intervention. (UKCP
         2023.)



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   70.      Thus, the UKCP statement directly contradicts the plaintiffs’ experts’ claims, but

further confirms and reiterates the contents of my prior report, including the lack of professional

consensus over treatment models (Cantor Report, ¶¶ 34–37), erroneous misuse of the term

“conversion therapy” (Cantor Report, ¶ 301), and the risks associated with medicalized transition

(Cantor Report, Section XIV.).

   C. A new survey of endocrinologists who prescribe gender-affirming hormone treatment
      demonstrates split opinion, not consensus.

   71.      A new study surveying board-certified endocrinologists who prescribe gender-

affirming hormone treatment (GAHT) to adults found that “GAHT can and is currently being

prescribed in large numbers without a prerequisite of psychosocial evaluation from a MHP

[mental health provider].” (Bisno et al. 2023 at 469.) Bisno et al. noted that this lack of thorough

evaluation is consistent with guidelines published by special interest groups with a financial

interest in administrating that therapy:

         The Endocrine Society published guidelines in 2017 recommending against an
         obligatory psychosocial evaluation, which was affirmed in the recently published
         World Professional Association for Transgender Health Standards of Care
         Version 8 from 2022. (Bisno et al. 2023 at 465.)

By contrast, however, Bisno et al. found that “42.9% of the respondents reported that their

practice required documentation of a psychosocial evaluation from a mental health professional

before initiating GAHT.” The authors concluded that, despite the Endocrine Society and

WPATH guidelines, “Endocrinologists who prescribe GAHT are divided about requiring a

baseline psychosocial evaluation before prescribing GAHT.” (Bisno et al. 2023 at 465.)

   72.      The fact that almost half of the surveyed physicians reported using clinical criteria

tighter than those of WPATH and the Endocrine Society indicates their belief that those

guidelines provide insufficient protection against harm.




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   73.       The authors of Bisno et al. reported reasons given by some doctors who agreed with

the WPATH/Endocrine Society advocacy to remove any requirement for a psychosocial

evaluation before prescribing puberty blockers or cross-sex hormones. Interestingly, the reasons

tgiven do not reflect evidence-based conclusions about benefits, harms, or risks from medical

transition. Rather, the reasons were:

         •   Access: Too “few MHPs [mental health providers] are training in gender-affirming
             health care” (at 466.) which made it “challenging to find a MHP” (at 467.);

         •   Cost: Too few MHPs “participate in any insurance plan,” while “up to 40% of the
             transgender population is publicly insured or uninsured” (at 467.); and

         •   Advocacy goals: Dispensing with a mental health evaluation would “minimize the
             association of transgender identity with mental illness” (at 469.).

These reasons do not reflect principles of evidence-based medicine. Rather, they serve to

increase potential patients’ ability to obtain and afford the services of these endocrinologists.

Indeed, these motivations represent the very kinds of conflict of interest that both IoM (2011)

and WHO (2014) warn about and seek to guard against—see Section VII.A. below.

   D. The American Academy of Pediatrics (AAP) now acknowledges that its 2018 policy
      statement on gender dysphoric children was not based on a systematic review of the
      relevant research.

   74.       As noted in my prior report (Cantor Report, Section XVI.D.) and detailed in my peer-

reviewed fact-check (Cantor 2020), the AAP’s policy statement on transgender youth

misrepresented and directly contradicted the contents of the then-available scientific literature.

Neither AAP nor the sole author of its policy statement (Rafferty et al. 2018) conducted either a

systematic review or even a competent narrative review of the relevant science. In the several

years since that time, AAP has produced no correction or other response to the numerous,

documented errors that statement contained.

   75.       Since the submission of my prior report, AAP Board of Directors has reaffirmed that



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same 2018 policy. (Wyckoff 2023.) Remarkably, the AAP did so still without conducting a

systematic (or any other) review of the now much expanded relevant science. This is despite:

(1) the long list of factual errors I and others had already documented regarding the scientific

assertions contained in the policy, (2) the hundreds of relevant peer-reviewed studies published

only after that 2018 policy, and (3) the systematic reviews from all over the world that also

became available only after 2018, unanimously contradicting the very basis of that policy.

   76.     The statement AAP made in announcing the policy reaffirmation in its journal,

Pediatrics, included the assertion by the AAP CEO that the “policy authors and AAP leadership

are confident the principles presented in the original policy [Rafferty et al. (2018)] remain in the

best interest of children.” (Wyckoff 2023.) The principles that the public expects and assumes,

however, are the principles of evidence-based medicine, and the principles of evidence-based

medicine require a systematic review, which the AAP has neglected to perform, now twice.

Additionally, unlike in 2018, there now exist systematic reviews already available from multiple

authorities that do adhere to the principles of evidence-based medicine, but the AAP has entirely

disregarded those available resources.

   77.     The AAP’s announcement did include a statement that it intends to conduct a

systematic review in the future, only after reaffirming its policy. Such a cart-before-the-horse

strategy is clearly positioned to facilitate reaching a predetermined conclusion. Indeed, the AAP

statement did not acknowledge any scientific need for a systematic review, and instead

highlighted “the board’s concerns about restrictions to access to health care with bans on gender-

affirming care.” As noted in earlier in this report, such declarations from professional guilds

represent a conflict of interest—see Section VII.A below. Because of the financial incentives to

physicians providing these services, patients’ “access to health care” is indistinguishable from




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AAP’s access to its customer market.

   E. New statements from respected international experts increasingly warn of dangers of
      excessive medicalization and discourage medical transition of children.

   78.      My prior declaration identified multiple international health care systems reversing

their policies that had initially facilitated the medicalized transition of minors. (Cantor Report,

Section II.) The international recognition that the earlier policies fail to reflect the medical

science and have not been shown to benefit children continues to grow with the still-increasing

evidence. It is evident that the U.S. medical policies are growing increasingly isolated from the

international medical and scientific consensus in light of the scientific evidence.

   79.      In a recent open letter in the Wall Street Journal, 21 scientists and clinicians from

nine countries, all experts in caring for gender dysphoric youth, issued a warning to the U.S. that

“Youth gender transition is pushed without evidence: Psychotherapy, not hormones and surgery,

is increasingly the first line of treatment abroad.” (Kaltiala, Takala, et al. 2023.) The authors

emphasized:

         The politicization of transgender healthcare in the U.S. is unfortunate. The way to
         combat it is for medical societies to align their recommendations with the best
         available evidence—rather than exaggerating the benefits and minimizing the
         risks. (Kaltiala, Takala, et al. 2023.)

   80.      One of the authors of this open letter, Dr. Riittakerttu Kaltiala, is the chief psychiatrist

in the department of adolescent psychiatry at the Tempere University Hospital, one of the

leading teaching hospitals in Finland. She served as the head of Finland’s national pediatric

gender program, which began with, and for several years followed, the “Dutch protocol” which

includes prescribing puberty blockers for some exceptional gender dysphoric children, starting at

age 12. (Cantor Report, Section XVI.A.) Dr. Kaltiala is now, however, vocally advocating

against these hormonal interventions which she says “interrupt and disrupt [the] crucial




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psychological and physical developmental stage” of puberty. In her recently published essay

entitled “Gender-affirming care is dangerous,” she recounts that—as her clinic tracked their

patients— “the young people we were treating were not thriving. Instead, their lives were

deteriorating . . . they were doing worse” and that “some previous patients started to come back

to tell us they now regretted their transition.” (Kaltiala 2023.) Dr. Kaltiala states that “the

[evidentiary] foundation on which the Dutch protocol was based is crumbling,” and that “regret

is far more widespread” than commonly acknowledged. “For example, one new study shows that

nearly 30 percent of patients in [a transitioned] sample ceased filling their hormone prescriptions

within four years.” (Kaltiala 2023.)

   81.      The Editor-in-Chief of the British Medical Journal (among the most respected

medical journals in the world) likewise recently described the international shift away from

medicalized transition in favor of psychological support in a recent article, explicitly calling out

medical societies in the U.S. which are departing from the evidence:

         The US, however, has moved in the opposite direction. An investigation by The
         BMJ finds that more and more young people are being offered medical and
         surgical intervention for gender transition, sometimes bypassing any
         psychological support. Much of this clinical practice is supported by guidance
         from medical societies and associations, but closer inspection of that guidance
         finds that the strength of clinical recommendations is not in line with the strength
         of the evidence. The risk of overtreatment of gender dysphoria is real. (Abbasi
         2023 at 553.)

   82.      One of the most widely known experts and pioneers of the treatment of gender

dysphoria in minors, Dr. Susan Bradley of Canada, recently expressed regret at having employed

puberty blockers to treat gender dysphoric minors. She now states:

         We were wrong. . .They’re not as irreversible as we always thought, and they
         have longer term effects on kids’ growth and development, including making
         them sterile and quite a number of things affecting their bone growth. (Duggan
         2023.)




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     F. Dr. Gordon Guyatt confirms that so-called guidelines or standards promoting
        medicalized transition of minors are not based on or consistent with evidence-based
        medicine.

     83.      As I have previously explained, Dr. Gordon Guyatt, Distinguished Professor of

Medicine and of Health Research Methods at McMaster University, is recognized as the “father”

of evidence-based-medicine. (Cantor Report, Section III.B.) Plaintiffs’ experts repeatedly cited

Dr. Guyatt in the course of describing the standards by which clinical research is (or should be)

assessed, asserting that medicalized transition is consistent with evidence-based-medicine. On

the contrary, multiple recent public statements by Dr. Guyatt now confirm that he agrees with

my application of the principles of evidence-based medicine to the research on gender dysphoric

minors and disagrees with that being put forward by the plaintiffs’ experts.

     84.      Dr. Guyatt has recently stated:

           Current American guidelines for managing gender dysphoria in adolescents [are]
           untrustworthy. Don’t acknowledge the very low certainty evidence regarding
           alternatives and do not make the very guarded weak/conditional recommendations
           appropriate for such evidence.6

In this post, Dr. Guyatt linked to article in the British Medical Journal (BMJ) that relied in part

on the author’s interview of Dr. Guyatt about the Endocrine Society’s guidelines on medicalized

transition. The BMJ article in turn quoted and summarized an interview with Dr. Guyatt as

follows:

           Guyatt, who co-developed GRADE, found “serious problems” with the Endocrine
           Society guidelines, noting that the systematic reviews didn’t look at the effect of
           the interventions on gender dysphoria itself, arguably “the most important
           outcome.”

           He [Guyatt] also noted that the Endocrine Society had at times paired strong
           recommendations—phrased as “we recommend”—with weak evidence.…
           “GRADE discourages strong recommendations with low or very low quality


6
  Retrieved from Gordon H. Guyatt (@GuyattGH), X,
https://twitter.com/GuyattGH/status/1641183448063967233?s=20 (last visited February 1, 2024).


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         evidence except under very specific circumstances,” Guyatt told The BMJ. Those
         exceptions are “very few and far between.” (Block 2023 at 2–3.)

Dr. Guyatt’s comments directly oppose Dr. Antommaria’s assertion that the Endocrine Society’s

guideline development procedure was “rigorous.” (Antommaria Report at 5.) Dr. Guyatt also

directly contradicts Dr. Antommaria’s suggestion that it is valid and routine to make strong

recommendations on the basis of weak evidence. (Antommaria Report at 14–15.)

   85.      In another interview, this time with The New York Times, Dr. Guyatt was asked about

AAP’s decision to promulgate a policy on the medicalized transition of minors without having

conducted a systematic review. (Ghorayshi 2023.) The Times described his response as follows:

         The move is “very clearly putting the cart before the horse,” said Dr. Gordon
         Guyatt, a clinical epidemiologist at McMaster University who helped develop the
         field of evidence-based medicine.

         Based on previous systematic reviews, Dr. Guyatt said, the A.A.P.’s report will
         most likely find low-quality evidence for pediatric gender care. “The policies of
         the Europeans are much more aligned with the evidence than are the Americans’,”
         he said. (Ghorayshi 2023.)

   G. Both topic experts and research methodology experts continue to discredit the
      publications of Dr. Jack Turban.

   86.      The plaintiffs’ experts repeatedly cite works by Dr. Turban claiming that those works

support the medicalized transition of minors, but which I demonstrated in my report to be

misinterpretations of survey data which he analyzed incorrectly. (Cantor Report, Section XVII.)

Since then, numerous public statements from Dr. Turban demonstrate his lack of knowledge of

even the basic methods of evidence-based medicine, with topic experts documenting numerous

errors in his analyses.

   87.      As noted in my previous report, a substantial proportion of the evidence from the

plaintiffs’ experts relies upon analyses by Dr. Turban of a 2015 survey, and survey studies

represent only very low quality evidence of clinical outcomes. Since the preparation of my



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report, further evidence has emerged documenting the unreliability of Dr. Turban’s findings and

conclusions, including re-analyses of his data by established topic experts, peer-reviewed

evaluation of his conclusions, editorial re-review of his work that compelled corrections be

published, and his own testimony under oath indicating the limits to his own knowledge of

evidence-based medicine research methods.

   88.      In his recent article, Dr. Turban challenged the validity of rapid onset gender

dysphoria (ROGD) on the basis of his analysis of the U.S. Transgender Survey of 2015 (the same

survey as reported in his prior works). (Turban et al. 2023a.) Survey-takers (transgender adults,

ages 18 and older) were asked “At about what age did you begin to feel that your gender was

‘different’ from your assigned birth sex?” (Turban et al. 2023 at 2.) To approximate childhood-

onset cases with pubertal/adolescent-onset cases, Turban’s analysis split the survey-takers into

those who responded age ≤10 versus >10. He then concluded that because “a substantial

proportion of participants (40.8%) reported that they did not come to realize their TGD identities

until adolescence or later,” this contradicted “the assumption of identity transience for this group

that is an inherent component of the ROGD hypothesis,” citing Littman et al. (2018).

Immediately upon the release of Turban’s claim, multiple authors exposed Turban’s confusion:

Transience is not a component of the ROGD hypothesis in the first place. (Kulatunga-Moruzi,

2023; Sapir et al. 2023.)

   89.      Sapir et al. identified a long list of further flaws in Turban et al. (2023a), including:

         (1) analyzes the wrong age cohorts in USTS-15,

         (2) uses a dubious proxy for “realization,”

         (3) uses an unreasonable definition of “disclosure,”

         (4) provides misleading analysis of time to disclosure,




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         (5) misrepresents and underestimates the significance of their sample’s female skew, and

         (6) omits ROGD-relevant data. (Sapir et al. 2023 at 1.)

Sapir et al. demonstrated that, once re-analyzed correctly, the U.S. Transgender Survey data

actually support the ROGD hypothesis. (See also Cantor Report, Section IX.C.)

   90.      The plaintiffs’ experts also repeatedly cited Turban et al. (2022), which has now also

been revealed to contain substantial errors. In that article, Access to gender-affirming hormones

during adolescence and mental health outcomes among transgender adults, Dr. Turban’s team

asserted that having received cross-sex hormone treatment during adolescence (ages 14–17) was

associated with lower odds of reporting suicidality within the year before the survey. Since the

submission of my prior declaration, errors in Dr. Turban’s data tables and other issues have been

identified that were sufficiently serious to require the publication of a correction—Turban et al.

(2023c). Jackson’s peer-reviewed assessment of studies of the effectiveness of so-called gender-

affirming treatment on suicidality identified in Turban et al. (2022) the same deficiencies that

have pervaded Turban’s earlier studies:

         As mentioned, any current or prior mental health treatments besides
         hospitalization secondary to suicide attempt(s) were not gathered and controlled
         for.

         It is possible that assessing the confounding of mental-health differences by
         comparing suicidality over the past year to a lifetime history is insufficient.

         There will be a higher likelihood of the presence of lifetime suicidal ideation but
         none for the past year not just due to mental health differences but as a function of
         increased age.

         There was no accounting for effects due to psychiatric diagnostic history.
         (Jackson 2023 at 11.)




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It is not possible to conclude from Turban et al. (2022) that hormone treatment caused

improvement, because of (any of) the several other uncontrolled (confounding) factors that could

also explain the reported scores.

   91.      The identification in Jackson (2023) of uncontrolled and confounding variables in

Turban et al. (2022) corresponds to what Biggs also identified and described as the primary

question:

         Why 'the range of confounding variables' omits interventions which have been
         identified in other published studies using the same data—including those with
         shared authors—as having positive associations with the same outcomes. (Biggs
         2022 at 1.)

   92.      The plaintiff’s experts also repeatedly cited Turban et al. (2020), which now has been

further critiqued for asserting conclusions not justified by its data. In that article, Pubertal

suppression for transgender youth and risk of suicidal ideation, Dr. Turban’s team asserted that

having received puberty-suppressing medication during adolescence was associated with lower

odds of suicidality. Jackson, however, found the same deficiencies in Turban et al. (2020) as in

Turban’s other studies:

         The presence of mental health treatment, substance use, or psychiatric diagnostic
         history was neither mentioned nor controlled for. (Jackson 2023 at 11.)

Moreover, although some of the preliminary analyses that did not account for other variables at

the same time (i.e., univariate analyses) suggested the possibility of statistical significance, they

were not significant when the other variables were included at the same time:

         Suicidal ideation within the past year did not reach statistical significance.
         Lifetime suicide attempts did not reach statistical significance depending on
         receipt of blockers in univariate analyses and thus were not assessed with
         multivariate analysis. (Jackson 2023 at 11.)

   93.      The Jackson (2023) identification of shortcomings correspond and confirm those

previously reported by Biggs (2020):



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           With multivariate analysis, only one of these nine measures yielded a statistically
           significant association (at 2227.).

           Psychological problems are, therefore, a confounding factor that will create a
           spurious association between suicidality and treatment (at 2228.).

In sum, it is not possible to conclude from Turban et al. (2020) that puberty-blockers caused

improvement, for reasons including inadequate statistical analysis and that uncontrolled

(confounding) factors could also explain the suicidality patterns observed.

     94.      Subsequent to my previous report, Dr. Turban’s lack of understanding of the

procedures and principles of the systematic review process and of evidence-based medicine has

been documented in the public record. Dr. Turban served as an expert witness for the plaintiffs

in Poe et al v Drummond et al. (Oklahoma, Northern District, Case No. 23-cv-00177-JFH-SH).7

In his rebuttal declaration in that case, dated July 7, 2023, Dr. Turban told the court:

           Defendants’ experts attempt to misleadingly bolster the importance of these
           reports from select European countries by calling them “systematic reviews.” But
           all a “systematic review” means is that the authors of the reports pre-defined the
           search terms they used when conducting literature reviews in various databases.2
           (Turban Rebuttal Declaration at 2.)

Dr. Turban is mistaken, however, having omitted critical components of a systematic review. As

the Harvard website cited by Turban (in his footnote 2 to the above quote) states, a systematic

review is not defined merely by disclosing search terms used to find relevant studies, but also in

(a) application of “standardized, systematic methods and pre-selected eligibility criteria reduce

the risk of bias in identifying, selecting and analyzing relevant studies,” an then conducting “an

assessment of the validity or risk of bias of each included study,” and finally “a systematic

synthesis, analysis and presentation of the findings of the included studies.”8




7
  I was engaged as an expert witness for the Defendants in that case.
8
 Harvard Countway Library. Systematic Reviews and Meta Analysis Q&A. Accessed: July 6, 2023. Available at:
https://guides.library.harvard.edu/meta-analysis/GettingStarted.


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    95.      Any accurate description of the concept of a systematic review within the discipline

of evidence-based medicine would include at least these criteria. Dr. Turban, however, appears

ignorant of the importance both of evaluating “the validity or risk of bias” of each study, and “a

systematic . . . analysis . . . of the findings” of each study. The description of the core

components of a systematic review given by the source cited by Dr. Turban does, however,

correspond very closely to the one I provided in my prior report. (Cantor Report ¶¶ 40, 41.)


VII.      WPATH extensively violated international conflict of interest standards in the
          course of developing SOC-8, while claiming to comply with them.

    96.      In my previous report, I provided extensive analysis and opinion on WPATH that

included its review of safety and effectiveness in establishing clinical guidelines (Cantor Report,

Section VI.B.), its assessment of the research gaps in the area (Cantor Report, Section XII.D.),

and an assessment of its published standards (Cantor Report, Section XVI.B.). Further analysis

reveals that WPATH was possessed of extensive conflicts of interest throughout the production

of Version 8 of its Standards of Care (SOC-8), while making false representations that it was

complying with accepted conflict of interest principles for that process.

    97.      For reference, the following assessment refers to these documents:

          Sharma et al. (2018).
                WPATH’s pre-registration in the PROSPERO database of the systematic review it
                planned, identifying each of the specific research questions it would examine.

          Baker et al. (2021).
                 WPATH’s systematic review of studies on the mental health of hormone therapy
                 on transgender people, three of which were on minors.

          WPATH (2022) aka Coleman et al. (2022).
              WPATH’s completed Standards of Care, version 8 (SOC-8).

          WHO (2019) aka WHO (2019a).
               The International Classification of Diseases, version 11 (ICD-11) of the World
               Health Organization.



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           WHO (2014).
                The WHO Handbook for Guideline Development (2nd edition) of the World
                Health Organization. Chapter 6 pertains to the management of conflicts of
                interest. Chapter 14 pertains to the issuing of strong recommendations on the
                basis of low quality evidence.

           IoM (2011).
                 Institute of Medicine. (2011). Clinical Practice Guidelines We Can Trust.
                 Washington, DC: The National Academies Press.

     98.      SOC-8 indicates its guideline development methods in its appendix, on page S247:9

           The process for development of the SOC-8 incorporated recommendations on
           clinical practice guideline development from the National Academies of Medicine
           and The World Health Organization that addressed transparency, the conflict-of-
           interest policy, committee composition and group process. (Institute of Medicine
           Committee on Standards for Developing Trustworthy Clinical Practice, 2011;
           World Health Organization, 2019a).

An attempt to verify the claim of reliance on those documents leads to dead ends, however.

     99.      The entry in WPATH’s reference list for WHO (2019a) is to:

           World Health Organization. (2019a). International Statistical Classification of
           Diseases and Related Health Problems (11th ed.). World Health Organization.
           https://icd.who.int/browse11/lm/en#/http://id.who.int/icd/entity/90875286”
           (SOC-8 at p. S244.)

That document, however (the ICD-11, WHO 2019a), is not a methods manual at all. It does not

provide procedures for developing clinical guidelines, for conflict of interest or any other issue.

     100.     The other document that WPATH cited as its source, “IoM (2011),” does not appear

on WPATH’s reference list at all, but it appears to refer to the Institute of Medicine’s Clinical

Practice Guidelines We Can Trust (2011). The actual WHO manual for clinical guidelines

development is WHO (2014), the WHO Handbook for Guideline Development, referenced as

above. This handbook is missing altogether from WPATH’s reference list.


9
  SOC-8 also indicates its methods on page S8 providing the text below, with no citation, and noting that “SOC-8
incorporated the recommendations” (emphasis added) rather than “SOC-8 incorporated recommendations.”
      “The process for development of the SOC-8 incorporated the recommendations on clinical practice guideline
      development set forth by the National Academies of Medicine and the World Health Organization, which
      addressed transparency, conflict-of-interest policy, committee composition, and group process.”


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     101.   Both IoM (2011) and WHO (2014)10 provide conflict of interest guidelines, and they

detail procedures that WPATH clearly violated: WPATH’s SOC-8 were produced entirely by an

association and a group of individuals whom both sets of international standards instruct should

be excluded or whose role and influence should be strongly limited.

     A. WPATH itself suffers a strong “associational conflict of interest” in producing clinical
        practice guidelines for treatment of gender dysphoria.

     102.   IoM (2011) and WHO (2014) describe and seek to prevent conflicts of interest

pertaining both to individuals developing clinical practice guidelines (CPGs) and to the

professional associations of those individuals. On the associational level, the international

standard (as indicated by the very sources upon which WPATH claimed to have relied) is for

such assessments to be conducted by experts at arm’s length from those services—sufficiently

familiar with topic but not professionally engaged in performing the clinical practices under

review. IoM (2011) notes:

        Many guidelines developed by medical societies and other private organizations
        are self-funded, through membership dues, donations, or other means. CPGs
        funded by medical societies dependent on membership dues may be cause for
        concern regarding conflict of interest if their recommendations would likely affect
        their members’ income. (IoM 2011 at 47.)

     103.   This conflict of interest is strongly present in the case of WPATH and its

development of SOC-8. WPATH’s financial well-being depends upon the number of its dues-

paying members which, in turn, depends upon WPATH acting in its members’ financial

interests: The more people who undergo transition, the greater the market available to

WPATH’s dues-paying members.

     104.   Additionally, it is strongly in the financial interest of WPATH members, and thus of



10
  Even though WPATH does not cite WHO (2014), for the purposes of this supplemental report I reference this
document as it is the relevant, and current, World Health Organization guidance on conflict of interest.


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WPATH, that medicalized transition be deemed eligible for medical insurance as broadly as

possible. For example, because medical insurance does not cover “experimental” treatments,

WPATH’s claims that medicalized transition of minors is not experimental represents a very

direct conflict between expanding its members’ potential market and protecting minors from

undergoing experimental treatments unknowingly.

     105.    This association-level conflict of interest pertains not only to WPATH, but also to the

other associations producing guidelines in the U.S., including the Endocrine Society and the

American Academy of Pediatrics (AAP) — organizations whose policy I assessed in my initial

report (Cantor Report, Sections VI & XVI.). By contrast, examples of health care authorities

that are not afflicted with a conflict between the interests of service providers and the interests of

patients are the national health care systems, such as those of England, Sweden, and Finland.

(Examined in Cantor Report, Sections II & V.) Because their health care systems are publicly

funded, they are not susceptible to the same association-level conflicts.

     106.    In direct opposition with IoM’s caution to avoid association-level conflict of interest,

WPATH essentially required this conflict, making membership in WPATH a requirement for

appointment of professionals to the guideline development team:

        Except for the Chair (Eli Coleman) who was appointed by the WPATH board to
        maintain a continuity from previous SOC editions, members of the Guideline
        Steering Committee were selected by the WPATH Board from WPATH members
        applying for these positions…Chapter Leads and Members were required to be
        WPATH Full Members in good standing. . . .11 (SOC-8 at S248, emphasis added.)

     B. WPATH did not screen for or disclose the personal financial and intellectual conflicts
        of interest of those who participated in developing SOC-8.

     107.    With respect to individuals who participate in creating a clinical guideline, IoM



11
  Only members of the public, such as parents of gender dysphoric children participating as “stakeholders,” were
not required to be WPATH members.


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(2011) and WHO (2014) emphasize the importance of avoiding both financial conflicts of

interest (direct and indirect), and intellectual conflicts of interest. These documents corroborate

and detail the accepted methods to avoid conflict of interest and ensure objective assessment of

any particular topic. These widely accepted principles and methods match the summary I set out

in my initial report (Cantor Report, Section I.C.). Most importantly, these respected documents

agree that the experts best equipped for assessing clinical practice guidelines are not the people

whose livelihood, prestige, and/or ideological commitments are tied to providing the clinical

services under review. Such people have both financial and professional incentives and thus a

natural bias towards declaring their services to be effective and safe. IoM (2011) cites peer-

reviewed studies that document the real-world effect of this conflict of interest can have:

       Hutchings [& Raine (2006)] identified 22 studies examining the impact of
       individual participant specialty or profession. Overall, the authors observed that
       those who performed a procedure, versus those who did not, were more likely to
       rate more indications as appropriate for that procedure. […] Murphy and
       colleagues (1998) offer other relevant findings in a systematic review in which
       they compared guideline recommendations produced by groups of varying
       composition. The authors concluded that differences in group composition may
       lead to contrasting recommendations; more specifically, members of a clinical
       specialty are more likely to promote interventions in which their specialty plays a
       part. (IoM 2011 at 84.)

   108.    Instead of complying with recognized conflict of interest principles, WPATH

gathered a team of individuals all or most of whom stood to benefit financially from expanding

the number of youth approved to obtain medical transition services and expanding the

availability of insurance to cover such services; neglected to assess or disclose direct financial

benefits to those individuals; publicly (but falsely) declared that none of these individuals had

any conflict of interest; claimed it followed established procedures to limit conflicts of interest

that it did not follow; excluded the sources of its procedures from its references; and redacted

critical information relevant to these conflicts from the documentation it supplied to the present



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proceedings under subpoena (in particular, the names of those who advocated for various

positions during the process).

   109.    The team of individuals whom WPATH gathered did not represent the range of

opinions among topic experts and did not reflect the diversity of relevant stakeholders. On the

contrary, WPATH limited membership on its team to individuals who paid dues to WPATH and

excluded from participation any professional with a point of view which would have kept such a

professional from joining WPATH. As a result, WPATH’s process excluded the input of

detransitioners, as well as of the practitioners, researchers, and prominent voices within

European health authorities who are expressing scepticism and concern about performing

medical transition procedures on minors.

   110.    Instead, the committee consisted of individuals whose academic and scholarly

standing stood to benefit from WPATH’s product. As I detail below, the WPATH procedure

consisted of exactly the biased and one-sided methods that the IoM and WHO procedures are

designed to prevent.

               1. WPATH disregarded and failed to disclose extensive direct financial
               conflicts of interest.

   111.    As noted, both IoM (2011) and WHO (2014) indicate that receiving income from

providing the clinical practices being evaluated by the guidelines represents a direct financial

conflict of interest. The WPATH policy and disclosure forms, however, did not actually ask

participants to disclose (and therefore WPATH did not disclose to the public) participants’ direct

financial interests and thus conflicts of interest. Instead, WPATH asked only about the rare and

relatively minor instances of indirect financial conflicts of interest.

   112.    WHO (2014) describes financial conflicts of interest as:




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         A financial conflict of interest arises when an individual or organization receives
         income or monetary support that is related to, or could be affected by, the
         outcome of the WHO meeting or activity in which they are involved….Financial
         interests include, for example: personal financial gain such as paid work,
         consulting income or honoraria and travel stipends. . . . (WHO 2014 at 63,
         emphasis added.)

IoM (2011) provides similar language, dividing financial conflicts of interest into direct,

commercial conflicts and non-commercial conflicts:

         Direct financial commercial activities include clinical services from which a
         committee member derives a substantial proportion of his or her income;
         consulting; board membership for which compensation of any type is received. . .
         (IoM 2011 at 79, emphasis added.)

and

         Examples of noncommercial financial activities include research grants and other
         types of support from governments, foundations, or other nonprofit organizations.
         (IoM 2011 at 79.)

Physicians and therapists in private practice or clinics treating people with gender dysphoria very

clearly meet these criteria.

      113.   Despite ignoring the very clear and explicit indications from both IoM (2011) and

WHO (2014) as to what constitutes conflicts of interest, WPATH declared to the public in SOC-

8:

         Conflict of interests were reviewed as part of the selection process for committee
         members and at the end of the process before publication. No conflicts of interest
         were deemed significant or consequential. (SOC-8 at 177.)

Contrary to this public representation, most or all WPATH committee members possess conflicts

of interest that WPATH denied.

      114.   Widely accepted conflict of interest guidelines recognize that the clinical experiences

of individuals who receive income from pertinent clinical activities can have information helpful

to guideline developers—indeed the IoM and WHO procedures permit such individuals to

function as consultants or stakeholders rather than bar them altogether from participation.


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WPATH did not use such methods for managing conflicts of interest, however. Instead,

WPATH simply denied such conflicts existed.

   115.     The importance of the contradiction between WPATH’s failure to inquire about and

prevent direct financial conflict of interest on the one hand, and what it assured the public on the

other, cannot be exaggerated: The guidelines it published contained a list of what it claimed to

have been improvements over prior guidelines, explicitly naming management of conflict of

interest as such an improvement, noting:

       The main differences in the methodology of the SOC-8 when compared with
       other versions of the SOC are: […] Management of conflicts of interest. (SOC-8
       at S247, emphasis added.)

               2. WPATH disregarded and failed to disclose extensive intellectual conflicts
               of interest.

   116.     WHO (2014) defines intellectual conflicts of interest as roles or positions that might

interfere with the objective assessment of a body of evidence, providing the following as

examples:

       •    prior publication of a study or systematic review that is part of the evidence base
            under consideration in the guideline;

       •    prior public declaration of a firm opinion or position, as in public testimony during a
            regulatory or judicial process, or in an editorial in a journal; or

       •    professional or personal affiliation with an organization advocating for products or
            services related to the subject of the guideline. (WHO 2014 at 63.)

WHO (2014) also emphasizes that:

       The GDG [guideline development group] should be composed of individuals with
       diverse perspectives, training and experiences to keep the recommendations from
       reflecting a single viewpoint that was conceived before examining and discussing
       the systematic review of the evidence. (WHO 2014 at 71.)

IoM (2011) similarly defines intellectual conflicts of interest:

       A person whose work or professional group fundamentally is jeopardized, or
       enhanced, by a guideline recommendation is said to have intellectual COI.


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        Intellectual COI includes authoring a publication or acting as an investigator on a
        peer-reviewed grant directly related to recommendations under consideration.
        (IoM 2011 at 79.)

Adopting language offered by Dr. Gordon Guyatt et al., this includes “academic activities that

create the potential for an attachment to a specific point of view that could unduly affect an

individual’s judgment about a specific recommendation.” (Guyatt et al. 2010 at 739.)

     117.    The importance of appropriate handling of conflicts of interest is not limited to

influences on actual decision making. The IoM emphasizes also that “Regardless of the nature

of COI or its effects on guideline development, perception of bias undermines guideline users’

confidence in guideline trustworthiness as well as public trust in science” (IoM 2011 at 79.)

     118.    The publicly available list of authors of SOC-8 nonetheless reveals individuals well-

known for their many “public declarations,” prior publications stating “firm opinions or

positions” favoring what they label “gender affirming care,” belittling potential risks and harms,

and for their strongly expressed political views.

     119.    Moreover, WPATH itself as an organization has engaged in stridently worded

political advocacy and endorsement of specific interpretations of research literature,12 including

its urging that the services its members provide should be eligible for health care insurance

coverage, which its members would then receive as income. Thus, WPATH itself and all of its

members are necessarily affected by what WHO (2014) identifies as an intellectual conflict of

interest resulting from “professional or personal affiliation with an organization advocating

for . . . services related to the subject of the guideline.”

     120.    Again, conflict of interest guidelines do recognize that topic experts who receive

income from pertinent clinical activities can have valuable information for guidelines developers,


12
 See, for example, the press releases and political advocacy documents posted at https://www.wpath.org/policies,
WPATH/USPATH Public Statements (last accessed February 2, 2024).


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and the recommendations allow for such individuals to function as consultants or stakeholders,

rather than bar them altogether from participation. WPATH did not, however, practice methods

for managing conflicts of interest. Instead, WPATH simply denied that such conflicts existed

and provided no supervision, tracking, or management of undue influence.




Dated: February 2, 2024                                    ________________________
                                                               James M. Cantor, PhD




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                    APPENDIX A: CONFIDENTIAL




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Other Materials
      Documents produced by WPATH under subpoena (BOEAL_WPATH_000001 to
           BOEAL_WPATH_101726), in particular the documents identified by production
           number in this supplemental report.
      Plaintiffs’ and Defendants’ expert reports in this case, in particular those reports
              identified in this supplemental report.
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             February 1, 2024).
      X (formerly Twitter) post of Colin Wright (@SwipeWright)
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             ZhEllVU-QR9tZYiQ (last visited February 2, 2024).
      WPATH/USPATH Public Statements, available at https://www.wpath.org/policies




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                     APPENDIX C: Curriculum Vitae




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                       James M. Cantor, PhD
Toronto Sexuality Centre                                                            416-766-8733 (o)
2 Carlton Ave., suite 1804                                                          416-352-6003 ( f )
Toronto, Ontario, Canada M5B 1J3                                          jamescantorphd@gmail.com


                                        EDUCATION

Postdoctoral Fellowship                                                       Jan., 2000–May, 2004
Centre for Addiction and Mental Health • Toronto, Canada

Doctor of Philosophy                                                          Sep., 1993–Jun., 2000
Psychology • McGill University • Montréal, Canada

Master of Arts                                                                Sep., 1990–Jan., 1992
Psychology • Boston University • Boston, MA

Bachelor of Science                                                           Sep. 1984–Aug., 1988
Interdisciplinary Science • Rensselaer Polytechnic Institute • Troy, NY
Concentrations: Computer science, mathematics, physics


                                   EMPLOYMENT HISTORY

Director                                                                         Feb., 2017–Present
Toronto Sexuality Centre • Toronto, Canada

Senior Scientist (Inaugural Member)                                          Aug., 2012–May, 2018
Campbell Family Mental Health Research Institute
Centre for Addiction and Mental Health • Toronto, Canada

Senior Scientist                                                              Jan., 2012–May, 2018
Complex Mental Illness Program
Centre for Addiction and Mental Health • Toronto, Canada

Head of Research                                                              Nov., 2010–Apr. 2014
Sexual Behaviours Clinic
Centre for Addiction and Mental Health • Toronto, Canada

Research Section Head                                                         Dec., 2009–Sep. 2012
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada

Psychologist                                                                 May, 2004–Dec., 2011
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada


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Clinical Psychology Intern                                    Sep., 1998–Aug., 1999
Centre for Addiction and Mental Health • Toronto, Canada

Teaching Assistant                                            Sep., 1993–May, 1998
Department of Psychology
McGill University • Montréal, Canada

Pre-Doctoral Practicum                                        Sep., 1993–Jun., 1997
Sex and Couples Therapy Unit
Royal Victoria Hospital • Montréal, Canada

Pre-Doctoral Practicum                                        May, 1994–Dec., 1994
Department of Psychiatry
Queen Elizabeth Hospital • Montréal, Canada


                             ACADEMIC APPOINTMENTS

Associate Professor                                            Jul., 2010–May, 2019
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Aug. 2013–Jun., 2018
Graduate Program in Psychology
York University • Toronto, Canada

Associate Faculty (Hon)                                       Oct., 2017–Dec., 2017
School of Behavioural, Cognitive & Social Science
University of New England • Armidale, Australia

Assistant Professor                                            Jun., 2005–Jun., 2010
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Sep., 2004–Jun., 2010
Clinical Psychology Residency Program
St. Joseph’s Healthcare • Hamilton, Canada




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        Treatment, 19, 395–407. doi: 10.1007/s11194-007-9060-5
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58. Blanchard, R., Kuban, M. E., Klassen, P., Dickey, R., Christensen, B. K., Cantor, J. M., &
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                                      PUBLICATIONS

LETTERS AND COMMENTARIES
1.  Cantor, J. M. (2015). Research methods, statistical analysis, and the phallometric test for
        hebephilia: Response to Fedoroff [Editorial Commentary]. Journal of Sexual Medicine,
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2. Cantor, J. M. (2015). In his own words: Response to Moser [Editorial Commentary].
        Journal of Sexual Medicine, 12, 2502–2503. doi: 10.1111/jsm.13075
3. Cantor, J. M. (2015). Purported changes in pedophilia as statistical artefacts: Comment on
        Müller et al. (2014). Archives of Sexual Behavior, 44, 253–254. doi: 10.1007/s10508-
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4. McPhail, I. V., & Cantor, J. M. (2015). Pedophilia, height, and the magnitude of the
        association: A research note. Deviant Behavior, 36, 288–292. doi:
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5. Soh, D. W., & Cantor, J. M. (2015). A peek inside a furry convention [Letter to the Editor].
        Archives of Sexual Behavior, 44, 1–2. doi: 10.1007/s10508-014-0423-y
6. Cantor, J. M. (2012). Reply to Italiano’s (2012) comment on Cantor (2011) [Letter to the
        Editor]. Archives of Sexual Behavior, 41, 1081–1082. doi: 10.1007/s10508-012-0011-
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7. Cantor, J. M. (2012). The errors of Karen Franklin’s Pretextuality [Commentary].
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8. Cantor, J. M., & Blanchard, R. (2012). White matter volumes in pedophiles, hebephiles, and
        teleiophiles [Letter to the Editor]. Archives of Sexual Behavior, 41, 749–752. doi:
        10.1007/s10508-012-9954-2
9. Cantor, J. M. (2011). New MRI studies support the Blanchard typology of male-to-female
        transsexualism [Letter to the Editor]. Archives of Sexual Behavior, 40, 863–864. doi:
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10. Zucker, K. J., Bradley, S. J., Own-Anderson, A., Kibblewhite, S. J., & Cantor, J. M. (2008).
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        Marital Therapy, 34, 287–290.
11. Cantor, J. M. (2003, Summer). Review of the book The Man Who Would Be Queen by J.
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        19(2), 6.
12. Cantor, J. M. (2003, Spring). What are the hot topics in LGBT research in psychology?
        Newsletter of Division 44 of the American Psychological Association, 19(1), 21–24.
13. Cantor, J. M. (2002, Fall). Male homosexuality, science, and pedophilia. Newsletter of
        Division 44 of the American Psychological Association, 18(3), 5–8.
14. Cantor, J. M. (2000). Review of the book Sexual Addiction: An Integrated Approach.
        Journal of Sex and Marital Therapy, 26, 107–109.


EDITORIALS
1.   Cantor, J. M. (2012). Editorial. Sexual Abuse: A Journal of Research and Treatment, 24.



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2.  Cantor, J. M. (2011). Editorial note. Sexual Abuse: A Journal of Research and Treatment,
        23, 414.
3. Barbaree, H. E., & Cantor, J. M. (2010). Performance indicates for Sexual Abuse: A Journal
        of Research and Treatment (SAJRT) [Editorial]. Sexual Abuse: A Journal of Research
        and Treatment, 22, 371–373.
4. Barbaree, H. E., & Cantor, J. M. (2009). Sexual Abuse: A Journal of Research and
        Treatment performance indicators for 2007 [Editorial]. Sexual Abuse: A Journal of
        Research and Treatment, 21, 3–5.
5. Zucker, K. J., & Cantor, J. M. (2009). Cruising: Impact factor data [Editorial]. Archives of
        Sexual Research, 38, 878–882.
6. Barbaree, H. E., & Cantor, J. M. (2008). Performance indicators for Sexual Abuse: A
        Journal of Research and Treatment [Editorial]. Sexual Abuse: A Journal of Research
        and Treatment, 20, 3–4.
7. Zucker, K. J., & Cantor, J. M. (2008). The Archives in the era of online first ahead of
        print[Editorial]. Archives of Sexual Behavior, 37, 512–516.
8. Zucker, K. J., & Cantor, J. M. (2006). The impact factor: The Archives breaks from the pack
        [Editorial]. Archives of Sexual Behavior, 35, 7–9.
9. Zucker, K. J., & Cantor, J. M. (2005). The impact factor: “Goin’ up” [Editorial]. Archives of
        Sexual Behavior, 34, 7–9.
10. Zucker, K., & Cantor, J. M. (2003). The numbers game: The impact factor and all that jazz
        [Editorial]. Archives of Sexual Behavior, 32, 3–5.




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                                    FUNDING HISTORY

Principal Investigators:   Doug VanderLaan, Meng-Chuan Lai
Co-Investigators:          James M. Cantor, Megha Mallar Chakravarty, Nancy Lobaugh, M.
                           Palmert, M. Skorska
Title:                     Brain function and connectomics following sex hormone treatment in
                           adolescents experience gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Behavioural Sciences-B-2
Funds:                     $650,250 / 5 years (July, 2018)

Principal Investigator:    Michael C. Seto
Co-Investigators:          Martin Lalumière , James M. Cantor
Title:                     Are connectivity differences unique to pedophilia?
Agency:                    University Medical Research Fund, Royal Ottawa Hospital
Funds:                     $50,000 / 1 year (January, 2018)

Principal Investigator:    Lori Brotto
Co-Investigators:          Anthony Bogaert, James M. Cantor, Gerulf Rieger
Title:                     Investigations into the neural underpinnings and biological correlates
                           of asexuality
Agency:                    Natural Sciences and Engineering Research Council (NSERC),
                           Discovery Grants Program
Funds:                     $195,000 / 5 years (April, 2017)

Principal Investigator:    Doug VanderLaan
Co-Investigators:          Jerald Bain, James M. Cantor, Megha Mallar Chakravarty, Sofia
                           Chavez, Nancy Lobaugh, and Kenneth J. Zucker
Title:                     Effects of sex hormone treatment on brain development: A magnetic
                           resonance imaging study of adolescents with gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Transitional Open Grant Program
Funds:                     $952,955 / 5 years (September, 2015)

Principal Investigator:    James M. Cantor
Co-Investigators:          Howard E. Barbaree, Ray Blanchard, Robert Dickey, Todd A. Girard,
                           Phillip E. Klassen, and David J. Mikulis
Title:                     Neuroanatomic features specific to pedophilia
Agency:                    Canadian Institutes of Health Research (CIHR)
Funds:                     $1,071,920 / 5 years (October, 2008)

Principal Investigator:    James M. Cantor
Title:                     A preliminary study of fMRI as a diagnostic test of pedophilia
Agency:                    Dean of Medicine New Faculty Grant Competition, Univ. of Toronto
Funds:                     $10,000 (July, 2008)




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                        KEYNOTE AND INVITED ADDRESSES

1.  Cantor, J. M. (2022, December 5). The science of gender dysphoria and transgenderism.
       Lund University, Latvia. https://files.fm/f/4bzznufvb
2. Cantor, J. M. (2021, September 28). No topic too tough for this expert panel: A year in
       review. Plenary Session for the 40th Annual Research and Treatment Conference,
       Association for the Treatment of Sexual Abusers.
3. Cantor, J. M. (2019, May 1). Introduction and Q&A for ‘I, Pedophile.’ StopSO 2nd Annual
       Conference, London, UK.
4. Cantor, J. M. (2018, August 29). Neurobiology of pedophilia or paraphilia? Towards a
       ‘Grand Unified Theory’ of sexual interests. Keynote address to the International
       Association for the Treatment of Sexual Offenders, Vilnius, Lithuania.
5. Cantor, J. M. (2018, August 29). Pedophilia and the brain: Three questions asked and
       answered. Preconference training presented to the International Association for the
       Treatment of Sexual Offenders, Vilnius, Lithuania.
6. Cantor, J. M. (2018, April 13). The responses to I, Pedophile from We, the people. Keynote
       address to the Minnesota Association for the Treatment of Sexual Abusers, Minneapolis,
       Minnesota.
7. Cantor, J. M. (2018, April 11). Studying atypical sexualities: From vanilla to I, Pedophile.
       Full day workshop at the Minnesota Association for the Treatment of Sexual Abusers,
       Minneapolis, Minnesota.
8. Cantor, J. M. (2018, January 20). How much sex is enough for a happy life? Invited lecture
       to the University of Toronto Division of Urology Men’s Health Summit, Toronto,
       Canada.
9. Cantor, J. M. (2017, November 2). Pedophilia as a phenomenon of the brain: Update of
       evidence and the public response. Invited presentation to the 7th annual SBC education
       event, Centre for Addiction and Mental Health, Toronto, Canada.
10. Cantor, J. M. (2017, June 9). Pedophilia being in the brain: The evidence and the public’s
       reaction. Invited presentation to SEXposium at the ROM: The science of love and sex,
       Toronto, Canada.
11. Cantor, J. M., & Campea, M. (2017, April 20). “I, Pedophile” showing and discussion.
       Invited presentation to the 42nd annual meeting of the Society for Sex Therapy and
       Research, Montréal, Canada.
12. Cantor, J. M. (2017, March 1). Functional and structural neuroimaging of pedophilia:
       Consistencies across methods and modalities. Invited lecture to the Brain Imaging
       Centre, Royal Ottawa Hospital, Ottawa, Canada.
13. Cantor, J. M. (2017, January 26). Pedophilia being in the brain: The evidence and the public
       reaction. Inaugural keynote address to the University of Toronto Sexuality Interest
       Network, Toronto, Ontario, Canada.
14. Cantor, J. M. (2016, October 14). Discussion of CBC’s “I, Pedophile.” Office of the
       Children’s Lawyer Educational Session, Toronto, Ontario, Canada.
15. Cantor, J. M. (2016, September 15). Evaluating the risk to reoffend: What we know and
       what we don’t. Invited lecture to the Association of Ontario Judges, Ontario Court of
       Justice Annual Family Law Program, Blue Mountains, Ontario, Canada. [Private link
       only: https://vimeo.com/239131108/3387c80652]
16. Cantor, J. M. (2016, April 8). Pedophilia and the brain: Conclusions from the second


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       generation of research. Invited lecture at the 10th annual Risk and Recovery Forensic
       Conference, Hamilton, Ontario.
17. Cantor, J. M. (2016, April 7). Hypersexuality without the hyperbole. Keynote address to the
       10th annual Risk and Recovery Forensic Conference, Hamilton, Ontario.
18. Cantor, J. M. (2015, November). No one asks to be sexually attracted to children: Living in
       Daniel’s World. Grand Rounds, Centre for Addiction and Mental Health. Toronto,
       Canada.
19. Cantor, J. M. (2015, August). Hypersexuality: Getting past whether “it” is or “it” isn’t.
       Invited address at the 41st annual meeting of the International Academy of Sex Research.
       Toronto, Canada.
20. Cantor, J. M. (2015, July). A unified theory of typical and atypical sexual interest in men:
       Paraphilia, hypersexuality, asexuality, and vanilla as outcomes of a single, dual
       opponent process. Invited presentation to the 2015 Puzzles of Sexual Orientation
       conference, Lethbridge, AL, Canada.
21. Cantor, J. M. (2015, June). Hypersexuality. Keynote Address to the Ontario Problem
       Gambling Provincial Forum. Toronto, Canada.
22. Cantor, J. M. (2015, May). Assessment of pedophilia: Past, present, future. Keynote
       Address to the International Symposium on Neural Mechanisms Underlying Pedophilia
       and Child Sexual Abuse (NeMUP). Berlin, Germany.
23. Cantor, J. M. (2015, March). Prevention of sexual abuse by tackling the biggest stigma of
       them all: Making sex therapy available to pedophiles. Keynote address to the 40th annual
       meeting of the Society for Sex Therapy and Research, Boston, MA.
24. Cantor, J. M. (2015, March. Pedophilia: Predisposition or perversion? Panel discussion at
       Columbia University School of Journalism. New York, NY.
25. Cantor, J. M. (2015, February). Hypersexuality. Research Day Grand Rounds presentation
       to Ontario Shores Centre for Mental Health Sciences, Whitby, Ontario, Canada.
26. Cantor, J. M. (2015, January). Brain research and pedophilia: What it means for
       assessment, research, and policy. Keynote address to the inaugural meeting of the
       Netherlands Association for the Treatment of Sexual Abusers, Utrecht, Netherlands.
27. Cantor, J. M. (2014, December). Understanding pedophilia and the brain: Implications for
       safety and society. Keynote address for The Jewish Community Confronts Violence and
       Abuse: Crisis Centre for Religious Women, Jerusalem, Israel.
28. Cantor, J. M. (2014, October). Understanding pedophilia & the brain. Invited full-day
       workshop for the Sex Offender Assessment Board of Pennsylvania, Harrisburg, PA.
29. Cantor, J. M. (2014, September). Understanding neuroimaging of pedophilia: Current
       status and implications. Invited lecture presented to the Mental Health and Addition
       Rounds, St. Joseph’s Healthcare, Hamilton, Ontario, Canada.
30. Cantor, J. M. (2014, June). An evening with Dr. James Cantor. Invited lecture presented to
       the Ontario Medical Association, District 11 Doctors’ Lounge Program, Toronto,
       Ontario, Canada.
31. Cantor, J. M. (2014, April). Pedophilia and the brain. Invited lecture presented to the
       University of Toronto Medical Students lunchtime lecture. Toronto, Ontario, Canada.
32. Cantor, J. M. (2014, February). Pedophilia and the brain: Recap and update. Workshop
       presented at the 2014 annual meeting of the Washington State Association for the
       Treatment of Sexual Abusers, Cle Elum, WA.



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33. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
       (2014, February). Functional connectivity in pedophilia. Neuropsychiatry Rounds,
       Toronto Western Hospital, Toronto, Ontario, Canada.
34. Cantor, J. M. (2013, November). Understanding pedophilia and the brain: The basics, the
       current status, and their implications. Invited lecture to the Forensic Psychology
       Research Centre, Carleton University, Ottawa, Canada.
35. Cantor, J. M. (2013, November). Mistaking puberty, mistaking hebephilia. Keynote address
       presented to the 32nd annual meeting of the Association for the Treatment of Sexual
       Abusers, Chicago, IL.
36. Cantor, J. M. (2013, October). Understanding pedophilia and the brain: A recap and
       update. Invited workshop presented at the 32nd annual meeting of the Association for
       the Treatment of Sexual Abusers, Chicago, IL.
37. Cantor, J. M. (2013, October). Compulsive-hyper-sex-addiction: I don’t care what we all it,
       what can we do? Invited address presented to the Board of Examiners of Sex Therapists
       and Counselors of Ontario, Toronto, Ontario, Canada.
38. Cantor, J. M. (2013, September). Neuroimaging of pedophilia: Current status and
       implications. McGill University Health Centre, Department of Psychiatry Grand Rounds
       presentation, Montréal, Québec, Canada.
39. Cantor, J. M. (2013, April). Understanding pedophilia and the brain. Invited workshop
       presented at the 2013 meeting of the Minnesota Association for the Treatment of Sexual
       Abusers, Minneapolis, MN.
40. Cantor, J. M. (2013, April). The neurobiology of pedophilia and its implications for
       assessment, treatment, and public policy. Invited lecture at the 38th annual meeting of
       the Society for Sex Therapy and Research, Baltimore, MD.
41. Cantor, J. M. (2013, April). Sex offenders: Relating research to policy. Invited roundtable
       presentation at the annual meeting of the Academy of Criminal Justice Sciences, Dallas,
       TX.
42. Cantor, J. M. (2013, March). Pedophilia and brain research: From the basics to the state-
       of-the-art. Invited workshop presented to the annual meeting of the Forensic Mental
       Health Association of California, Monterey, CA.
43. Cantor, J. M. (2013, January). Pedophilia and child molestation. Invited lecture presented
       to the Canadian Border Services Agency, Toronto, Ontario, Canada.
44. Cantor, J. M. (2012, November). Understanding pedophilia and sexual offenders against
       children: Neuroimaging and its implications for public safety. Invited guest lecture to
       University of New Mexico School of Medicine Health Sciences Center, Albuquerque,
       NM.
45. Cantor, J. M. (2012, November). Pedophilia and brain research. Invited guest lecture to the
       annual meeting of the Circles of Support and Accountability, Toronto, Ontario, Canada.
46. Cantor, J. M. (2012, January). Current findings on pedophilia brain research. Invited
       workshop at the San Diego International Conference on Child and Family Maltreatment,
       San Diego, CA.
47. Cantor, J. M. (2012, January). Pedophilia and the risk to re-offend. Invited lecture to the
       Ontario Court of Justice Judicial Development Institute, Toronto, Ontario, Canada.
48. Cantor, J. M. (2011, November). Pedophilia and the brain: What it means for assessment,
       treatment, and policy. Plenary Lecture presented at the Association for the Treatment of
       Sexual Abusers, Toronto, Ontario, Canada.


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49. Cantor, J. M. (2011, July). Towards understanding contradictory findings in the
       neuroimaging of pedophilic men. Keynote address to 7th annual conference on Research
       in Forensic Psychiatry, Regensberg, Germany.
50. Cantor, J. M. (2011, March). Understanding sexual offending and the brain: Brain basics to
       the state of the art. Workshop presented at the winter conference of the Oregon
       Association for the Treatment of Sexual Abusers, Oregon City, OR.
51. Cantor, J. M. (2010, October). Manuscript publishing for students. Workshop presented at
       the 29th annual meeting of the Association for the Treatment of Sexual Abusers,
       Phoenix, AZ.
52. Cantor, J. M. (2010, August). Is sexual orientation a paraphilia? Invited lecture at the
       International Behavioral Development Symposium, Lethbridge, Alberta, Canada.
53. Cantor, J. M. (2010, March). Understanding sexual offending and the brain: From the
       basics to the state of the art. Workshop presented at the annual meeting of the
       Washington State Association for the Treatment of Sexual Abusers, Blaine, WA.
54. Cantor, J. M. (2009, January). Brain structure and function of pedophilia men.
       Neuropsychiatry Rounds, Toronto Western Hospital, Toronto, Ontario.
55. Cantor, J. M. (2008, April). Is pedophilia caused by brain dysfunction? Invited address to
       the University-wide Science Day Lecture Series, SUNY Oswego, Oswego, NY.
56. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
       Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
       & Blanchard, R. (2006, September). MRIs of pedophilic men. Invited presentation at the
       25th annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
57. Cantor, J. M., Blanchard, R., & Christensen, B. K. (2003, March). Findings in and
       implications of neuropsychology and epidemiology of pedophilia. Invited lecture at the
       28th annual meeting of the Society for Sex Therapy and Research, Miami.
58. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, July).
       Neuropsychological functioning in pedophiles. Invited lecture presented at the 27th
       annual meeting of the International Academy of Sex Research, Bromont, Canada.
59. Cantor, J. M., Blanchard, R., Christensen, B., Klassen, P., & Dickey, R. (2001, February).
       First glance at IQ, memory functioning and handedness in sex offenders. Lecture
       presented at the Forensic Lecture Series, Centre for Addiction and Mental Health,
       Toronto, Ontario, Canada.
60. Cantor, J. M. (1999, November). Reversal of SSRI-induced male sexual dysfunction:
       Suggestions from an animal model. Grand Rounds presentation at the Allan Memorial
       Institute, Royal Victoria Hospital, Montréal, Canada.




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                     PAPER PRESENTATIONS AND SYMPOSIA

1.  Cantor, J. M. (2020, April). “I’d rather have a trans kid than a dead kid”: Critical assessment
        of reported rates of suicidality in trans kids. Paper presented at the annual meeting of
        the Society for the Sex Therapy and Research. Online in lieu of in person meeting.
2. Stephens, S., Lalumière, M., Seto, M. C., & Cantor, J. M. (2017, October). The relationship
        between sexual responsiveness and sexual exclusivity in phallometric profiles. Paper
        presented at the annual meeting of the Canadian Sex Research Forum, Fredericton,
        New Brunswick, Canada.
3. Stephens, S., Cantor, J. M., & Seto, M. C. (2017, March). Can the SSPI-2 detect hebephilic
        sexual interest? Paper presented at the annual meeting of the American-Psychology
        Law Society Annual Meeting, Seattle, WA.
4. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October). Victim choice
        polymorphism and recidivism. Symposium Presentation. Paper presented at the 34th
        annual meeting of the Association for the Treatment of Sexual Abusers, Montréal,
        Canada.
5. McPhail, I. V., Hermann, C. A., Fernane, S. Fernandez, Y., Cantor, J. M., & Nunes, K. L.
        (2014, October). Sexual deviance in sexual offenders against children: A meta-analytic
        review of phallometric research. Paper presented at the 33rd annual meeting of the
        Association for the Treatment of Sexual Abusers, San Diego, CA.
6. Stephens, S., Seto, M. C., Cantor, J. M., & Goodwill, A. M. (2014, October). Is hebephilic
        sexual interest a criminogenic need?: A large scale recidivism study. Paper presented
        at the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
7. Stephens, S., Seto, M. C., Cantor, J. M., & Lalumière, M. (2014, October). Development
        and validation of the Revised Screening Scale for Pedophilic Interests (SSPI–2). Paper
        presented at the 33rd annual meeting of the Association for the Treatment of Sexual
        Abusers, San Diego, CA.
8. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
        (2014, September). Pedophilia and the brain: White matter differences detected with
        DTI. Paper presented at the 13th annual meeting of the International Association for the
        Treatment of Sexual Abusers, Porto, Portugal.
9. Stephens, S., Seto, M., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2014, March). The
        role of hebephilic sexual interests in sexual victim choice. Paper presented at the annual
        meeting of the American Psychology and Law Society, New Orleans, LA.
10. McPhail, I. V., Fernane, S. A., Hermann, C. A., Fernandez, Y. M., Nunes, K. L., & Cantor,
        J. M. (2013, November). Sexual deviance and sexual recidivism in sexual offenders
        against children: A meta-analysis. Paper presented at the 32nd annual meeting of the
        Association for the Treatment of Sexual Abusers, Chicago, IL.
11. Cantor, J. M. (2013, September). Pedophilia and the brain: Current MRI research and its
        implications. Paper presented at the 21st annual World Congress for Sexual Health,
        Porto Alegre, Brazil. [Featured among Best Abstracts, top 10 of 500.]
12. Cantor, J. M. (Chair). (2012, March). Innovations in sex research. Symposium conducted at
        the 37th annual meeting of the Society for Sex Therapy and Research, Chicago.
13. Cantor, J. M., & Blanchard, R. (2011, August). fMRI versus phallometry in the diagnosis of
        pedophilia and hebephilia. In J. M. Cantor (Chair), Neuroimaging of men’s object


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26. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, June).
        IQ, memory functioning, and handedness in male sex offenders. Paper presented at the
        Harvey Stancer Research Day, Toronto, Ontario, Canada.
27. Cantor, J. M. (1998, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 106th annual meeting of the American Psychological
        Association.
28. Cantor, J. M. (1997, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 105th annual meeting of the American Psychological Association.
29. Cantor, J. M. (1997, August). Convention orientation for lesbian, gay, and bisexual
        students. Paper presented at the 105th annual meeting of the American Psychological
        Association.
30. Cantor, J. M. (1996, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 104th annual meeting of the American Psychological Association.
31. Cantor, J. M. (1996, August). Symposium: Question of inclusion: Lesbian and gay
        psychologists and accreditation. Paper presented at the 104th annual meeting of the
        American Psychological Association, Toronto.
32. Cantor, J. M. (1996, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 104th annual meeting of the American Psychological
        Association.
33. Cantor, J. M. (1995, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 103rd annual meeting of the American Psychological Association.
34. Cantor, J. M. (1995, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 103rd annual meeting of the American Psychological
        Association.
35. Cantor, J. M. (1994, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 102nd annual meeting of the American Psychological Association.
36. Cantor, J. M. (1994, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 102nd annual meeting of the American Psychological
        Association.
37. Cantor, J. M., & Pilkington, N. W. (1992, August). Homophobia in psychology programs: A
        survey of graduate students. Paper presented at the Centennial Convention of the
        American Psychological Association, Washington, DC. (ERIC Document Reproduction
        Service No. ED 351 618)
38. Cantor, J. M. (1991, August). Being gay and being a graduate student: Double the
        memberships, four times the problems. Paper presented at the 99th annual meeting of
        the American Psychological Association, San Francisco.




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                               POSTER PRESENTATIONS

1.  Klein, L., Stephens, S., Goodwill, A. M., Cantor, J. M., & Seto, M. C. (2015, October). The
        psychological propensities of risk in undetected sexual offenders. Poster presented at
        the 34th annual meeting of the Association for the Treatment of Sexual Abusers,
        Montréal, Canada.
2. Pullman, L. E., Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October).
        Why are incest offenders less likely to recidivate? Poster presented at the 34th annual
        meeting of the Association for the Treatment of Sexual Abusers, Montréal, Canada.
3. Seto, M. C., Stephens, S. M., Cantor, J. M., Lalumiere, M. L., Sandler, J. C., & Freeman, N.
        A. (2015, August). The development and validation of the Revised Screening Scale for
        Pedophilic Interests (SSPI-2). Poster presentation at the 41st annual meeting of the
        International Academy of Sex Research. Toronto, Canada.
4. Soh, D. W., & Cantor, J. M. (2015, August). A peek inside a furry convention. Poster
        presentation at the 41st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
5. VanderLaan, D. P., Lobaugh, N. J., Chakravarty, M. M., Patel, R., Chavez, S. Stojanovski,
        S. O., Takagi, A., Hughes, S. K., Wasserman, L., Bain, J., Cantor, J. M., & Zucker, K.
        J. (2015, August). The neurohormonal hypothesis of gender dysphoria: Preliminary
        evidence of cortical surface area differences in adolescent natal females. Poster
        presentation at the 31st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
6. Cantor, J. M., Lafaille, S. J., Moayedi, M., Mikulis, D. M., & Girard, T. A. (2015, June).
        Diffusion tensor imaging (DTI) of the brain in pedohebephilic men: Preliminary
        analyses. Harvey Stancer Research Day, Toronto, Ontario Canada.
7. Newman, J. E., Stephens, S., Seto, M. C., & Cantor, J. M. (2014, October). The validity of
        the Static-99 in sexual offenders with low intellectual abilities. Poster presentation at
        the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
8. Lykins, A. D., Walton, M. T., & Cantor, J. M. (2014, June). An online assessment of
        personality, psychological, and sexuality trait variables associated with self-reported
        hypersexual behavior. Poster presentation at the 30th annual meeting of the
        International Academy of Sex Research, Dubrovnik, Croatia.
9. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, November).
        The utility of phallometry in the assessment of hebephilia. Poster presented at the 32nd
        annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
10. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, October).
        The role of hebephilic sexual interests in sexual victim choice. Poster presented at the
        32nd annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
11. Fazio, R. L., & Cantor, J. M. (2013, October). Analysis of the Fazio Laterality Inventory
        (FLI) in a population with established atypical handedness. Poster presented at the 33rd
        annual meeting of the National Academy of Neuropsychology, San Diego.
12. Lafaille, S., Hannah, J., Soh, D., Kucyi, A., Girard, T. A., Mikulis, D. M., & Cantor, J. M.
        (2013, August). Investigating resting state networks in pedohebephiles. Poster
        presented at the 29th annual meeting of the International Academy of Sex Research,
        Chicago.


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26. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove. S. M., & Ellis, L. (2005, July).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
27. Cantor, J. M., & Blanchard, R. (2003, July). The reported VIQ–PIQ differences in male sex
        offenders are artifactual? Abstract and poster presented at the 29th annual meeting of
        the International Academy of Sex Research, Bloomington, Indiana.
28. Christensen, B. K., Cantor, J. M., Millikin, C., & Blanchard, R. (2002, February). Factor
        analysis of two brief memory tests: Preliminary evidence for modality-specific
        measurement. Poster presented at the 30th annual meeting of the International
        Neuropsychological Society, Toronto, Ontario, Canada.
29. Cantor, J. M., Blanchard, R., Paterson, A., Bogaert, A. (2000, June). How many gay men
        owe their sexual orientation to fraternal birth order? Abstract and poster presented at
        the International Behavioral Development Symposium, Minot, North Dakota.
30. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, November). Fluoxetine inhibition of male rat
        sexual behavior: Reversal by oxytocin. Poster presented at the 26th annual meeting of
        the Society for Neurosciences, Washington, DC.
31. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, June). An animal model of fluoxetine-induced
        sexual dysfunction: Dose dependence and time course. Poster presented at the 28th
        annual Conference on Reproductive Behavior, Montréal, Canada.
32. Cantor, J. M., O’Connor, M. G., Kaplan, B., & Cermak, L. S. (1993, June). Transient events
        test of retrograde memory: Performance of amnestic and unimpaired populations.
        Poster presented at the 2nd annual science symposium of the Massachusetts
        Neuropsychological Society, Cambridge, MA.




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                 EDITORIAL AND PEER-REVIEWING ACTIVITIES

Editor-in-Chief
Sexual Abuse: A Journal of Research and Treatment                   Jan., 2010–Dec., 2014


Editorial Board Memberships
Journal of Sexual Aggression                                        Jan., 2010–Dec., 2021
Journal of Sex Research, The                                        Jan., 2008–Aug., 2020
Sexual Abuse: A Journal of Research and Treatment                   Jan., 2006–Dec., 2019
Archives of Sexual Behavior                                         Jan., 2004–Present
The Clinical Psychologist                                           Jan., 2004–Dec., 2005


Ad hoc Journal Reviewer Activity
American Journal of Psychiatry                 Journal of Consulting and Clinical Psychology
Annual Review of Sex Research                  Journal of Forensic Psychology Practice
Archives of General Psychiatry                 Journal for the Scientific Study of Religion
Assessment                                     Journal of Sexual Aggression
Biological Psychiatry                          Journal of Sexual Medicine
BMC Psychiatry                                 Journal of Psychiatric Research
Brain Structure and Function                   Nature Neuroscience
British Journal of Psychiatry                  Neurobiology Reviews
British Medical Journal                        Neuroscience & Biobehavioral Reviews
Canadian Journal of Behavioural Science        Neuroscience Letters
Canadian Journal of Psychiatry                 Proceedings of the Royal Society B
Cerebral Cortex                                   (Biological Sciences)
Clinical Case Studies                          Psychological Assessment
Comprehensive Psychiatry                       Psychological Medicine
Developmental Psychology                       Psychological Science
European Psychologist                          Psychology of Men & Masculinity
Frontiers in Human Neuroscience                Sex Roles
Human Brain Mapping                            Sexual and Marital Therapy
International Journal of Epidemiology          Sexual and Relationship Therapy
International Journal of Impotence Research    Sexuality & Culture
International Journal of Sexual Health         Sexuality Research and Social Policy
International Journal of Transgenderism        The Clinical Psychologist
Journal of Abnormal Psychology                 Traumatology
Journal of Clinical Psychology                 World Journal of Biological Psychiatry




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                              GRANT REVIEW PANELS

2017–2021    Member, College of Reviewers, Canadian Institutes of Health Research, Canada.

2017         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2017         Member, International Review Board, Research collaborations on behavioural
             disorders related to violence, neglect, maltreatment and abuse in childhood and
             adolescence. Bundesministerium für Bildung und Forschung [Ministry of
             Education and Research], Germany.

2016         Reviewer. National Science Center [Narodowe Centrum Nauki], Poland.

2016         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2015         Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
             Council, Australia.

2015         Reviewer. Czech Science Foundation, Czech Republic.

2015         Reviewer, “Off the beaten track” grant scheme. Volkswagen Foundation,
             Germany.

2015         External Reviewer, Discovery Grants program¾Biological Systems and
             Functions. National Sciences and Engineering Research Council of Canada,
             Canada

2015         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2014         Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
             Council, Australia.

2014         External Reviewer, Discovery Grants program¾Biological Systems and
             Functions. National Sciences and Engineering Research Council of Canada,
             Canada.

2014         Panel Member, Dean’s Fund—Clinical Science Panel. University of Toronto
             Faculty of Medicine, Canada.

2014         Committee Member, Peer Review Committee—Doctoral Research Awards A.
             Canadian Institutes of Health Research, Canada.

2013         Panel Member, Grant Miller Cancer Research Grant Panel. University of Toronto
             Faculty of Medicine, Canada.




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2013         Panel Member, Dean of Medicine Fund New Faculty Grant Clinical Science
             Panel. University of Toronto Faculty of Medicine, Canada.

2012         Board Member, International Review Board, Research collaborations on
             behavioural disorders related to violence, neglect, maltreatment and abuse in
             childhood and adolescence (2nd round). Bundesministerium für Bildung und
             Forschung [Ministry of Education and Research], Germany.

2012         External Reviewer, University of Ottawa Medical Research Fund. University of
             Ottawa Department of Psychiatry, Canada.

2012         External Reviewer, Behavioural Sciences—B. Canadian Institutes of Health
             Research, Canada.

2011         Board Member, International Review Board, Research collaborations on
             behavioural disorders related to violence, neglect, maltreatment and abuse in
             childhood and adolescence. Bundesministerium für Bildung und Forschung
             [Ministry of Education and Research], Germany.




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                               TEACHING AND TRAINING
PostDoctoral Research Supervision
Law & Mental Health Program, Centre for Addiction and Mental Health, Toronto, Canada
Dr. Katherine S. Sutton                                                  Sept., 2012–Dec., 2013
Dr. Rachel Fazio                                                         Sept., 2012–Aug., 2013
Dr. Amy Lykins                                                           Sept., 2008–Nov., 2009


Doctoral Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Michael Walton • University of New England, Australia                    Sept., 2017–Aug., 2018
Debra Soh • York University                                               May, 2013–Aug, 2017
Skye Stephens • Ryerson University                                       April, 2012–June, 2016


Masters Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Nicole Cormier • Ryerson University                                         June, 2012–present
Debra Soh • Ryerson University                                           May, 2009–April, 2010


Undergraduate Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Kylie Reale • Ryerson University                                                   Spring, 2014
Jarrett Hannah • University of Rochester                                          Summer, 2013
Michael Humeniuk • University of Toronto                                          Summer, 2012


Clinical Supervision (Doctoral Internship)
Clinical Internship Program, Centre for Addiction and Mental Health, Toronto, Canada
Katherine S. Sutton • Queen’s University                                               2011–2012
David Sylva • Northwestern University                                                  2011–2012
Jordan Rullo • University of Utah                                                      2010–2011
Lea Thaler • University of Nevada, Las Vegas                                           2010–2011
Carolin Klein • University of British Columbia                                         2009–2010
Bobby R. Walling • University of Manitoba                                              2009–2010




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                                TEACHING AND TRAINING
Clinical Supervision (Doctoral- and Masters- level practica)
Centre for Addiction and Mental Health, Toronto, Canada
Tyler Tulloch • Ryerson University                                                   2013–2014
Natalie Stratton • Ryerson University                                              Summer, 2013
Fiona Dyshniku • University of Windsor                                             Summer, 2013
Mackenzie Becker • McMaster University                                             Summer, 2013
Skye Stephens • Ryerson University                                                   2012–2013
Vivian Nyantakyi • Capella University                                                2010–2011
Cailey Hartwick • University of Guelph                                                Fall, 2010
Tricia Teeft • Humber College                                                      Summer, 2010
Allison Reeves • Ontario Institute for Studies in Education/Univ. of Toronto         2009–2010
Helen Bailey • Ryerson University                                                  Summer, 2009
Edna Aryee • Ontario Institute for Studies in Education/Univ. of Toronto             2008–2009
Iryna Ivanova • Ontario Institute for Studies in Education/Univ. of Toronto          2008–2009
Jennifer Robinson • Ontario Institute for Studies in Education/Univ. of Toronto      2008–2009
Zoë Laksman • Adler School of Professional Psychology                                2005–2006
Diana Mandelew • Adler School of Professional Psychology                             2005–2006
Susan Wnuk • York University                                                         2004–2005
Hiten Lad • Adler School of Professional Psychology                                  2004–2005
Natasha Williams • Adler School of Professional Psychology                           2003–2004
Lisa Couperthwaite • Ontario Institute for Studies in Education/Univ. of Toronto     2003–2004
Lori Gray, née Robichaud • University of Windsor                                   Summer, 2003
Sandra Belfry • Ontario Institute for Studies in Education/Univ. of Toronto          2002–2003
Althea Monteiro • York University                                                  Summer, 2002
Samantha Dworsky • York University                                                   2001–2002
Kerry Collins • University of Windsor                                              Summer, 2001
Jennifer Fogarty • Waterloo University                                               2000–2001
Emily Cripps • Waterloo University                                                 Summer, 2000
Lee Beckstead • University of Utah                                                          2000




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                     PROFESSIONAL SOCIETY ACTIVITIES

OFFICES HELD
2018–2019    Local Host. Society for Sex Therapy and Research.
  2015       Member, International Scientific Committee, World Association for Sexual
              Health.
  2015       Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2012–2013    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2012–2013    Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2011–2012    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2010–2011    Scientific Program Committee, International Academy of Sex Research
2002–2004    Membership Committee • APA Division 12 (Clinical Psychology)
2002–2003    Chair, Committee on Science Issues, APA Division 44
  2002       Observer, Grant Review Committee • Canadian Institutes of Health Research
              Behavioural Sciences (B)
2001–2009    Reviewer • APA Division 44 Convention Program Committee
2001, 2002   Reviewer • APA Malyon-Smith Scholarship Committee
2000–2005    Task Force on Transgender Issues, APA Division 44
1998–1999    Consultant, APA Board of Directors Working Group on Psychology Marketplace
  1997       Student Representative • APA Board of Professional Affairs’ Institute on
              TeleHealth
1997–1998    Founder and Chair • APA/APAGS Task Force on New Psychologists’ Concerns
1997–1999    Student Representative • APA/CAPP Sub-Committee for a National Strategy for
              Prescription Privileges
1997–1999    Liaison • APA Committee for the Advancement of Professional Practice
1997–1998    Liaison • APA Board of Professional Affairs
1993–1997    Founder and Chair • APA/APAGS Committee on LGB Concerns




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                       PROFESSIONAL SOCIETY ACTIVITIES

MEMBERSHIPS
2017–2021     Member • Canadian Sex Research Forum
2009–Present Member • Society for Sex Therapy and Research
2007–Present Fellow • Association for the Treatment and Prevention of Sexual Abuse
2006–Present Full Member (elected) • International Academy of Sex Research
2006–Present Research and Clinical Member • Association for the Treatment and Prevention of
              Sexual Abuse
2003–2006     Associate Member (elected) • International Academy of Sex Research
2002          Founding Member • CPA Section on Sexual Orientation and Gender Identity
2001–2013     Member • Canadian Psychological Association (CPA)
2000–2015     Member • American Association for the Advancement of Science
2000–2015     Member • American Psychological Association (APA)
                     APA Division 12 (Clinical Psychology)
                     APA Division 44 (Society for the Psychological Study of LGB Issues)
2000–2020     Member • Society for the Scientific Study of Sexuality
1995–2000     Student Member • Society for the Scientific Study of Sexuality
1993–2000     Student Affiliate • American Psychological Association
1990–1999     Member, American Psychological Association of Graduate Students (APAGS)




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                        CLINICAL LICENSURE/REGISTRATION

Certificate of Registration, Number 3793
College of Psychologists of Ontario, Ontario, Canada



                                 AWARDS AND HONORS

2022 Distinguished Contribution Award
Association for the Treatment and Prevention of Sexual Abuse (ATSA)

2011 Howard E. Barbaree Award for Excellence in Research
Centre for Addiction and Mental Health, Law and Mental Health Program

2004 fMRI Visiting Fellowship Program at Massachusetts General Hospital
American Psychological Association Advanced Training Institute and NIH

1999–2001 CAMH Post-Doctoral Research Fellowship
Centre for Addiction and Mental Health Foundation and Ontario Ministry of Health

1998 Award for Distinguished Contribution by a Student
American Psychological Association, Division 44

1995 Dissertation Research Grant
Society for the Scientific Study of Sexuality

1994–1996 McGill University Doctoral Scholarship

1994 Award for Outstanding Contribution to Undergraduate Teaching
“TA of the Year Award,” from the McGill Psychology Undergraduate Student Association




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                                       MAJOR MEDIA
                             (Complete list available upon request.)

Feature-length Documentaries
Vice Canada Reports. Age of Consent. 14 Jan 2017.
Canadian Broadcasting Company. I, Pedophile. Firsthand documentaries. 10 Mar 2016.

Appearances and Interviews
11 Mar 2020. Ibbitson, John. It is crucial that Parliament gets the conversion-therapy ban right.
       The Globe & Mail.
25 Jan 2020. Ook de hulpvaardige buurman kan verzamelaar van kinderporno zin. De Morgen.
3 Nov 2019. Village of the damned. 60 Minutes Australia.
1 Nov 2019. HÅKON F. HØYDAL. Norsk nettovergriper: – Jeg hater meg selv: Nordmannen
       laster ned overgrepsmateriale fra nettet – og oppfordrer politiet til å gi amnesti for slike
       som ham.
10 Oct 2019. Smith, T. Growing efforts are looking at how—or if—#MeToo offenders can be
       reformed. National Public Radio.
29 Sep 2019. Carey, B. Preying on Children: The Emerging Psychology of Pedophiles. New
       York Times.
29 Apr 2019. Mathieu, Isabelle. La poupée qui a troublé les Terre-Neuviens. La Tribune.
21 Mar 2019. Pope Francis wants psychological testing to prevent problem priests. But can it
       really do that? The Washington Post.
12 Dec 2018. Child sex dolls: Illegal in Canada, and dozens seized at the border. Ontario Today
       with Rita Celli. CBC.
12 Dec 2018. Celli, R. & Harris, K. Dozens of child sex dolls seized by Canadian border agents.
       CBC News.
27 Apr 2018. Rogers, Brook A. The online ‘incel’ culture is real–and dangerous. New York Post.
25 Apr 2018. Yang, J. Number cited in cryptic Facebook post matches Alek Minassian’s military
       ID: Source. Toronto Star.
24 Ap 2018 Understanding ‘incel’. CTV News.
27 Nov 2017. Carey, B. Therapy for Sexual Misconduct? It’s Mostly Unproven. New York
       Times.
14 Nov 2017. Tremonti, A. M. The Current. CBC.
9 Nov2017. Christensen, J. Why men use masturbation to harass women. CNN.
       http://www.cnn.com/2017/11/09/health/masturbation-sexual-harassment/index.html
7 Nov 2017. Nazaryan, A. Why is the alt-right obsessed with pedophilia? Newsweek.
15 Oct 2017. Ouatik, B. Déscouvre. Pédophilie et science. CBC Radio Canada.
12 Oct 2017. Ouatik, B. Peut-on guérir la pédophilie? CBC Radio Canada.
11 Sep 2017. Burns, C. The young paedophiles who say they don’t abuse children. BBC News.
18 Aug 2017. Interview. National Post Radio. Sirius XM Canada.
16 Aug 2017. Blackwell, Tom. Man says he was cured of pedophilia at Ottawa clinic: ‘It’s like a
       weight that’s been lifted’: But skeptics worry about the impact of sending pedophiles into
       the world convinced their curse has been vanquished. National Post.
26 Apr 2017. Zalkind, S. Prep schools hid sex abuse just like the catholic church. VICE.
24 Apr 2017. Sastre, P. Pédophilie: une panique morale jamais n'abolira un crime. Slate France.
12 Feb 2017. Payette, G. Child sex doll trial opens Pandora’s box of questions. CBC News.
26 Nov 2016. Det morke uvettet [“The unknown darkness]”. Fedrelandsvennen.
13 July 2016. Paedophilia: Shedding light on the dark field. The Economist.


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1 Jul 2016. Debusschere, B. Niet iedereen die kinderporno kijkt, is een pedofiel: De mythes rond
        pedofilie ontkracht. De Morgen.
12 Apr 2016. O’Connor, R. Terence Martin: The Tasmanian MP whose medication 'turned him
        into a paedophile'. The Independent.
8 Mar 2016. Bielski, Z. ‘The most viscerally hated group on earth’: Documentary explores how
        intervention can stop pedophiles. The Globe and Mail.
1 Mar 2016. Elmhirst, S. What should we do about paedophiles? The Guardian.
24 Feb 2016. The man whose brain tumour ‘turned him into a paedophile’. The Independent.
24 Nov 2015. Byron, T. The truth about child sex abuse. BBC Two.
20 Aug 2015. The Jared Fogle case: Why we understand so little about abuse. Washington Post.
19 Aug 2015. Blackwell, T. Treat sex offenders for impotence—to keep them out of trouble,
        Canadian psychiatrist says. National Post.
2 Aug 2015. Menendez, J. BBC News Hour. BBC World Service.
13 Jul 2015. The nature of pedophilia. BBC Radio 4.
9 Jul 2015. The sex-offender test: How a computerized assessment can help determine the fate of
        men who’ve been accused of sexually abusing children. The Atlantic.
10 Apr 2015. NWT failed to prevent sex offender from abusing stepdaughter again. CBC News.
10 Feb 2015. Savage, D. “The ethical sadist.” In Savage Love. The Stranger.
31 Jan 2015. Begrip voor/van pedofilie [Understanding pedophilia]. de Volkskrant.
9 Dec 2014. Carey, B. When a rapist’s weapon is a pill. New York Times.
1 Dec 2014. Singal, J. Can virtual reality help pedophiles? New York Magazine.
17 Nov2014. Say pedófile, busco aydua. El Pais.
4 Sep 2014. Born that way? Ideas, with Paul Kennedy. CBC Radio One.
27 Aug 2014. Interrogating the statistics for the prevalence of paedophilia. BBC.
25 Jul 2014. Stephenson, W. The prevalence of paedophilia. BBC World Service.
21 Jul 2014. Hildebrandt, A. Virtuous Pedophiles group gives support therapy cannot. CBC.
26 Jan 2014. Paedophilia a result of faulty wiring, scientists suggest. Daily Mail.
22 Dec 2013. Kane, L. Is pedophilia a sexual orientation? Toronto Star.
21 Jul 2013. Miller, L. The turn-on switch: Fetish theory, post-Freud. New York Magazine.
1 Jul 2013. Morin, H. Pédophilie: la difficile quête d'une origine biologique. Le Monde.
2 Jun 2013. Malcolm, L. The psychology of paedophilia. Australian National Radio.
1 Mar 2013. Kay, J. The mobbing of Tom Flanagan is unwarranted and cruel. National Post.
6 Feb 2013. Boy Scouts board delays vote on lifting ban on gays. L.A. Times.
31 Aug 2012. CNN Newsroom interview with Ashleigh Banfield. CNN.
24 Jun 2012. CNN Newsroom interview with Don Lemon. CNN.




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                            EXPERT WITNESS TESTIMONY

2010
In Re the detention of William G. Dutcher
Case No 08-2-38259-1 SEA
Superior Court, King County, Seattle, WA

2015
State of Florida vs Jon Herb
Case No 11-2013-CF-001958-AXXX-XX

2017
In re Commitment of Nicholas Bauer (Frye Hearing)
Case No. 2-18-0905; Appeal No. 2009-MR-64
Appellate Court of Illinois, Lee County, Second District

U.S. vs. William Hutcheson Leford (Presentencing Hearing)
Case No. 3:16-CR-00012-1
Southern District of Georgia, Dublin Division

2018
NY State Office Mental Health/Dept. of Corrections & Comm Superv vs. Fernando Little
Index# CA2016-002179; RJI No 32-16-7108; Consec No. 290430
Application for discharge from Central NY Psychiatric Center
Utica, New York

2019
John Fitzpatrick v Her Majesty the Queen
Ontario Superior Court of Justice, Canada

Re Commitment of Steven Casper (Frye Hearing)
Case No. 09 MR 135, IDOC No. B23461; DHS No. 887057
Kendall County, Illinois

Re Commitment of Ian Inger (Frye Hearing)
Poughkeepsie, NY

Helen Spiegel v. Keeley Savoie
Docket No HS14D0435 DR
Probate & Family Court, Hampshire Division, Massachusetts

Southern District of New York vs. Peter Bright
Case No. 1:19 Cr -00521 PKC
U.S. District Court, New York, Southern District


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2021
State of Arizona vs Franklin Arnett Clifton
IR# JWID 14-70629; Cr2017-150114-001
Maricopa County, Arizona

B.P.J. v West Virginia
Civil Action No. 2:21-cv-00316
US District Court, Southern District, Charleston Division

Cross, et al. v Loudoun School Board
Case No. CL21-3254
Circuit Court, County of Loudoun, VA

Re Commitment of Michael Hughes (Frye Hearing)
Case No. 10-CR-80013
Circuit Court, Cook County, Chicago, Illinois

In the Matter of Alexander Aurora Cox
Cause number 48C02-215-JC-000143
Madison Circuit Court 2, Indiana

Josephson v University of Kentucky
Case No: 3:19-cv-00230-RGJ
Kentucky Western District, Louisville Division

2022
A.M. v. Indianapolis Public Schools, et al.
Cause No. 1:22-cv-01705-JMS-DLP
U.S. District Court, Southern District of Indiana

Boe et al, USA v Marshall
Civil Action No. 2:22-cv-00184- LCB
U.S. District Court, Middle District of Alabama, Northern Div

Bridge, et al. v Oklahoma State Department of Education, et al.
Case No. CIV-22-787-JD
Oklahoma, Western District Court

Dekker, et al. v Florida Agency for Health Care Admin.
Case 4:22-cv-00325-RH-MAF
Florida, Northern District Court

Doe, et al. v Abbott, et al.
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Texas, Travis County

Xavier Hersom and John Doe v West Virginia


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Civil Action No. 2:21-cv-00450
US District Court, Southern District, Charleston Division

NY v Frederick B. (Re: Commitment of Frederick B.)
Index No. 001141/2022
New York Supreme Court

Pamela Ricard v USD 475 Geary County School Board
Case No. 5:22-cv-04015
US District Court, District of Kansas

Roe, et al. v. Utah High School Activities Association, et al.
Case No. 220903262
Salt Lake County, Utah Third Judicial District Court

Voe, PFLAG, et al. v Abbott
NO. D-1-GN-22-002569
Texas, Travis County District Court

2023
Doe, et al. v. Thornbury, et al.
Civil No. 3:23CV-230-RGJ
U.S. District Court, Western District of Kentucky

Doe, et al. v. Horne, et al.
Case No. 4:23-cv-00185-JGZ
District of Arizona, Tucson Division

K.C., et al. v. Medical Licensing Board of Indiana, et al.
Case No. 1:23-CV-595
Southern District of Indiana, Indianapolis Division

L.W., et al. v. Skrmetti, et al.
Case No. 3:23-cv-00376
Middle District of Tennessee, Nashville Division

Poe, et al., v. Drummond, et al.
Case No. 23-CV-00177-JFH-SH
Northern District of Oklahoma

Koe, et al., v. Noggle, et al.
Civil Action No. 1:23-cv-02904-SEG
U.S. District Court, Northern District of Georgia, Atlanta Div

Poe, et al., v. Labrador
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Roe, et al., v. Critchfield, et al.
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U.S. District Court, District of Idaho

Lazaro Loe v Texas
Cause No. D-1-GN-23-003616
201st Judicial District, Travis County, Texas

Noe, et al., v. Parson, et al.
Case No 23AC-CC04530
Circuit Court of Cole County, State of Missouri

Van Garderen, et al. v. Montana, et al.
Cause No. DV 2023–0541
Montana Fourth Judicial District Court, Missoula County

B.C. College of Nurses and Midwives v Amy HAMM
Citation issued under Health Professional Act

Voe, et al. v Mansfield, et al.
Civil No. 1:23-cv-864
U.S. District Court, North Carolina, Middle District, Durham Div.

TD, et al. v Wrigley, et al.
Case No. 08-2023-CV-2189
District Court, South Central Judicial District, North Dakota




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2018). A recent systematic review of psychiatric comorbidi-                 gender identity and expression) (Ehrensaft, 2016). A guiding
ties among prepubertal children diagnosed with gender dys-                  concern underpinning this approach is the need to protect the
phoria (aged 12 and under) (Frew et al., 2021) demonstrated                 child from harm associated with being raised in the wrong
that up to 21% met criteria for an anxiety disorder, almost                 gender. Indeed, cultural and familial pressures to conform to
half had a significant psychiatric history, and around 10%                  cisgender identities, gender roles, and expression are thought
had attempted suicide. A systematic review of adolescents                   to cause considerable harm as they require a gender variant
experiencing gender dysphoria (aged 12–18) (Thompson                        child to suppress their authentic self and emulate socially
et al., 2022) demonstrated that comorbid mental health issues               expected gender roles (the “false gendered self”). Ehrensaft
were present in 22–78%. Specifically, the prevalence of mood                et al. (2018) contend that the construction of a false gendered
disorders ranged from 30 to 78%, anxiety disorders from 21                  self is a key contributor of psychiatric morbidity, including
to 63%, and suicidal ideation from 12 to 74%. Given that                    suicidality, observed in gender variant populations.
social gender transition is theorized to ameliorate mental                      Others have suggested that clinicians and parents should,
health issues in gender dysphoric young people (Ehrensaft,                  where possible, delay social gender transition (Steensma
2016), further empirical examination of this intervention is                et al., 2013). This is based on evidence that gender dysphoria
warranted.                                                                  (and cross-gender identities) frequently desist in prepubertal
    Before moving forward, it is important to clarify termi-                children (Drummond et al., 2008; Singh et al., 2021; Zucker,
nology. Young people who experience gender dysphoria are                    2018) and that premature social gender transition may fore-
variously referred to as “gender variant” (Riley et al., 2011;              close the child’s gender identity development, increasing
Wong et al., 2019), “transgender” (Durwood et al., 2017;                    the likelihood that gender dysphoria will persist (possibly
Olson et al., 2016), “cross-gender identified” (Kuvalanka                   necessitating medical transition in adolescence onward). This
et al., 2017), and “gender dysphoric” (Wallien & Cohen-                     approach has been referred to as “watchful waiting” (de Vries
Kettenis, 2008)—although these respective terms can imply                   & Cohen-Kettenis, 2012).
important sample differences in some instances.2 In the pre-                    There are an increasing number of prepubertal children
sent study, we use the term gender variant to capture the                   pursuing social transition prior to attending specialist gender
diversity of presentations (and stages of gender identity                   services. For example, the Amsterdam Gender Identity Clinic
development and symptom severity) among children and                        reported that, before the year 2000, 1.7% of children who
adolescents referred to specialist gender dysphoria services.               attended the clinic were completely socially transitioned at
    Disagreement over when social gender transition is indi-                first presentation, while between 2000 and 2004, 3.3% had
cated is what most differentiates competing models of care for              completed social transitioning at first presentation (Steensma
gender dysphoric young people (de Vries & Cohen-Kettenis,                   & Cohen-Kettenis, 2011). Reflecting a more dramatic and
2012; Ehrensaft et al., 2018; Steensma & Cohen-Kettenis,                    recent shift, the proportion of birth-assigned males who had
2018; Zucker, 2018). Perhaps the most widely endorsed                       socially transitioned prior to contact with the Tavistock Gen-
model of care, the affirmative model, takes a non-pathologiz-               der Identity Development Service in London, increased from
ing stance toward gender variance in young people and views                 19.8% in 2012 to 47.2% in 2015 (Morandini et al., 2022). This
a “myriad of healthy [non-cisgender] gender outcomes” as                    shift toward social transition being more common prior to
possible (Ehrensaft, 2016). This approach prioritizes follow-               contact with gender services may reflect increasing cultural
ing the child’s lead and accepting and facilitating expression              acceptance of transgender identities as viable and healthy
of the child’s “true-gendered-self” (i.e., the child’s authentic            outcomes for children and adolescents (Brunskell-Evans &
                                                                            Moore, 2019; Ehrensaft, 2016) and, therefore, greater com-
                                                                            fort of parents in independently facilitating a child’s social
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   Some clinically relevant differences can exist between these popu-       gender transition.
lations. For instance, “transgender children and adolescents” typi-             Existing research on the mental health correlates of social
cally refers to individuals who have socially and perhaps medically
                                                                            gender transition utilizes diverse methodologies and focuses
transitioned to live as their affirmed gender (e.g., Olson et al., 2016).
Cross-gender identified and gender dysphoric children and adoles-           on somewhat distinct populations. Tracking this research
cents, on the other hand, has been used to describe those experiencing      chronologically—the first notable study was Kuvalanka
clinically significant gender concerns, but who may or may not have         et al.’s (2017) qualitative study of five parents of transgen-
socially transitioned to live in their affirmed gender (Wallien & Cohen-
                                                                            der girls (birth-assigned males) between the ages of 8 and 11.
Kettenis, 2008). Finally, gender variant, perhaps the loosest grouping,
has been used to refer to children and adolescents who exhibit gender       Kuvalanka et al. found that according to parents, social tran-
non-conforming behaviors and/or identities, which may or may not            sition appeared to reduce distress and increase self-esteem
be causing clinically significant distress or impairment (Riley et al.,     and self-confidence among their children. Other reports from
2011). Given children and adolescents who are transgender, experi-
                                                                            clinicians and parents following early childhood social transi-
ence gender dysphoria, and/or are markedly gender non-conforming in
behavior or identity, are a heterogeneous group, it can be difficult to     tion have echoed similar findings, reporting improved mood
generalize findings across samples.                                         in children and enhanced peer and caregiver relationships

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(Wong & Drake, 2017), as well as being viewed as protec-          demonstrated slightly elevated anxiety. Additionally, among
tive for the child’s happiness and well-being (Horton, 2022).     6- to 14-year-old transgender young people, self-worth did
    Several quantitative studies now exist examining cor-         not differ from cisgender matched controls or cisgender sib-
relates of social gender transition. Kuvalanka et al. (2017)      lings. Collectively, these findings have been interpreted to
examined the well-being of 45 children (aged 6–12 years) in       suggest that affirming a gender variant child/adolescents’
the community (volunteered by parents) who were supported         gender identity via social transition will reduce psychological
in their gender identity. Kuvalanka et al. compared children      difficulties often observed within gender variant populations
with “cross-gender identities” (i.e., those that identified as    (de Graaf et al., 2018; de Vries et al., 2016; Ehrensaft et al.,
trans girls or trans boys) and those who were gender non-         2018). The Olson et al. (2016), Durwood et al. (2017), and
conforming or had uncertain gender identities (labeled as         Kuvalanka et al. (2017) studies suggest that social transition
having “non-cross-gender identities”) to normed data on the       can be associated with normative mental health outcomes
Child Behavior Checklist (CBCL). Cross-gender identified          among young people with gender dysphoria, a group who
children demonstrated functioning in the normal range on all      have been shown to experience poorer psychological well-
three measured indices (internalizing problems, externalizing     being on the whole (Tankersley et al., 2021; Thompson et al.,
problems, and total problems). On the other hand, those with      2022).
non-cross-gender-identities were in the borderline clinical           Other recent studies, however, have failed to find supe-
or clinical range on the same indices. When the two groups        rior well-being in socially transitioned young people. Wong
of gender diverse children were compared, those who were          et al. (2019) compared published CBCL data (van der Miesen
cross-gender identified demonstrated superior outcomes on         et al., 2018) on 162 cisgender children (aged 6–12 years) who
internalizing problems and total problems, suggesting binary      had levels of gender variance similar to children referred to
transition may be protective against mental health difficulties   specialist gender clinics, with published data on 104 chil-
in gender diverse populations—and that socially transitioned      dren who had undertaken social gender transition (Kuvalanka
children can demonstrate psychological well-being compa-          et al., 2017; Olson et al., 2016). A statistical bootstrapping
rable to cisgender controls.                                      approach was utilized to control for birth-assigned sex, age,
    The most widely cited quantitative studies assessing men-     and degree of gender variance when comparing CBCL scores
tal health in social gender transitioned are those by Durwood     between cisgender gender variant children and socially tran-
et al. (2017) and Olson et al. (2016). These studies, using       sitioned gender variant children. Cisgender gender variant
the Patient Reported Outcomes Measurement Information             children and socially transitioned children demonstrated
System (PROMIS), compared mental health among com-                broadly equivalent levels of internalizing problems—and
munity convenience samples of American and Canadian               only a minority of each sample demonstrated clinical or
prepubescent children who had fully socially transitioned         borderline clinical scores on internalizing problems. This
with cisgender siblings and matched controls. The first study     latter finding suggests that Olson et al.’s (2016) finding of
(Olson et al., 2016), which was based on parent reports of 73     broadly comparable mental health status between social gen-
(51 birth-assigned males) socially transitioned transgender       der transitioned children and normative samples might not
children (3- to 12-years-old), found levels of depression and     be entirely surprising.
anxiety in this group was largely comparable with matched             Finally, a study by Sievert et al. (2021) more directly
controls and siblings/peers, although trans-children were         examined whether social gender transition was related to
found to have slightly elevated rates of anxiety compared         improved psychological functioning in 54 gender variant
with national population averages. Additionally, Olson et al.     children who had received a gender dysphoria diagnosis
compared their study’s findings (of socially transitioned         (aged 5– to 11-years). Social transition was assessed in a
children) to previous clinical samples of children reporting      graded manner from 1 (no social transition and living in
gender dysphoria, which included transgender children and         birth-assigned gender) to 4 (complete social transition in all
those that had not yet transitioned or that may have identi-      life areas). After controlling for gender assigned at birth,
fied as non-binary. Olson et al. found lower internalizing of     age, socioeconomic status, poor peer relations, and general
symptoms in their sample of socially transitioned children,       family functioning, social transition status did not predict
concluding that social transitioning may reduce mental health     psychological functioning as measured by the CBCL.
difficulties in gender variant youngsters.                            The existing literature has shown mixed evidence for a
    The second study was based on parent and self-report          relationship between social gender transition and psycho-
reports of 116 socially transitioned transgender young peo-       logical functioning (positive effects in some studies and
ple (68 birth-assigned males) (Durwood et al., 2017). This        null effects in others). It should be noted, however, that the
study found that among 9- to 14-year-old transgender young        existing literature is limited in a number of respects. Past
people, depression did not differ from matched-control or         studies have failed to examine how the mental health conse-
sibling peers, but that transgender young people, again,          quences of social transition may be moderated by a range of


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individual factors, such as birth-assigned gender and pre- ver-    transitioned children and adolescents; (2) examining whether
sus post-pubertal age. This may be partly due to the relatively    associations between mental health and social transition were
small samples (N’s = 45–162) utilized in past studies, which       moderated by birth-assigned gender and developmental stage
precluded such analyses. Except for Durwood et al. (2017)          (by including patients from early childhood through to late
(who included 6- to 14-year-olds), existing studies have           adolescence); and (3) utilizing clinician ratings of mental
been conducted in children aged 12 years of age or under.          health based on a comprehensive mental health assess-
Given the recent preponderance of gender dysphoria first           ment—potentially reducing risk of social desirability bias
becoming apparent in adolescence (Aitken et al., 2015; de          and complementing past studies of this type that have relied
Graaf et al., 2018), examining the mental health correlates of     exclusively on parent or self-report data. Our study examines
social gender transition in early, mid, and late adolescence is    correlates of social gender transition on mood and anxiety
increasingly clinically important as well. Next, past studies      disorders, given these disorders appear to be prevalent psy-
examining correlates of social transition have utilized self-      chiatric comorbidities among gender variant youth (Frew
report and parent-report measures (typically the CBCL) in          et al., 2021; Thompson et al., 2022). We also examined the
assessing mental health. No studies to date have included rat-     link between social gender transition and suicide attempts,
ings of mental health status by trained mental health profes-      given increased prevalence of this behavior in gender variant
sionals. Apart from Sievert et al. (2021), existing studies have   versus cisgender young people (Biggs, 2022), and the theo-
not compared the mental health outcomes of children and            rized link between transition status and suicidality (Ehrensaft
adolescents diagnosed with gender dysphoria based on their         et al., 2018).
social transition status, i.e., comparing socially transitioned
versus non-socially transitioned gender dysphoric children
and adolescents in terms of their mental health. Existing          Method
studies have compared transgender participants with their
cisgender siblings or with normative data based on cisgender       Subjects
populations (Durwood et al., 2017; Olson et al., 2016), with
gender variant cisgender individuals (Wong et al., 2019) or        Patients were drawn from 774 children and adolescents (M
with non-binary children (Kuvalanka et al., 2017). Given that      age = 14.37 years, SD = 2.47, range 4–17) referred to The
some commentators contend that transgender children and            Gender Identity Development Service (GIDS) in London
adolescents differ in kind to their gender variant cisgender       over a 5-year period (from January 2012 to December 2016),
peers (Temple Newhook et al., 2018), comparing correlates          and for whom the Associated Difficulties form was com-
of social gender transition status among a population of chil-     pleted. The majority of these patients were rated as wishing
dren and adolescents all diagnosed with gender dysphoria           to live in a binary gender opposite to their birth-assigned
provides a more direct test of proposed benefits of social         gender (93%), with a small minority rated as desiring to live
gender transition. Failing to ensure that both socially tran-      as non-binary (7%). Most were White British (75.4%), with
sitioned and non-socially transitioned referrals to a gender       a small representation of other ethnic groups. To our knowl-
service were nevertheless still experiencing gender dyspho-        edge, none of the patients referred had commenced any form
ria could possibly confound findings. For example, patients        of medical transition (including hormone blockers) prior to
living in their birth-assigned gender may be found to have         first being seen at GIDS. There was a considerable amount of
superior well-being because they were less likely to be gen-       data missing on critical variables, as depicted in Fig. 1 (i.e.,
der dysphoric to begin with and, therefore, less distressed        flowchart outlining exclusion of cases due to missing data on
(not because avoidance of social transition leads to superior      variables of interest). Missing data were due to clinicians fail-
outcomes).                                                         ing to complete the associated difficulties form at assessment
                                                                   or clients dropping out prior to assessments being completed.
The Present Study                                                      To be included in the primary analysis, cases required
                                                                   a diagnosis of gender dysphoria, as well as birth-assigned
There are scarce data comparing the mental health of gen-          gender and age to be recorded. A negative gender dyspho-
der dysphoric children and adolescents who have socially           ria diagnosis was recorded for n = 155 patients and n = 149
transitioned with those who have not (and who are living           patients did not have gender dysphoria status recorded on
in their gender assigned at birth). The present study sought       their files. Reasons for the former were not recorded but likely
to contribute to this literature by undertaking this compari-      include clinicians’ failing to complete the form or patient
son in a cohort of children and adolescents who had pre-           drop-out prior to gender dysphoria diagnosis being made. In
sented for assessment at a specialist gender identity clinic       addition, at least one transition variable (living in role and/or
in the UK. We aimed to extend on past studies in a number          name change) needed to be recorded. Considerably more data
of ways, including: (1) utilizing a larger sample of socially      were missing on the living in birth-assigned gender versus


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Fig. 1  Flowchart outlining progressive exclusion of cases due to        were conducted upon this sample). Right hand size represents total
missing data and depicting final sample size for regression models       cases, inclusive of patients with a positive gender dysphoria diagnosis
examining name change status on mood, anxiety, and suicide attempt,      recorded (n = 470), a negative gender dysphoria diagnosis recorded
and living in role status on mood, anxiety, and suicide attempt. Left-   (n = 155), or for which information on gender dysphoria status was
hand sample size reflects cases where a positive gender dysphoria        absent (n = 149). Analyses reported in supplementary materials are
(GD) was recorded (primary analyses reported in the manuscript           based on total cases



living in affirmed gender variable—than the name change                  clinicians (psychiatrists, clinical psychologists, or registered
variable (i.e., n = 69 additional cases) (again, see Fig. 1). A          psychotherapists). Assessment sessions involved both child/
small amount of data were missing on mental health vari-                 adolescent patients and their families, assessed individually
ables (no more than four cases were missing on either mood,              and together as a family. At the end of the assessment period,
anxiety, or suicide attempts). For ease of reporting sample              the associated difficulties form was completed by both men-
characteristics, only cases for which data on all three mental           tal health clinicians. Clinicians conferred with one another
health indices were recorded were included in the primary                to ensure agreement on diagnoses. When disagreement in
analysis or in secondary analysis completed in supplementary             opinion was present—clinicians discussed the matter (or
materials.                                                               assessed further) until agreement could be made. Referral
   The final sample for analysis of living in birth-assigned             letters and clinician reports referencing mental health func-
gender versus affirmed gender role status consisted of 288               tioning prior to contact with the GIDS were also taken into
children and adolescents, of whom 72% were birth-assigned                account in making these judgments (e.g., an autism spec-
female and 73% had undertaken a partial or full social gender            trum disorder [ASD] diagnosis could be gleaned via letters in
transition (208 birth-assigned female; 210 socially transi-              many instances). The associated difficulties form involved 29
tioned). All patients with living in birth-assigned gender ver-          questions relevant to demographics, psychosocial stressors,
sus affirmed gender role data also had corresponding name                and DSM-5 diagnoses. These questions are outlined in detail
change data. The final sample for analysis of name change                in a past study from our service using this data (Holt et al.,
status consisted of 357 children and adolescents, of whom                2016). The full list of variables in the Associated Difficulties
71% were birth-assigned female and 60% had changed their                 form is reported in Supplementary Materials. In the present
name (253 birth-assigned female; 214 name change).                       study, we examined data on 10 variables from the Associ-
                                                                         ated Difficulties Form: birth-assigned gender, ethnicity, age
Procedure and Measures                                                   at time of referral, age of first gender dysphoria symptoms,
                                                                         social transition (no, partly, yes), name change (no, partly,
Upon first contact with the GIDS, patients and their fami-               yes), the presence of current mood or anxiety disorders at
lies undertook in-depth psychological assessment of gen-                 time of assessment, and past suicide attempts.
der dysphoria, comorbid psychiatric disorders, and relevant                  The key variables of social transition, “living in birth-
psychosocial stressors. These assessments involved a mini-               assigned gender versus affirmed gender role” and “name
mum of three one-hour assessments with two mental health                 change,” were originally rated in three categories: “no” (i.e.,


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Table 1  Breakdown of patients              Gender dysphoria diagnosis confirmed           Total cases
“living in role” (yes, partly,
no) and “name change” (yes,                 Living in role (% [n])   Name change (% [n])   Living in role (% [n])   Name change (% [n])
partly, no) among those with
a gender dysphoria diagnosis      Yes       59.4% (171)              59.9% (214)           50.7% (248)              49.3% (303)
confirmed as well as total        Partly    13.5% (39)               2.2% (8)              12.7% (62)               2.3% (14)
cases (irrespective of gender     No        27.1% (78)               37.8% (135)           36.6% (179)              48.5% (298)
dysphoria status)




no social transition/name change), “partly” (i.e., partial social     the social transition variables as past theoretical and empiri-
transition/name change), or “yes” (i.e., full social transi-          cal research identify different pathways to gender dysphoria
tioned/name change”) (consistent with how social transition           and different comorbidities associated with gender dyspho-
was assessed by Steensma et al., [2013]). Because very few            ria, based on age at referral and birth-assigned gender (Aitken
respondents were rated as partially socially transitioned or as       et al., 2015; Lawrence, 2010).
partially using a new name, this was not a viable cell for anal-          For each dependent variable, regression models took the
ysis. We, therefore, combined partially and fully transitioned        same form. In Step 1, we examined the main effect of “liv-
patients into a single group, creating dichotomous variables          ing in role” or “name change,” “birth-assigned gender,” and
for both living in role and name change (0 = No transition            “age” on the dependent variable of interest. In Step 2 (which
or No name change, 1 = Any social transition or Any name              was only interpreted if the Chi-square change for Step 2 was
change). This dichotomization is consistent with how these            significant), we added interactions between Birth-assigned
variables were treated by Steensma et al. (2013). See Table 1         gender × Age, Birth-assigned gender × Living in Role/Name
for a breakdown of social transition/name change, partial             Change/Composite, and Living in Role/Name Change/Com-
social transition/partial name change, and no social tran-            posite × Age. In Step 3, we added the three-way interac-
sition/no name change in the gender dysphoria confirmed               tion between Birth-assigned gender × Age × Living in Role/
sample and for total cases. Mood difficulties reflected a             Name Change/Composite (again, Step 3 was only interpreted
full diagnosis of a DSM-5 depressive disorder (e.g., major            if the Chi-square change for Step 3 was significant). Whereas
depressive disorder or persistent depressive disorder). Anxi-         analysis reported here is for those patients who had a positive
ety difficulties reflected a full diagnosis of a DSM-5 anxiety        gender dysphoria diagnosis—we also completed identical
disorder (e.g., social anxiety disorder, panic disorder, gen-         analysis on the full sample of referrals to the GIDS (with
eralized anxiety disorder). Suicide attempts reflected any            or without a positive diagnosis of gender dysphoria—see
suicide attempt occurring in the client’s past. All data were         Supplemental Materials. Findings were identical to those
anonymized in order to ensure the confidentiality of patients.        completed on the gender dysphoria cohort). The critical α
                                                                      utilized in all analyses was p < 0.05.
Data Analytic Plan                                                        As our sample size was determined by available data,
                                                                      we wanted to assess the minimum effect sizes that the cur-
In addition to the variables “living in one’s affirmed gender         rent sample was equipped to identify with a power of 0.80
role” and “name change,” a third social gender transition             (α < 0.05). Thus, the existing values of the sample (Social
variable was computed (“social transition composite”) which           Transition: 179/310 for Living in birth gender/living in
was the sum of “living in one’s affirmed gender role” and             affirmed gender, respectively, as well as Social Transition:
“name change” resulting in a score from 0 (neither “living            312/303; for still using birth name/name already changed,
in one’s affirmed gender role” nor “name change”) to 2 (both          respectively) were inserted to a power calculator (G*Power
“living in one’s affirmed gender role” and “name change”).            version 3.1.9.7) for logistic regression to determine the small-
Age was treated as a continuous variable. Mood and anxiety            est effect sizes that the social transition indicators (living
difficulties were rated as present or absent, as was history of       in role and name change) are well powered to detect. The
a suicide attempt.                                                    analyses indicated that, given the existing data, the analyses
   We planned to use binomial logistic regression to exam-            had 80% power to detect an effect size of 1.84/1.70 (in odds
ine whether the association between living in role, name              ratio terms) for living in role/name change, respectively. That
change, and a composite of living in role and name change,            means that given the data, the analyses were well powered to
and dependent variables (mood, anxiety, or suicide attempt)           identify even small-medium effect sizes that may differ as a
were moderated by age and birth-assigned gender. We exam-             function of the main variable of interest—social transition.
ined interactions between age and birth-assigned gender, and




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Table 2  Descriptives for mood                                    AFAB                                           AMAB
disorder, anxiety disorder, and
suicide attempt prevalence                                        Living in birth      Living in affirmed        Living in birth       Living in
in those living in their birth                                    gender (n = 45)      gender (n = 163)          gender (n = 33)       affirmed gender
gender role versus living in their                                                                                                     (n = 47)
affirmed gender role
                                         4–12a (years)            25.9% (7)            74.1% (20)                13.6% (3)             86.4% (19)
                                         13–17a (years)           21.0% (38)           79.0% (143)               51.7% (30)            48.3% (28)
                                         Age mean (SD)            14.40 (2.28)         14.61 (1.93)              14.94 (2.52)          12.62 (3.74)
                                         Mood ­disorderb          44.4% (20)           53.4% (87)                63.6% (21)            34.0% (16)
                                         Anxiety ­disorderb       33.3% (15)           33.7% (55)                33.3% (11)            27.7% (13)
                                         Suicide ­attemptb        6.7% (3)             11.7% (19)                6.1% (2)              8.5% (4)
                                         a
                                          The percentages in this row reflect the percentages of individuals in that specific age group who live in
                                         birth vs affirmed gender
                                         b
                                          The percentages in this row reflect the percentages of individuals with the psychopathological indicator as
                                         a function of the gender they are living in


Table 3  Descriptives for mood disorder, anxiety disorder, and suicide attempt prevalence in those using their birth name versus affirmed name
                                AFAB                                                              AMAB
                                Birth name (n = 78)            Name change (n = 175)              Birth name (n = 65)              Name change (n = 39)

4–12a (years)                   33.3% (10)                     66.7% (20)                         60% (15)                         40% (10)
13–17a (years)                  30.5% (68)                     69.5% (155)                        63.3% (50)                       37.7% (29)
Age mean (SD)                   14.55 (1.82)                   14.61 (2.03)                       14.04 (3.12)                     13.56 (3.42)
Mood ­disorderb                 48.7% (38)                     54.3% (95)                         46.2% (30)                       46.2% (18)
Anxiety ­disorderb              29.5% (23)                     35.4% (62)                         33.8% (22)                       20.5% (8)
Suicide ­attemptb               9.0% (7)                       13.1% (23)                         6.2% (4)                         10.3% (4)
a
    The percentages in this row reflect the percentages of individuals in that specific age group who live in birth vs. affirmed gender
b
 The percentages in this row reflect the percentages of individuals with the psychopathological indicator as a function of the gender they are liv-
ing in



Results                                                                              Based on clinical assessment and referral documents,
                                                                                 among patients with a diagnosis of gender dysphoria and for
Descriptive Statistics                                                           whom name change and/or living in role status was recorded,
                                                                                 52.6% of birth-assigned females and 46.2% of birth-assigned
Of those in our sample, 78.4% of birth-assigned females                          males were experiencing mood difficulties, 33.6% of birth-
and 58.8% of birth-assigned males had either partially or                        assigned females and 28.8% of birth-assigned males were
fully socially transitioned prior to assessment, and 69.2% of                    experiencing anxiety and 11.9% of birth-assigned females
birth-assigned females and 37.5% of birth-assigned males                         and 7.4% of birth-assigned males had past suicide attempts.
had changed their name prior to assessment (see Tables 2                         Tables 2 and 3 show these variables based on participant’s
and 3). Chi-square tests (a 2 [Age group] by 2 [Social transi-                   birth-assigned gender, age at referral (4–12 years of age, or
tion indicators]) demonstrated that, among AFAB patients,                        13–17 years of age), and living in role/name change status.
proportions of prepubertal (4–12) versus adolescent (13–17)                      Chi-square analyses indicated that there were no significant
patients who were “living in role” (χ2(1) = 0.34, p = 0.56)                      differences (p’s > 0.10) in any of the pathological indica-
and had undergone “name change” (χ2(1) = 0.10, p = 0.75)—                        tors (i.e., mood disorders, anxiety disorders, and suicide
were similar (p > 0.5’s). On the other hand, among AMAB                          attempted), as a function of the social transition indicators
patients, adolescent AMABs were significantly less likely to                     (i.e., living in birth/assigned gender, name change), within
be “living in role” (χ2(1) = 9.55, p = 0.002) bthan prepubertal                  each of the two groups for either AFAB or AMAB, except in
AMABs, but did not differ in likelihood of “name change”                         one case (out of the 12 tests). The sole exception indicated
compared to prepubertal AMABs (χ2(1) = 0.09, p = 0.77).                          that, among AMABs, mood disorder was more common
                                                                                 among individuals living in the birth (vs. affirmed) gender
                                                                                 (χ2(1) = 6.83, p = 0.009).


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Table 4  Correlations between birth-assigned gender, age, name change, and mental health outcomes (n = 357)
                       M          SD        AFAB vs. AMAB              Age          Name change       Mood         Anxiety       Suicide attempt

AFAB vs. AMAB           1.30      .46
Age                    14.06      2.72      − .136
Name change             1.66      .47       − .198**                   − .081
Mood                    1.50      .50       − .058                     .272**       .051
Anxiety                 1.34      .48       − .046                     .091         .013              .332**
Suicide attempt         1.90      .30       − .061                     .153**       .078              .195**       .073

Assigned Female at Birth (AFAB) = 1; Assigned Male at Birth (AMAB) = 2; Name Change, Mood, Anxiety, Suicide Attempt (No = 1; Yes = 2)
Note. *p < .05, **p < .01



Correlation Matrix: Social Transition, Birth‑Assigned                        and age (and all interactions between these variables) were
Gender, Age, and Mental Health Status                                        related to the likelihood of mood or anxiety issues or suicide
                                                                             attempts. As above, age was positively associated with like-
First, we examined zero-order correlations between all var-                  lihood of mood issues and suicide attempt, but not anxiety.
iables. As we had more data on patients who had “name                        Name change and birth-assigned gender were not associated
change” (Table 4) than data in “living in role” or both                      with mental health status. No two-way or three-way interac-
(Table 5), we present two tables. Perusal of the correlation                 tions were significant (p’s > 0.05).
matrixes showed that, relative to birth-assigned females,
birth-assigned males were younger at referral, less likely                   Social Transition Composite: Logistic Regressions
to be “living in role,” or to have changed their name. Age
at referral was positively associated with the presence of a                 Mood and Anxiety Difficulties and Suicide Attempts
mood or anxiety disorder and a suicide attempt. As would
be expected, all indices of social transition were highly cor-               Table 8 shows the results from the binomial logistic regres-
related, as were all indices of mental health status. Critically,            sions assessing whether the social transition composite vari-
there was no significant association between “living in role”                able, birth-assigned gender, and age (as well as interactions
and “name change” on the mental health variables.                            between all variables) predicted the likelihood of mood and
                                                                             anxiety difficulties and suicide attempts. A main effect of age
Living in Role: Logistic Regressions                                         was observed such that older patients had a greater likelihood
                                                                             of mood issues and suicide attempts, but not anxiety issues.
Mood and Anxiety Difficulties and Suicide Attempts                           The social transition composite variable did not predict men-
                                                                             tal health status nor did birth-assigned gender. No two-way or
Table 6 shows the results from the binomial logistic regressions             three-way interactions were significant (p’s > 0.05).
assessing whether living in one’s affirmed gender (i.e., having
socially transitioned), birth-assigned gender, and age at assessment
(and their two-way and three-way interactions) predicted the like-           Discussion
lihood of mood and anxiety difficulties or past suicide attempts.
For the regression on mood difficulties and suicide attempts, a              The present study was among the first to examine whether
main effect of age was observed, such that older patients were               children and adolescents diagnosed with gender dysphoria
more likely to report mood issues and past suicide attempts but              who had socially transitioned showed fewer psychological
not anxiety issues. Living in role and birth-assigned gender were            difficulties than those (also with gender dysphoria) who
not associated with mood, anxiety, or suicide attempts. Likewise,            were still living in their birth-assigned gender. Overall, we
Step 2 and Step 3 were not significant, indicating no two-way or             failed to find robust evidence that social transition (living
three-way interactions were observed (p’s > 0.05).                           in one’s affirmed gender role or adopting a name to reflect
                                                                             one’s affirmed gender identity) was associated with mental
Name Change: Logistic Regressions                                            health status in the short term. Although we found that mood
                                                                             disorders were more common among AMAB who did not
Mood and Anxiety Difficulties and Suicide Attempts                           transition, in 11 other such comparisons (2—assigned gender
                                                                             at birth × 3—pathological indicators × 2—social transition
Table 7 reports results from the binomial logistic regres-                   indicator) there was no indication for differences as a func-
sions assessing whether name change, birth-assigned gender,                  tion of social transition. It is possible that the mood finding


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                                                                                                                                                                                                                                                                                                                                                                                             among AMAB was spurious (e.g., if a Bonferroni correc-




                                                                                                                                             Suicide attempt
                                                                                                                                                                                                                                                                                                                                                                                             tion for multiple tests was used to account for the 12 tests,
                                                                                                                                                                                                                                                                                                                                                                                             the AMAB mood difference would have not reached signifi-
                                                                                                                                                                                                                                                                                                                                                                                             cance). The possibility of the spuriousness is strengthened, as
                                                                                                                                                                                                                                                                                                                                                                                             more sensitive analyses that treated age as a continuous rather
                                                                                                                                                                                                                                                                                                                                                                                             than as a categorical variable, failed to support that finding.
                                                                                                                                                                                                                                                                                                                                                                                                 Our failure to observe significant differences in the men-
                                                                                                                                             Anxiety




                                                                                                                                                                                              Assigned Female at Birth (AFAB) = 1; Assigned Male at Birth (AMAB) = 2; In role, Name Change, Social Composite, Mood, Anxiety, Suicide Attempt (No = 1; Yes = 2)
                                                                                                                                                                                                                                                                                                                                                                                             tal health status of gender variant children who had socially




                                                                                                                                                                                       .047
                                                                                                                                                                                                                                                                                                                                                                                             transitioned versus gender variant children living in their
                                                                                                                                                                                                                                                                                                                                                                                             birth-assigned gender is consistent with findings from the
                                                                                                                                                                                                                                                                                                                                                                                             methodologically similar studies by Wong et al. (2019) and

                                                                                                                                                                                    .355**
                                                                                                                                                                                    .234**
                                                                                                                                             Mood




                                                                                                                                                                                                                                                                                                                                                                                             Sievert et al. (2021). Our findings extend on Wong et al.
                                                                                                                                                                                                                                                                                                                                                                                             (who compared published data on the Olson et al. (2016)
                                                                                                                                                                                                                                                                                                                                                                                             and Kuvalanka et al. (2017) samples of socially transitioned
                                                                                                                                             Social composite




                                                                                                                                                                                                                                                                                                                                                                                             children with published data on cisgender gender variant chil-
                                                                                                                                                                                                                                                                                                                                                                                             dren) by failing to find a significant effect of social transition
                                                                                                                                                                                                                                                                                                                                                                                             on mental health in a sample of young people all of whom
                                                                                                                                                                                − .004
                                                                                                                                                                                − .009




                                                                                                                                                                                                                                                                                                                                                                                             were diagnosed with DSM-5 gender dysphoria—and thus
                                                                                                                                                                                .098




                                                                                                                                                                                                                                                                                                                                                                                             differed in their social transition status—not in their gender
            Table 5  Correlations between birth-assigned gender, age group, social transition status, and mental health outcomes (n = 288)




                                                                                                                                                                                                                                                                                                                                                                                             dysphoria status. While our findings are consistent with Siev-
                                                                                                                                                                                                                                                                                                                                                                                             ert et al. (2021) in finding social transition was not associated
                                                                                                                                             Name change




                                                                                                                                                                                                                                                                                                                                                                                             with the mental health status of clinic-referred child patients
                                                                                                                                                                             .866**




                                                                                                                                                                                                                                                                                                                                                                                             with a DSM-5 gender dysphoria diagnosis—it extended these
                                                                                                                                                                             − .006
                                                                                                                                                                             .022

                                                                                                                                                                             .098




                                                                                                                                                                                                                                                                                                                                                                                             findings to adolescents as well. Given adolescent patients
                                                                                                                                                                                                                                                                                                                                                                                             comprise the majority of contemporary referrals to gender
                                                                                                                                                                                                                                                                                                                                                                                             services (Aitken et al., 2015) and given management of ado-
                                                                                                                                                                          .458**
                                                                                                                                                                          .842**
                                                                                                                                                                          − .031
                                                                                                                                                                          − .009
                                                                                                                                             In role




                                                                                                                                                                                                                                                                                                                                                                                             lescent gender dysphoria has been an area of recent clinical
                                                                                                                                                                          .068




                                                                                                                                                                                                                                                                                                                                                                                             controversy (Littman, 2018; Restar, 2020), the absence of an
                                                                                                                                                                                                                                                                                                                                                                                             association between social transition status and mental health
                                                                                                                                                                                                                                                                                                                                                                                             status in adolescents is noteworthy.
                                                                                                                                                                      .288**

                                                                                                                                                                      .171**
                                                                                                                                                                      − .081

                                                                                                                                                                      − .004

                                                                                                                                                                      .119*
                                                                                                                                                                      .069
                                                                                                                                             Age




                                                                                                                                                                                                                                                                                                                                                                                                 Notably, contrary to one past study finding a positive
                                                                                                                                                                                                                                                                                                                                                                                             association between chosen name use and mental health
                                                                                                                                                                                                                                                                                                                                                                                             in gender variant youth (Russell et al., 2018), name change
                                                                                                                                             AFAB vs. AMAB




                                                                                                                                                                                                                                                                                                                                                                                             status was not associated with mental health in our sample.
                                                                                                                                                                                                                                                                                                                                                                                             The divergence in results could relate to a number of differ-
                                                                                                                                                                                                                                                                                                                                                                                             ences between the two studies. First, Russell et al. (2018)
                                                                                                                                                                   − .176**
                                                                                                                                                                   − .198**
                                                                                                                                                                   − .314**
                                                                                                                                                                   − .302**
                                                                                                                                                                   − .047
                                                                                                                                                                   − .035
                                                                                                                                                                   − .047




                                                                                                                                                                                                                                                                                                                                                                                             measured a more behavioral construct (i.e., in what contexts
                                                                                                                                                                                                                                                                                                                                                                                             “are you able to go by your chosen name?”) which, on reflec-
                                                                                                                                                                                                                                                                                                                                                                                             tion, seems to assess how safe and affirming one’s social
                                                                                                                                                                                                                                                                                                                                                                                             environment is for chosen name use. In our study, by con-
                                                                                                                                                                2.54
                                                                                                                                             SD

                                                                                                                                                                .45

                                                                                                                                                                .45
                                                                                                                                                                .48
                                                                                                                                                                .79
                                                                                                                                                                .50
                                                                                                                                                                .47
                                                                                                                                                                .30




                                                                                                                                                                                                                                                                                                                                                                                             trast, name change status refers to whether the young person
                                                                                                                                                                                                                                                                                                                                                                                             with gender dysphoria had commenced this aspect of their
                                                                                                                                                                                                                                                                                                                                                                                             social transition. Second, Russell et al.’s sample was majority
                                                                                                                                                                 1.28
                                                                                                                                                                14.29
                                                                                                                                                                 1.73
                                                                                                                                                                 1.64
                                                                                                                                                                 3.37
                                                                                                                                                                 1.50
                                                                                                                                                                 1.33
                                                                                                                                                                 1.90




                                                                                                                                                                                                                                                                                                                                                                                             young adult (15–21), whereas ours was child and adolescent
                                                                                                                                             M




                                                                                                                                                                                                                                                                                                                                                                                             (4–17). Name change may not be associated with positive
                                                                                                                                                                                                                                                                                                                                                                                             mental health outcomes in our sample because: (1) our young
                                                                                                                                                                Social transition composite




                                                                                                                                                                                                                                                                                                                                                                 Note. *p < .05, **p < .01




                                                                                                                                                                                                                                                                                                                                                                                             people were school age (and schools have been identified as
                                                                                                                                                                                                                                                                                                                                                                                             a high-risk environment for harassment of gender variant
                                                                                                                                                                AFAB vs. AMAB




                                                                                                                                                                                                                                                                                                                                                                                             young people, Martín-Castillo et al. 2020); (2) our sample
                                                                                                                                                                Suicide attempt




                                                                                                                                                                                                                                                                                                                                                                                             would have more recently adopted a chosen name (a period
                                                                                                                                                                Name change




                                                                                                                                                                                                                                                                                                                                                                                             when backlash would presumably be higher); and (3) were a
                                                                                                                                                                Anxiety




                                                                                                                                                                                                                                                                                                                                                                                             clinical sample and thus may have had greater pre-existing
                                                                                                                                                                In role



                                                                                                                                                                Mood
                                                                                                                                                                Age




                                                                                                                                                                                                                                                                                                                                                                                             mental health vulnerabilities.


                                                                                                                                                                                                                                                                                                                                                                                                                                                   13
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Table 6  Logistic regressions                             Mood disorder                Anxiety disorder             Suicide attempt
predicting the likelihood of a
mood disorder, anxiety disorder,   Variable               β         p-value Exp (β) β            p-value Exp (β)    β        p-value Exp (β)
and suicide attempt in AFAB
versus AMAB referrals living       Model 1
in their birth-assigned gender     Step χ2(3)             25.83     < .001             4.40      .221               14.99    .002
role or affirmed gender role       Nagelkerke R2          .11                          0.21                         .11
(n = 288)
                                   AGAB                   − .02     .942      .98      − .09     .775     .92       − .15    .770      .86
                                   Age                    .27        < .001   1.30     .11       .055     1.12      .48      .005      1.62
                                   In role                − .04     .898      .96      − .01     .961     .99       .71      .188      2.04
                                   Model 2
                                   Step χ2(7)             32.78     .073               4.51      .991               15.54    .906
                                   Nagelkerke R2          .14                          .02                          .03
                                   AGAB                   − 1.15    .640      .32      − .16     .940     .85       3.18     .568      23.93
                                   Age                    .37       .306      1.45     .18       .556     1.19      .81      .386      2.24
                                   In role                4.29      .102      72.61    .67       .761     1.95      .45      .950      1.57
                                   AGAB × Age             .18       .186      1.20     .01       .951     1.01      − .24    .463      .79
                                   AGAB × In role         − .21     .232      .82      − .04     .752     .96       − .00    .998      1.00
                                   Age × In role          − .94     .152      .39      − .03     .967     .97       .20      .863      1.22
                                   Model 3
                                   Step χ2(8)             32.86     .769               5.55      .309             15.63
                                   Nagelkerke R2          .14                          .03                        .11
                                   AGAB                   1.84      .856      6.32     7.11      .340     1224.73 − 5.05     .870      .01
                                   Age                    .63       .509      1.87     .91       .266     2.48    .12        .965      1.12
                                   In role                6.40      .403      599.29   6.78      .307     874.00 − 5.40      .805      .01
                                   AGAB × Age             − .02     .978      .98      − .48     .330     .62     .29        .883      1.33
                                   AGAB × In role         − .35     .497      .71      − .46     .303     .63     .37        .790      1.45
                                   Age × In role          − 2.56    .637      .08      − 4.12    .312     .02     4.58       .776      97.64
                                   AGAB x Age × In role   .11       .764      6.32     .28       .310     1.32    -.28       .784      .76

                                   AGAB = Assigned Gender at Birth (1 = Female; 2 = Male); In role, Mood, Anxiety, Suicide Attempt
                                   (No = 1; Yes = 2)


   As reported in past studies among gender dysphoric                  finds that anxiety is more likely to onset in childhood than is
cohorts (Holt et al., 2016), we found that the risk of mood            depression or suicidality (Axelson & Birmaher, 2001; Rapee
difficulties and suicide attempts was higher in gender dys-            et al., 2009), and thus positive associations between anxiety
phoric adolescents than gender dysphoric children. Given               and age would be expected to be relatively weaker or perhaps
that psychiatric disorders (including anxiety disorders and            nonexistent in some samples.
depression) and suicidality often first onset in adolescence               Supporting previous observation (Holt et al., 2016), prepu-
(e.g., Kessler et al., 2005), this finding is not surprising, and      bertal and adolescent birth-assigned females were more likely
may simply reflect normative developmental processes that              to have socially transitioned prior to engagement with specialist
make adolescence a vulnerable period for psychopathology               gender services than birth-assigned males of equivalent age. One
in all adolescents. It is also possible, however, that the onset       possible explanation for this pattern of findings is that there is less
of adolescence in gender dysphoric young people might                  social cost associated with masculine self-presentation among
be a particularly high-risk period (above and beyond that              birth-assigned females than feminine self-presentation among
observed in cisgender samples) due to the development of               birth-assigned males (Shiffman, 2013). It was also notable that
secondary sex characteristics and additional demands related           almost half of those aged 4–12 were living in their affirmed gen-
to navigating one’s social environment as a gender diverse             der and had changed their name (either partially or fully) prior to
person. The failure to find an age-related increase in anxi-           contact with the service. In line with observations of Ehrensaft
ety disorders in our study was somewhat surprising, given              (2016) and recent empirical studies (e.g., Morandini et al., 2022),
that increased prevalence of anxiety from childhood to ado-            it appears that an increasing number of parents are facilitating
lescence has been reported in non-gender dysphoric sam-                social transition with their gender variant child prior to contact
ples (Ford et al., 2003). However, developmental literature            with specialist gender clinics.



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Table 7  Logistic regressions predicting the likelihood of a mood disorder, anxiety disorder, and suicide attempt in AFAB versus AMAB refer-
rals with their birth-assigned name versus affirmed name (n = 357)
                                   Mood disorder                       Anxiety disorder                     Suicide attempt
Variable                           β              p-value   Exp (β)    β            p-value    Exp (β)      β           p-value     Exp (β)

Model 1
Step χ2(3)                         29.27          < .001               3.53         .317                    14.14       .004
Nagelkerke R2                      .11                                 0.14                                 .08
AGAB                               − .07          .781      .93        − .17        .524       .84          − .30       .506        .75
Age                                .26             < .001   1.30       .08          .107       1.09         .36         .006        1.43
Name change                        .19            .429      1.21       .00          .986       1.00         .47         .233        1.61
Model 2
Step χ2(7)                         33.64          .224                 6.59         .382                    14.66       .915
Nagelkerke R2                      .12                                 .03                                  .08
AGAB                               − 3.31         .127      .04        .47          .806       1.60         1.76        .683        5.79
Age                                .06            .845      1.06       .03          .930       1.03         .73         .253        2.07
Name change                        1.19           .545      3.30       1.34         .481       3.82         1.57        .725        4.83
AGAB × Age                         .22            .091      1.25       .05          .682       1.05         − .16       .535        .85
AGAB × Name change                 − .02          .968      .98        − .92        .102       .40          .25         .777        1.29
Age × Name change                  − .07          .608      .94        − .01        .930       .99          − .09       .739        .91
Model 3
Step χ2(8)                         33.64          .997                 8.04         .227                    14.77
Nagelkerke R2                      .12                                 .03                                  .08
AGAB                               − 3.28         .621      .04        7.07         .236       1174.20      − 3.31      .841        .04
Age                                .06            .924      1.07       .73          .284       2.08         .27         .864        1.30
Name change                        1.22           .830      3.37       7.79         .185       2415.99      -2.56       .848        .08
AGAB × Age                         .22            .619      1.25       − .41        .315       .67          .17         .874        1.18
AGAB × Name change                 − .04          .992      .96        − 5.28       .168       .01          3.18        .728        23.96
Age × Name change                  − .07          .861      .94        − .45        .254       .64          .18         .839        1.19
AGAB × Age × Name change           .00            .997      1.00       .30          .246       1.35         − .19       .747        .83

AGAB = Assigned Gender at Birth (1 = Female; 2 = Male); Name Change, Mood, Anxiety, Suicide Attempt (No = 1; Yes = 2)


Limitations                                                                improvements in mental health related to social transition
                                                                           that subside with time.
There were limitations of the present study that should be                    The absence of longitudinal data (tracking the same
kept in mind when interpreting key findings. We did not                    individuals’ mental health status before and after social
have sufficient demographic data to determine whether our                  transition) leaves open the possibility that young people
sample was representative of clinic-referred samples of                    in our sample who socially transitioned were experienc-
gender variant youth and therefore how generalizable these                 ing more severe gender dysphoria than those who had not
findings are. Next, owing to our cross-sectional design,                   socially transitioned. As such, it might be the case that
we were not able to capture how benefits (or adversities)                  social gender transition had ameliorated distress in our
related to social transition might unfold overtime. For                    socially transitioned children and adolescents but that they
instance, it is possible that benefits of social transition                failed to demonstrate superior functioning than non-tran-
accrue slowly, perhaps over years, as a young person’s peer                sitioned peers, owing to their more severe presentations
and family environment progressively accommodate their                     at baseline. It is also possible that social transition alone
affirmed gender. Relatedly, it is possible that social adver-              without subsequent medical affirmation (e.g., puberty
sity is heightened in the early stages of social transition                suppression, gender affirming hormones, or surgery) is
(e.g., anxiety around passing, misgendering), canceling                    insufficient to treat gender dysphoria and that benefits
out benefits of greater gender congruence, with positive                   of social transition might occur once young people feel
effects on mental health only becoming evident as these                    more gender-congruent in their bodies or pass more easily
adversities subside or as coping strategies are developed.                 in their affirmed gender following hormone replacement
Alternatively, young people might experience temporary                     therapy or gender affirming surgeries. Finally, there is a


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Table 8  Logistic regressions predicting the likelihood of a mood disorder, anxiety disorder, and suicide attempt in AFAB versus AMAB refer-
rals based on the social transition composite (n = 357)
                                    Mood disorder                      Anxiety disorder                       Suicide attempt
Variable                            β          p-value     Exp (β)     β            p-value    Exp (β)        β          p-value      Exp (β)

Model 1
Step χ2(3)                          25.81      < .001                  4.46         .216                      15.86      .001
Nagelkerke R2                       .11                                .21                                    .11
AGAB                                − .02      .951        .98         − .11        .731       .95            − .03      .949         .97
Age                                 .27         < .001     1.31        .11          .055       .01            .47        .006         1.60
Social transition                   − .01      .949        .99         − .04        .812       .11            .50        .113         1.65
Model 2
Step χ2(7)                          31.09      .152                    4.64         .591                      16.53      .881
Nagelkerke R2                       .14                                .02                                    .12
AGAB                                .39        .572        .25         .41          .849       1.50           4.08       .477         59.08
Age                                 2.00       .331        1.48        .13          .707       1.14           1.21       .269         3.34
Social transition                   .16        .150        7.41        .25          .839       1.28           2.28       .582         9.78
AGAB × Age                          − .11      .228        1.18        − .00        .979       1.00           − .25      .431         .78
AGAB × Social transition            − .34      .251        .90         − .01        .936       1.00           − .11      .669         .90
Age × social transition             − 1.37     .359        .71         − .15        .680       .86            4.08       .925         .94
Model 3
Step χ2(8)                          31.16      .798                    7.06         .120                      16.65
Nagelkerke R2                       .14                                .03                                    .12
AGAB                                − 3.96     .706        .02         12.62        .135       303,893.51     − 6.27     .838         .00
Age                                 .16        .870        1.17        1.39         .140       3.99           .25        .931         1.29
Social transition                   1.03       .801        2.79        5.70         .146       297.50         − 1.83     .882         .16
AGAB × Age                          .34        .628        1.40        − .83        .141       .43            .40        .834         1.50
AGAB × Social transition            − .04      .886        .96         − .38        .152       .69            .15        .846         1.16
Age × Social transition             .41        .890        1.51        − 3.85       .124       .02            2.78       .736         16.03
AGAB × Age × social transition      − .05      .799        .95         .25          .133       1.29           − .18      .729         .84

AGAB = Assigned Gender at Birth (1 = Female; 2 = Male); Mood, Anxiety, Suicide Attempt (No = 1; Yes = 2)


need for caution when interpreting the association (or lack                related social support when assessing the mental health
thereof) between likelihood of suicide attempts and social                 consequences of social gender transition. Relevant to this
transition status in this study. To the extent that social tran-           latter possibility, Durwood et al.’s (2021) study, examin-
sition has an ameliorating effect on suicidality, all things               ing parent reports of 265 socially transitioned transgender
being equal, we may expect to see a reduced likelihood of                  youth, ages 3–15 (67.2% transgender girls, 32.8% transgen-
suicide attempts in the group who has undergone social                     der boys) found that parents who reported higher levels of
gender transition versus not undergone social transition.                  family, peer, and school support for their child’s transgender
However, it is possible that insufficient time has passed for              identity also reported fewer internalizing symptoms in their
social gender transition to influence suicidality particu-                 child. Moreover, peer and school support for the young per-
larly given suicide attempts are rare events. Second, if the               son’s transgender identity moderated the association between
socially transitioned group had higher or lower likelihood                 gender-related victimization and internalizing symptoms.
of suicide attempts prior to their social transition (than the             Such research will better identify how to avoid or ameliorate
group who did not social transition) this could lead to spu-               negative psychosocial experiences related to social transition.
riously attributing this difference to an intervention (social                Our assessment of social gender transition was also lim-
transition) which could not have generated this group dif-                 ited in a number of respects. Firstly, our sample was almost
ference. Again, longitudinal research is required before                   exclusively binary identified transgender young people (only
any confident claims regarding the relationship between                    7% identified as a non-binary), and thus        our assessment
social gender transition and suicide attempts can be made.                 of social gender transition was designed with this population
   Future studies should also measure the moderating influ-                in mind. It is unclear what a “full” or “partial” transition
ence of transition related discrimination and transition                   looks like for a non-binary individual. In this type of social


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transition, the goal may be to incorporate some mixture of           people through social gender transitioned related stressors
masculine and feminine presentation or to achieve fluidity in        (e.g., concealment stress, transphobia, misgendering, and
gender presentation across contexts. Future studies should           adjustment of family, peer, and community to the young per-
not only aim to examine how social transition may impact             son’s gender) is indicated. Clinically we have observed par-
well-being in non-binary populations (separated out from             ents of transgender children lament that their child’s distress
binary transgender patients) but also identify more accurate         should have resolved (or resolved more so) now that they
ways of operationalizing and measuring what social gender            have socially transitioned. Although this perspective may be
transition means in non-binary pediatric patients. This is           an outlier, we believe it may be present more broadly in clini-
important given that non-binary identities are increasingly          cians, educators, and parents with only passing familiarity
prevalent in emerging cohorts of gender variant youngsters           with struggles of young people with gender dysphoria. The
(Tollit et al., 2023).                                               present data may encourage relevant parties to set realistic
   Next, mood and anxiety difficulties were assessed as              expectations regarding social gender transition (including the
absent or present based on clinician ratings and relevant            need for ongoing parental and clinical care) and encourage a
referral information. This approach lacks standardization and        more holistic understanding of the young persons’ struggles
sensitivity to detect differences in psychological functioning       that also acknowledges how social gender transition may alle-
between socially transitioned and non-transitioned patients,         viate one set of challenges (e.g., alleviate felt gender incon-
which exist in the non-clinical range (Durwood et al., 2017;         gruence) while introducing some others (e.g., transphobia,
Olson et al., 2016). Future studies should utilize standard-         concealment/passing stress)—requiring clinical support of a
ized clinical interviews, as well as standardized self- and          different type (e.g., assertiveness training). Again, we stress
parent-report scales, when assessing psychological outcomes          that the present findings do not suggest that social gender
of social transition to increase sensitivity to detect differences   transition will not have positive impacts for some children/
in mental health if they are present.                                adolescents in the short term or that it may not have posi-
                                                                     tive effects on well-being in the longer term. We would urge
Clinical Implications                                                these findings not directly inform treatment without weigh-
                                                                     ing findings from other relevant research, including those
We stress the importance of not over interpreting cross-sec-         demonstrating possible benefits of social gender transition
tional data such as that presented in this study—nor drawing         (Durwood et al., 2017; Kuvalanka et al., 2017; Olson et al.,
overly simplistic conclusions from our data (e.g., “social gen-      2016).
der transition has no benefit”). It is possible that although our        It would be negligent of us not to acknowledge other inter-
socially transitioned patients did not demonstrate superior          pretations of the null effects of social transition on the men-
well-being compared to their non-transitioned counterparts,          tal health of young people in our study. Some might argue
they were nevertheless functioning better (either in terms           that our failure to demonstrate an association between social
of mood/anxiety or gender dysphoria severity, or both) than          transition status and mental health outcomes is due to social
their own prior functioning pre-social transition. It is also        transition not effectively ameliorating distress in the short,
possible that benefits of social transition were not captured        medium, or long-term for a substantial proportion of gen-
in the present study for other reasons; for instance, they might     der dysphoric children and adolescents. While there was no
not have had time to emerge or were canceled out by stresses         evidence that social transition had deleterious effects on the
related to adjustment in the short term (even though socially        mental health of young people in our study, some may argue
transitioned cohorts may demonstrate superior functioning            that in the absence of positive benefits of social transition
in the longer term).                                                 initiating early social transitions should be approached with
    So, what may be a take home for parents, clinicians, and         caution. Some authors have warned of possible "iatrogenic"
educators? Our data suggest that social gender transition            effects of early social transition, based on data suggesting
may not render immediate and dramatic alleviation of mental          childhood social transition is associated with an increased
health difficulties for all or most children/adolescents suf-        likelihood of persistence of gender dysphoria (Steensma
fering with gender dysphoria. If it did, we would expect to          et al., 2011, 2013) into adolescence and adulthood. Given
have found some lower prevalence of anxiety or depression            a body of data suggests that the majority of cases of child-
in our socially transitioned group. Perhaps our study hints          hood onset gender dysphoria desist before adulthood (Singh
that social gender transition alone, at least in the short term,     et al., 2021; Zucker, 2018, 2020), early social transition may
is no panacea to mental health struggles of young people             increase the likelihood that gender dysphoria will persist and
with gender dysphoria and that clinicians and parents should         that hormonal and/or surgical transition will be required to
not expect immediate symptom alleviation specific to gender          alleviate gender-related distress. It should be stressed that it
dysphoria or related to mental health more generally. Ongo-          is beyond the scope of the present study to lend to support to
ing contact with mental health services to support young             this or other interpretations of the data.


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 Original Research




 Gender-affirming treatment and mental health diagnoses in
 Danish transgender persons: a nationwide register-based
 cohort study
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 Abstract
 Importance: Gender affirming treatment aims to improve mental health.
 Objective: To investigate longitudinal mental health outcomes in Danish transgender persons.
 Design: National register-based cohort study in Danish transgender persons with diagnosis code of “gender identity disorder” during the period
 2000-2021.
 Participants: Five age-matched controls of the same sex at birth and five age-matched controls of the other sex at birth were included for each
 transgender person.
 Main outcomes: Diagnosis codes of mental and behavioral disorders and/or prescription of psychopharmacological agents until June 2022.
 Results: The cohort included 3812 transgender persons with median age (interquartile range) 19 (15; 24) years for persons assigned female at
 birth (AFAB, N = 1993) and 23 (19; 33) years for persons assigned male at birth (AMAB, N = 1819) and 38 120 controls. Follow up duration was up
 to 10 years with mean (standard deviation) 4.5 (4.3) years. In transgender persons AFAB compared to control women, the odds ratio (OR) (95%
 confidence interval) for mental and behavioral disorders was 6.7 (5.5; 8.1) before the index date, 9.9 (8.4; 11.7) at 1 year, 5.8 (4.4; 7.7) at 5 years,
 and 3.4 (2.1; 7.5) at 8 years follow up. In transgender persons AMAB compared to control men, corresponding ORs were 5.0 (4.0; 6.4), 11.3 (9.3;
 13.7), 4.8 (3.5; 6.5), and 6.6 (4.2; 10.3) at 8 years follow up (all P < .001).
 Conclusion: The OR for mental health disorders was higher in transgender persons compared to controls and remained elevated throughout
 follow up, especially in transgender persons AMAB.
 Keywords: transgender, register based, depression, suicide, mental health, medicine prescription, gender-affirming surgery, gender-affirming hormone


     Significance

     The number of referrals for transgender care continues to increase and the main aim of gender-affirming treatment is to
     improve mental health. We investigated longitudinal outcomes of diagnosis codes of mental and behavioral disorders
     and prescription of psychopharmacological agents in 3812 Danish transgender persons following their first diagnosis of
     transgender identity. We found that the odds ratio for mental health disorders was more than five times higher in transgender
     persons compared to controls at baseline. The risk for mental and behavioral disorders in transgender persons increased
     rapidly during the first year after the index date followed by a decreasing trend, but the odds ratio remained elevated
     throughout follow-up, especially in transgender person’s assigned male at birth.




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Introduction                                                       Study population
The term transgender describes persons whose gender identity       Danish transgender persons were included according to na­
differs from the birth-assigned sex.1 The proportion of trans­     tional registers. We included persons aged 3 years or older
gender persons is estimated to be 0.6%-1.1% in Europe.2,3          with the ICD-10 diagnosis code of transgender during
Gender dysphoria is associated with a 2- to 3-fold higher          2000-2021 in the National Patient Register. The diagnosis co­
risk of mental illness including depression and anxiety com­       des F64-F649 (“transsexual, gender identity disorder”) were
pared with cisgender controls and prevalence of suicide at­        used from 2000 to 201720 and the diagnosis codes
tempts in transgender study populations approaches 50%.4–6         DZ768E-DZ768E4 (“contact regarding gender identity con­
   The aim of gender-affirming care is to add to improving         dition”) were applied after 2017. Persons should have a valid
mental health.5,7 Limited prospective studies on mental health     Danish address at the time of inclusion. The index date was de­
outcomes are available in representative study cohorts of          fined as the first date of transgender diagnosis within the study
transgender persons.5,8,9 Prospective studies of up to 2 years     period.




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duration documented decreased depression scores after initi­
ation of gender-affirming hormone treatment, whereas meas­         Controls
ures of anxiety were unchanged.9,10 In a recent Swedish            Five age-matched controls of the same sex at birth and 5 age-
register-based study,8 a health care visit due to mood and anx­    matched controls of the other sex at birth were drawn for each
iety disorder was 6 times more likely in 2679 persons with gen­    transgender person from the Danish Civil Registration system.
der incongruence diagnosis compared to the general                 The controls were born in the same year and should be alive at
population. Years since initiating of gender-affirming hor­        the index date of their respective matched transgender person.
mone treatment was not related to likelihood of mental health      The controls could not be included in the transgender group at
treatment (adjusted odds ratio (OR) = 1.01, 95% confidence         the time of inclusion but were able to enter the transgender
interval (CI) = 0.98, 1.03), whereas longer time since last        group later. Each control could only be included once.
gender-affirming surgery was associated with reduced mental        Controls were assigned the index date of their matched trans­
health treatment (adjusted OR = 0.92, 95% CI = 0.87, 0.98).8       gender person.
The design of the study has been discussed11 and the findings         Assigned sex at birth in the transgender study cohort was
by Bränström et al. remain to be reproduced in other national      determined as the earliest recorded CPR-encoded sex.
study cohorts.                                                     Transgender persons were divided into persons AMAB
   The annual number of persons seeking health care due to         (most often transgender women) and persons assigned female
gender identity-related conditions continues to increase.2,4 In    sex at birth (AFAB, most often transgender men). In Denmark,
Denmark, evaluation of gender dysphoria is highly specialized      a citizen can apply for legal sex-change after the age of 18
and takes place at three Danish Centers of Gender Identity.12      years. Misclassification of assigned sex at birth could
Danish transgender care follows international guidelines and       occur in persons immigrating to Denmark after sex-change
initiation of gender-affirming treatment is proceeded by psy­      abroad. Misclassification could also occur in individuals
chological evaluation.1,13 Gender-affirming hormone treat­         with a transgender diagnosis or legal sex-change before
ment is most often initiated before gender-affirming               year 2000. Therefore, persons with surgical codes of
surgery.1,13,14                                                    salpingo-oophorectomy and/or hysterectomy were defined as
   The objective of this study was to investigate mental health    AFAB, persons with a diagnosis codes of penis amputation
outcomes after initiation of gender-affirming care in Danish       and/or orchiectomy were defined as AMAB, which resulted
transgender persons.                                               in correction of assigned sex in 5 individuals (Figure 1).


Methods                                                            Definition of study parameters
                                                                   The primary study outcome was mental and behavioral disor­
The study was a register-based cohort study. In Denmark, a         ders diagnosed according to ICD-10 (primary and secondary
unique social security number (central person register, CPR)       diagnosis) or the use of psychopharmacological agents.
is issued to all citizens at birth or upon immigration to             Mental and behavioral disorders were defined by the
Denmark. The CPR individually enables linkage of data              ICD-10 codes F32-F33 (depression), F40-F41 (anxiety),
from all Danish health and social care registers.15,16 The         X60-X84 (intentional self-harm), F10-F19 (psychoactive sub­
National Patient Register includes data on all somatic in­         stance use), F20-F29 (psychotic disorders), F30-F31, and
patient hospital contacts in Denmark since 1977, psychiatric       F34-F39 (bipolar and mood disorders) from hospital contacts.
inpatient hospital contacts in Denmark since 1995, and out­           Use of psychopharmacological agents was defined as more
patient contacts since 1995.17 The National Patient Register       than one prescription and redemption of antidepressants
was used to extract International Classification of Diseases       (N06A), anxiolytics (N05B), or antipsychotics (N05A).
(ICD-10) diagnosis codes and dates for contacts. The Civil            Results regarding the study outcomes on ICD10 diagnosis
Registration System was established in 1968 and was used           codes on mental and behavioral disorders and medicine pre­
to extract data on sex, age, death date, and emigration            scriptions were presented as separate analyses instead of con­
date.16 The Danish Income Statistics Register includes the in­     structing a pooled study outcome.
come of anyone economically active in Denmark.18 The
National Prescriptions Registry contains a complete record
of Anatomic Therapeutic Chemical (ATC) code, date drug             Covariates
was dispensed, and number of drug packets for all prescrip­        Age was calculated at the index date.
tions filled at Danish pharmacies issued by prescribers, general     Personal income was extracted from the Income Statistics
practitioners, or specialists since 1995.19                        Register18 in the calendar year of the index date (or the first
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Figure 1. Flowchart of included study cohort. AFAB, assigned female at birth; AMAB, assigned male at birth.




calendar year before in case of missing income information)                 Statistical analyses
and included information on the available average income                    Baseline characteristics in transgender persons were presented
after tax and interest (including salary, retirement benefits,              as frequencies for categorical variables and compared using
welfare payment, remuneration, company profits, etc.). The                  chi-squared test. When estimating the incidence of study out­
income was categorized into tertiles (high, middle, low) within             comes, subjects were considered at risk from the index date.
age groups with 5-7 years intervals.                                        The study population was followed until first occurrence of
   Presence of medical morbidity (defined as Charlson co­                   death, emigration, or end of study (December, 31, 2021),
morbidity index ≥1) was defined from hospital diagnoses                     and for controls becoming cases until index date. The propor­
within 5 years before the index date. The Charlson comorbid­                tions of hospital contacts with psychiatric diagnoses and pre­
ity index is based on 19 medical conditions21 and was calcu­                scribed psychopharmacological agents were calculated within
lated from the ICD-10 operationalization by Quan et al.22,23                periods of years from the index date. The probability of hos­
   The event of gender-affirming hormone treatment was de­                  pital contacts with psychiatric diagnoses and prescribed psy­
fined as a prescription followed by at least one purchase of                chopharmacological agents for cases compared with controls
feminizing and/or masculinizing treatment7,12–14 following                  was calculated within periods of years from the index date us­
the index date. The use of gender affirming hormone treatment               ing generalized estimating equations (GEE) with independent
(GAHT) in Danish transgender persons until year 2018 has                    within-group correlation structure and binomial distribution.
been published recently.13                                                  The probability of hospital contacts with psychiatric diagnoses
   The event of gender-affirming surgery was defined as surgi­              and prescribed psychopharmacological agents for cases and
cal procedure codes for top or genital surgery, chondrolan­                 controls over time were calculated within periods of years
gyngoplasty, and liposuction following the index date.                      from the index date compared with 2 years before the index
According to Danish legislation, gender-affirming surgery                   date using GEE with exchangeable within-group correlation
could only occur after the age of 18 years.                                 structure and binomial distribution.


                                                                            Sensitivity analysis
Ethics                                                                      In main analyses, ICD-10 diagnosis codes for mental and be­
No approval is necessary from the local Ethics committee or                 havioral disorders could occur as primary or secondary diag­
Institutional Review Board on register studies according to                 nosis. However, transgender persons could have hospital
Danish law. The study complied with the Helsinki                            contacts for somatic diseases where mental and behavioral dis­
Declaration. The Data Protection Agency and Statistics                      orders were not the primary reason for hospital contact.
Denmark approved the study with details published with                      Transgender persons undergo psychological assessment be­
OPEN ID: 939 https://open.rsyd.dk/OpenProjects/open                         fore initiation of gender-affirming hormone treatment, which
Project.jsp? openNo=939&lang=da                                             can result in surveillance bias and over-diagnosis of mild
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Table 1. Baseline characteristics of Danish transgender cohort and controls and diagnoses of mental and behavioral disorders and use of
psychopharmacological before the index date.

                                             Transgender AFAB Control women Control men Transgender AMAB Control men Control women
                                                 N = 1993       N = 9965     N = 9965       N = 1819      N = 9095     N = 9095
Baseline
  Age, median (IQR)                                   19                  19           19                     23                   23                23
                                                    (15;24)            (15;24)      (15;24)                 (19;33)             (19;33)            (19;33)
  Morbidity (yes)                                     88                 298          257                     78                  311                340
                                                    (4.4%)            (4.0%)NS     (3.6%)NS                 (4.3%)             (4.8%)NS          (4.8%)NS
  Income low tertile                                  931           3456 (34.7%) 3500 (35.1%)            1003 (55.1%)        3044 (33.5%)           3152
                                                   (46.7%)                                                                                        (34.7%)
  Income middle tertile                               725           3607 (36.2%) 3169 (31.8%)                 513            2697 (29.7%)           3272




                                                                                                                                                                  Downloaded from https://academic.oup.com/ejendo/article/189/3/336/7261571 by NIH Library user on 08 February 2024
                                                   (36.4%)                                                  (28.2%)                               (36.0%)
ICD-10 mental and behavioral disorders
  Depression (F32-F33)                               290                 286              110                  193                126              311
                                                  (14.6%)              (2.9%)           (1.1%)              (10.6%)             (1.4%)           (3.4%)
  Anxiety (F40-F41)                                  220                 189               91                  117                 95              189
                                                  (11.0%)              (1.9%)           (0.9%)               (6.4%)             (1.0%)           (1.9%)
  Psychoactive substance use (F10-F19)                83                 147              184                   97                217              172
                                                   (4.2%)              (1.5%)           (1.8%)               (5.3%)             (2.4%)           (1.9%)
  Psychotic (F20-F29)                            186 (9.3%)           87 (0.9%)        98 (1.0%)           147 (8.1%)         103 (1.1%)        89 (1.0%)
  Bipolar and mood (F30-F31, F34-F39)                 35                  31               18                   29                 30               47
                                                   (1.8%)              (0.3%)           (0.2%)               (1.6%)             (0.3%)           (0.5%)
  Intentional self-harm (X60-X84)                     51                  47               14                   21                 15              53*
                                                   (2.6%)              (0.5%)           (0.1%)               (1.2%)             (0.2%)           (0.6%)
Any psychiatric diagnosis                            573                 599              404                  447                449              630
                                                  (28.8%)              (6.0%)           (4.1%)              (24.6%)             (4.9%)           (6.9%)
ATCa
 Antidepressants (N06A)                               412                 528              306                 331                 422              797
                                                   (20.7%)              (5.3%)           (3.1%)             (18.2%)              (4.6%)           (8.8%)
  Anxiolytics (N05B)                                   54                  85               64                 60                  116             221*
                                                    (2.7%)              (0.9%)           (0.6%)              (3.3%)              (1.3%)           (2.4%)
  Antipsychotics (N05A)                               193                 179              164                 180                 199              197
                                                    (9.7%)              (1.8%)           (1.6%)              (9.9%)              (2.2%)           (2.2%)
Any psychopharmacological use                         489                 621              433                 436                 576              960
                                                   (24.5%)              (6.2%)           (4.3%)             (24.0%)              (6.3%)          (10.6%)

Baseline characteristics include morbidity, diagnoses of depression, and medication history 5 years before the index date. Transgender cohort is divided
according to assigned gender at birth. Morbidity is defined as Charlson comorbidity index ≥1 5 years before the index date. Statistical analyses were performed
in AFAB vs. control women, AFAB vs. control men, AMAB vs. control men, and in AMAB vs. control women. All P-values <0.001 except *P < .05, NS: P > .05.
Bold refers to sum of any psychiatric diagnoses and sum of any psychofarmacologial use.
a
  ≥2 redemptions of medicine.
Abbreviations: AFAB, assigned female at birth; ATC, anatomical therapeutic chemical code; IQR, interquartile range.



mood/anxiety/substance abuse disorders in the transgender                           Data management and data analyses were conducted using
study population and mental health disorders could be under-                      Stata MP 17.0 through a remote virtual private network access
reported in the control group. Therefore, we conducted a sen­                     to Statistics Denmark with analysts blinded to the personal
sitivity analysis, allowing only primary diagnoses for mental                     identities of the study subjects.
and behavioral disorders as study outcome.
   The primary study outcome included ICD-10 diagnosis co­                        Results
des for several mental and behavioral disorders. We investi­
gated number of hospital contacts for suicide attempts                            A flowchart of the Danish transgender population is shown in
(X60-X84) during follow-up as a sensitivity analysis.                             Figure 1. The transgender cohort included 3812 individuals,
   In Denmark, organization of gender-affirming treatment                         1993 (52%) were AFAB, and 1819 (48%) were AMAB.
differs between child and adolescent transgender persons
and adult transgender persons. Therefore, we conducted a sen­                     Baseline
sitivity analysis including only adult transgender persons aged                   The median age (interquartile range) at the index date was 19
at least 18 years old at the time of their first diagnosis code of                (15; 24) years in transgender persons AFAB and 23 (19; 33) years
transgender.                                                                      in AFAB individuals (Table 1). Medical morbidity (Charlson co­
   Danish legislation was changed during the study period. In                     morbidity index ≥1) was present 5 years before the index date in
2014, Denmark allowed legal sex-change independent of geni­                       4.4% of persons with AFAB and 4.3% of persons with AMAB.
tal surgery and in 2015, the Danish national guideline was re­                    The number of persons with low tertile income was 46.7% in
vised with focus on shortened evaluation period and wider                         persons with AFAB and 55.1% in persons with AMAB.
access to gender-affirming treatment. Therefore, we con­                             Diagnosis codes for mental and behavioral disorders from
ducted a sensitivity analysis including only transgender per­                     5 years before the index date are presented in Table 1. The fre­
sons with first diagnosis code of transgender from January,                       quency of any psychiatric diagnosis was 28.8% in transgender
1, 2015 and onward.                                                               persons AFAB, 6.0% in control women, and 4.1% in control
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Figure 2. Number and proportion of psychiatric diagnoses and use of psychopharmacological agents before and after the index date in transgender
persons and controls. Number and proportion of psychiatric diagnoses (top panels) and use of psychopharmacological agents (lower panels) in
transgender persons and controls before the index date and until 10 years of follow-up. Index date = date of first transgender (TG) diagnosis. TG AFAB,
Transgender person assigned female at birth; TG AMAB, Transgender person assigned male at birth.


men. In transgender persons AMAB, the prevalence was                           CI: 9.3; 13.7) at 1 year, 4.8 (95% CI: 3.5; 6.5) at 5 years,
24.6%, in control men 4.9% and in control women 6.9%                           and 6.6 (95% CI: 4.2; 10.3) at 8 years follow-up.
(all P < .001 vs. controls). Prescription of psychopharmaco­                     The OR for psychiatric diagnoses compared to the pre-
logical agents was present in 24.5% of transgender persons                     index date is presented in Figure 3. In persons AFAB, the
with AFAB and 24.0% in persons with AMAB (all P < .001                         OR at 1 year was 2.4 (95% CI: 2.0; 2.8), at 5 years 1.6
vs. controls).                                                                 (95% CI: 1.3; 2.0), and at 8 years 1.1 (95% CI: 0.8; 1.5) com­
                                                                               pared to 2 years before baseline. In persons AMAB, the corre­
                                                                               sponding ORs were 3.0 (95% CI: 2.5; 3.6), 1.5 (95% CI: 1.2;
Follow-up                                                                      2.0), and 1.7 (95% CI: 1.3; 2.3).
The follow-up duration of the study cohort was up to 10 years
with mean (SD) follow-up duration of 4.5 (4.3) years; AFAB
3.6 (3.4) and AMAB 5.3 (4.8) years.                                            Prescription of psychopharmacological agents
                                                                               The proportion of transgender persons AFAB with a prescrip­
                                                                               tion of psychopharmacological agents was 19.6% before the
Psychiatric diagnoses                                                          index date, 29.7% 1 year after the index date, 35.0% after
The proportion of persons with hospital contacts for psychiatric               5 years and 39.0% after 8 years, Figure 2. In transgender per­
diagnoses in the study cohort from 2 years before the index date               sons AMAB, the corresponding proportions were 17.6%,
and until 10 years of follow-up is presented in Figure 2. The                  25.8%, 30.8%, and 30.5%. The OR for the prescription of
proportion of transgender persons AFAB with psychiatric diag­                  psychopharmacological agents in transgender persons com­
noses was 13.6% before the index date, 27.2% 1 year after the                  pared to controls is presented in Appendix Figure S1. In persons
index date, 16.2% after 5 years, and 8.4% after 8 years. In                    AFAB compared to control women, the OR for prescription of
transgender persons AMAB, the corresponding proportions                        psychopharmacological agents was 4.8 (95% CI: 4.1; 5.6) be­
were 8.9%, 22.1%, 10.4%, and 11.0%.                                            fore the index date, 5.7 (95% CI: 5.0; 6.6) at 1 year, 4.4
   The OR for psychiatric diagnoses in transgender persons                     (95% CI: 3.6; 5.4) at 5 years and 3.8 (95% CI: 2.9; 5.1) at 8
compared to controls is presented in Appendix Figure S1. In                    years follow-up. In transgender persons AMAB vs. control
persons AFAB compared to control women, the ORs (95%                           men, the corresponding ORs were 3.9 (95% CI: 3.3; 4.6), 5.0
CI) for mental and behavioral disorders were 6.7 (95% CI:                      (95% CI: 4.3; 5.8), 4.6 (95% CI: 3.7; 5.6), and 4.0 (95% CI:
5.5; 8.1) before the index date, 9.9 (95% CI: 8.4; 11.7) at                    3.1; 5.3). The OR for prescription of psychopharmacological
1 year, 5.8 (95% CI: 4.4; 7.7) at 5 years, and 3.4 (95% CI:                    agents compared to the pre-index date is presented in
2.1; 7.5) at 8 years follow-up. In persons AMAB compared                       Figure 3. In persons AFAB, the OR at 1 year was 1.8 (95%
to control men, the ORs for mental and behavioral disorders                    CI: 1.6; 2.0), at 5 years 2.3 (95% CI: 2.0; 2.7) and at 8 years
was 5.0 (95% CI: 4.0; 6.4) before the index date, 11.3 (95%                    2.5 (95% CI: 2.1; 3.1) compared to 2 years before baseline.
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Figure 3. Probability of psychiatric diagnoses and use of psychopharmacological agents in transgender persons and controls compared to before the
index date. Odds ratio (interquartile range) for psychiatric diagnoses (top panels) and use of psychopharmacological agents (lower panels) in transgender
persons and controls during follow-up compared to 2 years before the index date. Index date = date of first transgender (TG) diagnosis. TG AFAB,
Transgender person assigned female at birth; TG AMAB, Transgender person assigned male at birth.


In persons AMAB, the corresponding ORs were 1.7 (95% CI:                        corresponding ORs were 1.3 (95% CI: 1.1; 1.5), 2.0 (95%
1.5; 1.9), 2.1 (95% CI: 1.8; 2.4), and 1.8 (95% CI: 1.5; 2.2).                  CI: 1.6; 2.4), and 1.8 (95% CI: 1.4; 2.3).
   Gender-affirming hormone therapy was prescribed in 2089                         Gender-affirming surgery was performed on 752 trans­
transgender persons (1046 AFAB and 1043 AMAB). The aver­                        gender persons. Due to limited follow-up duration after the
age follow-up duration from the index date to prescription of                   date of surgical procedures, the hypothesis that gender-
gender-affirming hormone therapy was 1.8 (95% CI: 1.7; 1.9)                     affirming surgery improved mental health in the study cohort
years in persons AFAB and 1.2 (95% CI: 1.0; 1.3) years in per­                  could not be investigated (data not presented).
sons AMAB. Statistical analyses were repeated with a date for
the first prescription of gender-affirming hormone therapy as                   Sensitivity analysis
the index date (Appendix Figure S2). In transgender persons
AFAB, the OR for psychiatric diagnoses compared to 2 years                      Mental and behavioral disorders as primary diagnoses
before initiation of GAHT was 1.0 (95% CI: 0.8; 1.3) after                      Analyses were repeated where ICD-10 codes for mental and
1 year, 1.1 (95% CI: 0.8; 1.5) at 5 years and 1.0 (95% CI:                      behavioral disorders should occur as a primary diagnosis to
0.6; 1.6) at 8 years. In persons AMAB, the corresponding                        be included as a study outcome. The proportion of trans­
ORs were 1.5 (95% CI: 1.2; 2.0), 1.5 (95% CI: 1.1; 2.1),                        gender persons AFAB with psychiatric diagnoses was 9.4%
and 1.5 (95% CI: 1.0; 2.3). In transgender persons AFAB,                        2 years before the index date, 11.8% 1 year after the index
the OR for the prescription of psychopharmacological agents                     date, and 11.8% after 5 years. In transgender persons
compared to before initiation of GAHT was 1.3 (95% CI: 1.1;                     AMAB, the corresponding proportions were 6.7%, 10.9%,
1.5) after 1 year, 2.0 (95% CI: 1.6; 2.5) at 5 years and 1.8                    and 7.8%. In transgender persons AFAB, the OR for psychi­
(95% CI: 1.4; 2.4) at 8 years. In persons AMAB, the                             atric diagnoses compared to 2 years before the index date
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was 1.5 (95% CI: 1.2; 1.8) after 1 year and 1.7 (95% CI: 1.3;       we found no evidence that inclusion of young and adolescent
2.1) at 5 years. In persons AMAB, the corresponding ORs             persons in the dataset affected our study results.
were 1.9 (95% CI: 1.5; 2.3) and 1.4 (95% CI: 1.1; 1.9).                The present data add significant results to findings from a
                                                                    Swedish register-based study11 investigating ICD-10 diagnosis
Suicide attempts                                                    codes for mood (ICD-10 codes F30-F39) and anxiety
The number of hospital contacts for suicide attempts                (F40-F42) disorders, admission for suicide attempts (codes
(X60-X84) during follow-up was 510 (97 individuals) in per­         X60-X84) and prescription of antidepressant and anxiolytic
sons AFAB and 198 (47 individuals) in persons AMAB, which           medication (codes N06A and N05B) in transgender persons
made the study underpowered to investigate changes in hos­          compared to controls. Of notice, the control population in­
pital contacts over time.                                           cluded the background population in Sweden, which implied
                                                                    a median age of 31.5 years in transgender persons compared
                                                                    to 40.7 years in controls, furthermore, transgender persons




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Transgender persons aged ≥18 years at first referral                were not divided according to assigned gender at birth, and
The study cohort included 2670 transgender persons (1174            study outcomes had to occur in year 2015 to be included.11
AFAB, 1496 AMAB) referred after the age of 18 years. In             In the present study, the ORs for all study outcomes of mental
transgender persons AFAB, the OR for psychiatric diagnoses          health were higher during follow-up in transgender persons
compared to 2 years before the index date was 1.5 (95% CI:          AFAB and AMAB compared to controls, which corresponded
1.2; 1.9) after 1 year, 1.2 (95% CI: 0.8; 1.6) at 5 years, and      to findings by Bränström et al.11 We found that the OR for
1.1 (95% CI: 0.7; 1.7) at 8 years. In persons AMAB, the cor­        mental and behavioral disorders increased after the index
responding ORs were 2.4 (95% CI: 1.8; 3.1), 1.3 (95% CI:            date and then gradually decreased following 1 year after the
0.9; 1.8), and 1.5 (95% CI: 1.0; 2.3). In transgender persons       index date in transgender persons AFAB compared to control
AFAB, the OR for prescription of psychopharmacological              women, whereas the ORs for mental and behavioral disorders
agents compared to before the index date was 1.5 (95% CI:           reached a plateau in transgender persons AMAB. We con­
1.3; 1.8) after 1 year, 1.5 (95% CI: 1.2; 1.9) at 5 years and       ducted a sensitivity analysis including only the events where
1.9 (95% CI: 1.4; 2.5) at 8 years. In persons AMAB, the cor­        mental health disorders were coded as primary diagnosis.
responding ORs were 1.4 (95% CI: 1.1; 1.6), 1.8 (95% CI:            The 5-year results of these analyses were comparable to the
1.5; 2.2), and 1.5 (95% CI: 1.2; 1.9).                              main analyses, but the initial rise in events of mental health
                                                                    diagnoses at 1 year disappeared. This finding supports that
Transgender persons with first referral after January, 1, 2015      systematic psychological evaluation after referral to a center
The study cohort included 2952 persons referred after               of gender identity will increase awareness of mental health dis­
January, 1, 2015 (1622 AFAB, 1330 AMAB). In this study co­          orders in transgender individuals. Interestingly, ORs for men­
hort, transgender persons AFAB had OR for psychiatric diag­         tal health outcomes in this study were stable after initiation of
noses compared to 2 years before the index date of 2.3 (95%         gender-affirming hormone treatment, without sign of decrease
CI: 2.0; 2.7) after 1 year and 2.2 (95% CI: 1.7; 2.8) at 5 years.   after the date for first prescription of gender-affirming hor­
In persons AMAB, the corresponding ORs were 2.7 (95% CI:            mone. In accordance with this, Bränström et al.11 reported
2.2; 3.3) and 2.3 (95% CI: 1.7; 3.2). In transgender persons        that years since the initiation of hormone treatment were not
AFAB, the OR for prescription of psychopharmacological              significantly related to the likelihood of mental health treat­
agents compared to before the index date was 1.9 (95% CI:           ment (adjusted OR = 1.01, 95% CI = 0.98, 1.03). However,
1.7; 2.2) after 1 year and 2.7 (95% CI: 2.2; 3.3) at 5 years.       Bränström et al. did not divide or stratify the study cohort ac­
In persons AMAB, the corresponding ORs were 1.8 (95%                cording to masculinizing vs. feminizing treatment,11 which
CI: 1.5; 2.1) and 2.9 (95% CI: 2.3; 3.6).                           could have affected their study results. Time since the last sur­
                                                                    gical treatment significantly reduced the risk of mental health
                                                                    outcomes (adjusted OR = 0.92, 95% CI = 0.87, 0.97)11 and
Discussion                                                          the likelihood of being treated for mood or anxiety disorder
In this register-based study, we investigated mental health out­    was reduced by 8% for each year since last gender-affirming
comes from hospital contacts and prescribed medications in          surgery. In the present study, we did not have power to inves­
Danish transgender persons after contact with a national cen­       tigate changes in mental health after gender-affirming surgery.
ter of gender identity. The present dataset was unique as we        The mean follow-up duration of this study was 4.5 years,
could access hospital contacts for mental health diagnoses          which resulted in a limited number of performed surgical pro­
and use of psychopharmacological agents in a national study         cedures. In Denmark, genital constructive surgery is per­
cohort of transgender persons in a longitudinal perspective.        formed at one center only, and at least 12 months of
Our data showed that the risk for mental and behavioral dis­        hormone treatment and comprehensive multidisciplinary
orders in transgender persons increased rapidly during the first    counseling are needed before the patient is registered on a
year after the index followed by a decreasing trend.                waiting list for surgery.1,24 The present study design therefore
Furthermore, the OR for mental and behavioral disorders in          needs to be repeated with updated data extraction within the
transgender persons and controls remained elevated through­         next 5-10 years to allow longer follow-up and investigate
out follow-up compared to 2 years before diagnosis, especially      the hypothesis that gender-affirmation surgery is associated
in transgender persons AMAB. The proportion of transgender          with a lower risk of mental health diagnoses in Danish trans­
persons with prescription of psychopharmacological agents           gender persons.
increased from <20% at baseline to more than 30% who                   We observed that OR for psychiatric diagnoses before the
had prescriptions during follow-up. Transgender persons at­         index date was more than 5 in transgender persons compared
tending transgender care after the year 2015 showed similar         to controls, the proportion of transgender persons with a diag­
findings compared to the whole study cohort. Furthermore,           nosis of mental and behavioral disorders was 26%, and
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prescription of psychopharmacological agents before the in­        mental health outcomes between transgender women and
dex date was observed in 24%. These findings are in agree­         transgender men are highly needed.
ment with previous studies reporting significantly impaired
mental health in transgender study populations before trans­       Strengths and limitations
gender care with prevalence of depression around
                                                                   An important strength of this study includes access to nation­
50%.9,10,25 The present transgender study cohort was defined
                                                                   wide longitudinal data including all persons with contact to
by ICD-10 diagnosis code, which implied contact with a
                                                                   national centers of center identity in Denmark as ICD10 diag­
Danish center of gender identity, and supported that the pre­
                                                                   nosis codes of transgender are used in all contacts with nation­
sent study cohort was comparable to other transgender study
                                                                   al clinics. The study outcome was broad and included both
cohorts, which were included at centers of gender iden­
                                                                   ICD-10 diagnoses code of mental and behavioral disorders
tity.9,10,25 We defined mental health outcomes by ICD-10
                                                                   and the use of psychopharmacological agents. Systematic psy­
diagnosis codes and/or use of psychopharmacological agents.
                                                                   chological evaluation of transgender persons after referral




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Treatment with antidepressants is only indicated in case of
                                                                   could lead to surveillance bias, therefore, baseline was defined
moderate or severe depression, whereas psychotherapy should
                                                                   as 2 years before the index date. We considered constructing a
be applied in patients with milder depressive symptoms.26 It is,
                                                                   single pooled study outcome, but chose to present results of
therefore, possible that a considerable proportion of Danish
                                                                   the study outcomes separately to ensure transparency of study
transgender persons would have milder symptoms of depres­
                                                                   results. Our finding of comparable changes in ICD10 diagno­
sion without the need for psychopharmacological agents,
                                                                   sis codes and medicine prescriptions in the transgender study
which could not be investigated in a register-based study de­
                                                                   cohort supports valid study results. Furthermore, several sen­
sign. Our finding of increasing risk of psychiatric diagnoses
                                                                   sitivity analyses were conducted. Events of suicide attempts
in transgender persons 1 year after the index date could
                                                                   and self-harm could be considered hard endpoints, but unfor­
seem an unexpected study result, however, psychological
                                                                   tunately, we did not have sufficient study power in the present
counseling is advised before initiation of gender-affirming
                                                                   dataset to detect changes in these endpoints. Our study results
treatment, which would result in higher awareness for diagno­
                                                                   highlight the need for larger data sets and longer follow-up in
sis and treatment of mental health disorders in transgender
                                                                   transgender persons.
persons attending a center of gender identity and indicated a
                                                                      Some limitations may apply to the present study. Transgender
time of important life changes and social confrontation. For
                                                                   persons without hospital contact would not be included in the
the same reason, we chose a time interval until 2 years before
                                                                   data set and persons who terminated transgender care before
the index date for baseline reference in analyses of mental
                                                                   year 2000 are not included. Non-binary persons with no wish
health outcomes during follow-up. Interestingly, Tordoff
                                                                   for gender-affirming care at a center for gender identity would
et al.5 also described a transient impairment of mental health
                                                                   not be included in the dataset. Therefore, the study cohort repre­
outcomes in the first several months of transgender care in 104
                                                                   sents a selected group of transgender persons. Use of gender-
transgender and non-binary youth, which subsequently re­
                                                                   affirming hormone treatment was defined by medicine prescrip­
turned to baseline by 12 months. The authors suggested that
                                                                   tions and self-prescribed hormone treatment by online purchase
delay in start of hormone medication could initially exacer­
                                                                   or through private contacts would not be included. Furthermore,
bate mental health symptoms.5 Furthermore, delayed onset
                                                                   transgender persons without prescription for gender-affirming
of mental health improvements associated with hormone
                                                                   hormone prescription could be persons with shorter follow-up
treatment could lead to transient worsening of mental health.5
                                                                   (still undergoing initial psychological evaluation), non-binary
We found comparable mental health at baseline in transgender
                                                                   persons with no wish for gender-affirming hormone, or could
persons AFAB and transgender persons AMAB, but during
                                                                   have contraindications for hormone treatment due to severe
follow-up, mental health was more impaired in transgender
                                                                   physical or mental illness. The follow-up duration of this study
persons AMAB compared to transgender persons AFAB. In
                                                                   did not enable us to test possible reasons for not initiating gender-
accordance, feminizing hormone treatment did not improve
                                                                   affirming hormone treatment in the study cohort. Further studies
mental health in adolescents to the same extent as masculiniz­
                                                                   regarding mental health in different sub-cohorts of transgender
ing hormone treatment.10 Estrogen treatment is less potent
                                                                   persons are highly relevant. Furthermore, gender-affirmation
than testosterone treatment regarding changes in body charac­
                                                                   surgery with insertion of breast implants is possible at Danish pri­
teristics and changes occur with longer onset.10,14 Feminizing
                                                                   vate clinics, which could leave some surgical breast augmentation
hormone treatment stimulates breast development, however,
                                                                   procedures outside the dataset. Persons were divided according
the desired Tanner stage is not always obtained.27 Higher de­
                                                                   to assigned sex at birth, and misclassification of sex could occur
gree of minority stress has also been reported in transgender
                                                                   in foreigners if they immigrated to Denmark after the date of legal
women compared to transgender men,28 which could be an
                                                                   sex-change. Therefore, persons AFAB included persons with sur­
additional explanation for lower mental health in persons
                                                                   gical codes of salpingo-oophorectomy and/or hysterectomy and
AMAB during follow-up. As recently reported, cyproterone
                                                                   persons AMAB included persons with surgical codes of penis am­
acetate is the most prescribed androgen blocker in many
                                                                   putation and/or orchiectomy. Waiting time for gender-affirming
European countries.4,13 In the Nordic countries, cyproterone
                                                                   surgery resulted in limited follow-up duration after surgery and
acetate is prescribed in >40% of transgender women, whereas
                                                                   we did not have study power to detect mental health after gender-
<10% are treated with spironolactone.12 Cyproterone acetate
                                                                   affirmation surgery.
is a synthetic progesterone (progestin) and blocks the gonadal
axis and potentially improves breast development.4 However,
cyproterone acetate is associated with cardiovascular risks        Conclusion
such as thromboembolism and hypertension29,30 and proges­          In this study, mental health was stabilized during gender-
tin use has been associated with deteriorated mental               affirming care, but mental health was still impaired in trans­
health.31,32 Further studies on mechanisms for differences in      gender persons compared to age-matched controls.
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